   APPENDIX B:


2255 Hearing Exhibits




                        B-001
                DECLARATION OF JAN VOGELSANG, M.S.W.

I, Jan Vogelsang, M.S.W., declare as follows:

I.      REFERRAL QUESTION

        I have been asked by Lisa Montgomery's attorneys to prepare a biopsychosocial history

of Lisa and to identify those factors that shaped and influenced her development and functioning.

In order to prepare a biopsychosocial history, I followed the standard of care in my profession

and in the capital defense community, paying particular attention to case law Williams v. Taylor,

529 U.S. 362 (2000); Wiggins v. Smith, 539 U.S. 510 (2003); Rompil/a v. Beard, 545 U.S. 374

(2005); Porter v. McCollum, 558 U.S. 30 (2009); Sears v. Upton, 130 S.Ct. 3259 (2010) and the

ABA Guidelines for the Appointment and Perfmmance of Defense Counsel in Death Penalty

Cases (2003 Revision) and the Supplemental Guidelines for the Mitigation Function of Defense

Teams in Death Penalty Cases (2008). I will present a detailed multigenerational

biopsychosocial history of Lisa Montgomery followed by my findings.

II.     WHAT IS A BIOPSYCHOSOCIAL EVALUATION?

        Social workers and other qualified experts routinely prepare and present a

biopsychosocial history in capital cases in order for decision makers to have a reliable, thorough,

and independently documented narrative of those factors that shaped and influenced a capital

defendant's behavior and functioning over the course of her life and surrounding the offense.

The biopsychosocial history is a multigenerational history that presents the biological,

psychiatric, psychological, and social history of a person; in a case such as Lisa's it is the basis

of a neurodevelopmental history. It takes into account the defendant's family, culture, education,

religion, medical, psychiatric and neurologic health, criminal justice involvement, employment,

and economic and social status. The multigenerational history considers genetic vulnerability and




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predisposition to medical and psychiatric diseases that affect behavior, perceptions, and

functioning, and identifies patterns of family dynamics that are passed from one generation to the

next. A reliable biopsychosocial history must be based on methods of data collection that are

accepted within the legal, medical, and social science communities, with multiple sources, and

tested until redundant. It describes historical, genetic vulnerabilities, and the day-to-day

manifestations of those disabilities.

        Preparing Lisa Montgomery's social history was unusual in several aspects; in particular,

the volume of data available in this case is unusual. Lisa's father and his family lived in the

northwest in urban areas that routinely maintained life history records that offer detail about the

demographics of the family's day-to-day life. Investigators were able to identify, search, and

locate volumes of evidence about the family's medical, educational, military, and civilian life

going back three generations. Interviews with extended family members established insight into

the broader picture of mental illness, paiiicularly affective mood disorders, and neurologic

deficits such as seizure disorders and cognitive impai1ments.

       Another area where Lisa's biopsychosocial history is unusual is the large fund of

difficult-but-possible-to-document data that was relevant. Lisa, Lisa's mother, and her mother's

family came from exceptionally large families with significant maladaptive patterns of behavior

and mental impaiiments, starting with 12 children belonging to Lisa's grandmother's sibship or

cohort group. Multiple marriages by individuals, marriages within traditionally prohibited groups

such as stepchildren maITying each other, incest, extrajudicial removal (kidnap) of children from

custodial parents, and violent sexual assaults against children in the family all recur in this

family. The degree of maladaptive behavior suggests the presence of mental disabilities, which




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are documented in medical, psychiatric, criminal and civil proceedings, employment, and

education records and oral reports by family members.

        The volume and quality of life history records in Lisa's case are especially relevant to

mental health assessments. Historical data assist in establishing clinical criteria such as date and

age of onset, duration of symptoms, life stressors, symptoms and behavioral patterns, drug and

alcohol use, response to treatment, longitudinal course of illness, pre-morbid functioning, and

relevant medical conditions for Lisa and for significant others whose behavior directly affected

her. The data also assist in identifying biological, neurological, and psychiatric predispositions of

family members to major mental disorders such as schizophrenia, bipolar mood disorder,

depression, learning disabilities, alcohol and drug dependence, temporal lobe epilepsy, and

psychotic disorders not otherwise specified. Data in Lisa's biopsychosocial history also identify

environmental and developmental factors associated with mental illness and poor social

outcomes, including extreme poverty, head injuries and loss of consciousness, child sexual

exploitation, malnutrition, unstable family constellations, and early and ongoing neglect and

abandonment. It is especially important to identify medical conditions and other psychiatric or

neurologic disorders which must be ruled out or explained in order to understand the complexity

of her inherited genetic predisposition to mental impainnents and her chronic exposure to

extreme sexual, physical, and emotional trauma, which are now recognized to have enduring

effects on brain structure and functioning. Lisa's maternal and paternal families contained

fonnal diagnoses of or patterns of behavior associated with psychosis, autism, learning and

developmental disabilities, dementia, epilepsy, bereavement, hypothyroidism, intellectual

disability, substance abuse, drug dependence, schizophrenia spectrum disorders, impaired

memory, and bipolar mood disorders.



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        These kinds of data supplement and offer insight into Lisa's life that would otherwise be

unavailable from her or other witnesses due to a variety of factors, including impediments

inherent in psychiatric disorders, shame and fear by potential informants, and fluctuations over

time in symptoms. In Lisa's case, she and other potential witnesses are unable to perceive, recall

or relate accurately early life experiences, significant events, and specific facts related to events

leading up to the offense due to dissociation, intoxication, seizures, blackouts, cognitive deficits,

and predictable traumatic reactions. Lisa, like some of the other witnesses, is unaware of basic

information regarding her own life and that of significant family members and also unaware of

her own impainnents and symptoms such as paranoia, memory deficits, and problems with

perception. She, like other extreme trauma survivors, is victim to unconscious efforts to avoid

the terror ofreliving events which would result in retraumatization.

       Lisa's participation in the biopsychosocial history I prepared was enhanced by her current

medication regimen, a trusting relationship with her defense team, and the team's experience in

working with mentally ill and traumatized clients. The team devoted considerable informed

effort to overcome Lisa's profound and almost insurmountable fear of disclosing information

which is painful, deeply buried, and hun1iliating. However, this biopsychosocial history

documents considerable information and data of which Lisa was not aware but which

significantly affected the course of her life, beginning with the abandonment by her father who

left her in the hands of her severely disturbed mother.




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III.    QUALIFICATIONS

        I am licensed by the State of South Carolina Board of Social Work Examiners and board

certified by the American Board of Examiners in Clinical Social Work. I hold a Master of Social

Work degree from the University of South Carolina (1980) and a Bachelor of Arts degree in

Psychology from Pepperdine University (1977).

        I have conducted biopsychosocial assessments for thirty-three years both in my private

practice and for the courts. I have qualified as an expert witness in the field of social work in

federal courts in Tennessee, Virginia, Georgia, and South Carolina and by the state courts of

Tennessee, South Carolina, North Carolina, Virginia, Georgia, Florida, Alabama, Mississippi,

Texas, California, and Alaska. A copy of my curriculum vitae follows this declaration.

        The biopsychosocial assessment is a clinical social work method of gaining insight into

an individual's physical and emotional development, possible psychological impairments, and

level of social functioning. This is achieved by gathering information on an individual from

numerous sources and compiling it into a comprehensive evaluation. The resulting

biopsychosocial assessment is comprised of clinical interviews, a review and assessment of

relevant docwnents, consultation with other professionals and a review of their reports and

opinions, historical research, and if needed, visual aids. The purpose of such an assessment is

not to excuse any particular human behavior, but rather to shed light on the significant factors

that shaped the individual's development.

       Clinical social workers are trained to conduct the biopsychosocial assessment and to use

it in various settings related to mental health, including expert testimony in the courtroom. In the

context of a capital case prosecution, the information from the biopsychosocial assessment is

typically presented at trial in the penalty phase and is also relied upon by other mental health



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experts in reaching their opinions. A credentialed clinical social work expert presents the

findings to the jury and offers expert opinions. Clinical social workers are licensed to diagnose

and treat mental, emotional, and behavioral disorders. They are able to factor into their

assessments the findings of other professionals including those related to medical, biological,

neurological, and genetic issues.

        The following biopsychosocial assessment demonstrates not only what was known about

Lisa Montgomery at the time of her trial, but it also includes voluminous information not

investigated or presented to the courts by the appropriate expert and lay witnesses.

IV.     MATERIALS UPON WHICH I RELIED IN COMPILING THE EVALUATION

        In order to prepare a reliable biopsychosocial history, I reviewed medical, mental health,

social service, education, employment, judicial, military, and vital statistic records for Lisa, her

spouses and children, and her paternal and maternal families; interviewed Lisa, her maternal aunt

Darlene Alexander, her half-brother, Teddy, and her maternal cousin Wendy Treib; and reviewed

relevant testimony and evidence from trial proceedings against her. A list of the material not

cited in this report but upon which I relied in addition to the materials contained herein is

attached to this declaration as Attachment A. During the course of my work, I identified

additional documents and evidence to obtain and potential witnesses to locate and interview in

order to provide a reliable biopsychosociaI history that addresses complex problems associated

with the impact of abuse and trauma on Lisa's underlying neurological and psychiatric diseases,

her development during childhood, and her day to day functioning as an adult. This effort is

ongoing and revelatory as it provides a mosaic of interrelated, severe disabilities that have not




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been examined previously. As I obtain additional, relevant and significant information about

Lisa, I will supplement my findings. 1

v.        EVALUATION

          Psychiatric and neurologic disease affected every aspect of Lisa Montgomery's life in

much the same way they had affected her mother's and father's lives. Lisa's father and his

family and Lisa's mother and her family inherited genetic vulnerability that made them at

increased risk for developing psychiatric and neurologic disorders later in their lives when

triggered by particular environmental factors. Bipolar mood disorder, depression, cognitive

impairments, post traumatic stress disorder, autism, and neurologic disorders took a heavy toll on

Lisa's family in generation after generation. Family patterns of behavior passed from one

generation to the next in much the same way and with equally devastating results. In order to

understand the events of Lisa's life and how the cascade of terrifying events she survived

affected her, it is necessary to chart the interaction of mental illness and trauma in her parents'

lives.




11 originally  prepared this biopsychosocial history under extreme time constraints imposed by circumstances over
which Lisa and her counsel have no control. These extreme time constraints created significant barriers to
disclosure of sensitive, shameful information about torture, captivity, and maltreatment by those who witnessed,
designed, and participated in inflicting cruel, inhumane, and degrading maltreatment on Lisa and by Lisa herself.
These baniers to revelation about real situations of sexual exploitation and slavery and other strategies of coercive
control can only be overcome by building a trusting relationship and providing a safe environment to the truth teller.
It is a time intensive endeavor that requires multiple interviews over time, weighed and analyzed against a backdrop
of collateral data. It cannot be accomplished by accepting as true self-serving narratives by perpetrators and biased
others or victims who have multiple underlying mental impairments as a result of torture or biological
makeup.Subsequently, I have gone back through the data and reviewed each page of this document. This revised
version of my original declaration co1Tects typographical and citation errors. My opinions and conclusions have not
changed. Rather, they have been strengthened by this review as well as by review of newly available data. The new
information is summarized in my supplemental declaration which is also being signed on this date.

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         A.       Historical Framework

                  a. Paternal Family

                           a. Lisa's Paternal Family Has a Substantial History of Psychiatric and
                              Neurologic Impairments.

         Depression, anxiety and their destructive companion of alcoholism came to Lisa from her

father's side of the family, along with neurologically based disabilities. Lisa's father is John

Patterson. John's grandmother "died from sugar diabetes" and "had Lupus." 2 When she passed

away, "she was covered with scales" and sores. 3 John's mother, Marie, 4 also suffered miserably

in her final years from Lupus, which made her "easily stressed and upset." 5 Marie "had

Alzheimer's disease and dementia when she died." 6 Her death certificate lists her cause of death

on December 22. 2007, as "failure to thrive" and "severe end stage dementia." 7 In her younger

years, Marie also experienced blackouts and uncontrollable emotions. If Marie "got into a fight

she blacked out and then came to banging someone's head against the ground. She could not

remember getting in the fight or actually fighting." 8 Marie "blacked out during the whole fight

and then woke back up at the end, when she was getting pulled off the person." 9

         Lisa's father, John, attempted to quell his anxiety and depression with alcohol, and

"drank all day, every day" from 1960 until 1980. 10 He and his friends "drank way too much." 11



2 Attachment 1, Declaration of Thomas Allen Hedberg. Thomas Allen Hedberg (Tom) is Lisa Montgomery's
paternal half uncle. Tom is John Patterson's maternal half-brother. John Patterson is Lisa's father. Attachment 2,
Declaration of Lisa Rickert, incorporating interview with Marie Stelma 5-17-2005.
3
  Id.
4 Attachment 3, Marie Miller Patterson Hedberg Stelma. Birth Certificate, DOB 11-26-1921; and Attachment 4,

Death Certificate, DOD 12-22-2007.
5 Attachment 2, Declaration of Lisa Rickert, incorporating report of telephone call with Marie Stelma.
6 Attachment 5, Declaration of Mary Lee Coleman. Mary Lee Coleman is Lisa Montgomery's paternal aunt. Mary

is John Patterson's sister.
~ Attachment 4, Marie Josephine Stelma, Death Certificate.
8 Attachment 1, Declaration of Thomas Allen Hedberg.
9 Id.
10 Attachment 6, Declaration of John Patterson.

II Id.


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John's drinking interfered with his military career, and his Army superiors noted "alcoholic

tendencies and indebtedness" in his file. 12 John's sixth wife noted that he suffers from

"neuropathy in his feet" which seems likely connected his 20 years of drinking. 13 John

recognized his depression and anxiety. He "felt depressed" and "became withdrawn." 14

"Nothing" gave him "any joy." 15 His former sisters-in-law thought "there was "something

strange about him." 16

         Lisa's paternal half-sister, Diane Rae, suffered from depression and anxiety her entire

life. She "was depressed for weeks at a time" and still struggles "with anxiety, fear, and

depression." 17 Her son understands that Diane has "struggled with depression and bipolar her

whole life." 18

         Lisa's paternal aunt, Mary Lee, had a series of neurological events that required surgery,

medication, and rehabilitation. She underwent a craniotomy at the age of 50. 19 Mary Lee first

experienced grand mal seizures in 1970 20 and continued to have seizures throughout her

adulthood, despite medications including Dilantin. 21 In I 972, when she was 27 years old, Mary

Lee developed a large left frontal arteriovenous malformation (AVM). She suffered from




12
    Attachment 7, John Patterson, Military Records.
13  Attachment 8, Declaration of Christina Juarez Patterson. Christina is Lisa Montgomery's stepmother. Christina is
married to John Patterson, Lisa's father.
14 Attachment 6, Declaration of John Patterson.

 is Id.
 16 Attachment 2, Declaration of Lisa Rickert, incorporating interviews of Alice De1Ty and Ellen Linderman. Alice

and Ellen are Lisa's mother Judy's sisters.
 17 Attachment 9, Declaration of Diane Rae Hedberg Mattingly. Diane is Lisa's paternal half-sister. Diane and Lisa

share the same father, John Patterson.
 18 Attachment 80, Declaration of Jonathan Caleb Thompson.
 19 Attachment 10, Mary Lee Coleman, Harborview Medical Records.
,o Id.
21 Id.


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migraines for most of her adult life and has had several small strokes. 22 In 1996, Mary Lee was

diagnosed with depression and prescribed Zoloft. 23

        Lisa's paternal half uncle, Thomas Allen Hedberg (Tom), survived spinal meningitis at

the age of three years old, and developed depression, anxiety and headaches, as well as

uncontrollable emotions similar to his mother's blackouts. 24 Tom's depression persists in his

adulthood. "I have depression." 25 Tom's daughter, Heather Hedberg, recognized "[d]epression

runs on my paternal side." 26 Tom's sister, Lori Mae Yates, agreed that Tom "suffers from

anxiety and depression." 27

        Lisa's paternal cousin, Heather Hedberg, struggled with major depression, was treated

with Wellbutrin, and spent her school years in special education classes. 28 Heather "was always

in special ed for math and reading" and had "trouble learning and trouble reading like regular

people." 29 Heather had auditory hallucinations of "angry voices and thoughts" for "as long as"

she could remember. 30 She "was always a depressed little kid," and she "started to have suicidal

                                 31
thoughts" as she grew older.          Her father, Tom Hedberg, agreed that "Heather has major

depression, and I have depression too." 32 Tom's son, Daniel Hedberg also struggled with

depression, suicidal thoughts, and self-harming inclinations. He "was depressed too, for most of

his life. When he was younger he went to Las Vegas and took a bottle of pills and drank a cup of



22 Attachment 5, Declaration of Mary Lee Coleman.
23 Attachment 254, Mary Lee Coleman, Harborview Medical Center; Good Samaritan Hospital, 3-1-1996.
24
   Attachment 1, Declaration of Thomas Allen Hedberg.
25 Id.
26 Attachment 11, Declaration of Heather Hedberg. Heather is Lisa Montgomery's paternal cousin. Heather's

father, Thomas Allen Hedberg, is Lisa's paternal half uncle.
r Attachment 12, Declaration of Lori Mae Yates. Lori is Lisa Montgomery's paternal half aunt. Lori's mother,
Marie, is also John Patterson's mother.
28 Attachment 11, Declaration of Heather Hedberg,
29 Id.
,o Id.
JI Id.
32 Attachment I, Declaration of Thomas Allen Hedberg.


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bleach. He was trying to kill himself." 33 Another one of Lisa's paternal cousins, Penny Yates,

struggled with depression and Crohn's disease, according to her mother. 34

         Lisa's paternal family has a substantial history of depression, anxiety, and neurological

disorders that range from blackouts and seizures to A VMs that passed from one generation to the

next. These impairments affected family dynamics and directly affected John's performance as

Lisa's father and Lisa's development and functioning.

                           b. Social History ofJohn Patterson (Lisa's father)

         Marie Miller Patterson Hedberg Stelma was born in Charleston, Washington, 35 lived in

Bremerton, Washington, 36 and grew up in Sumner, Washington. 37 Marie's father, Joseph Jacob

Miller, was Scottish, hailed from New Jersey, and worked as a foreman in a paper company most

of his life. 38 Marie's mother, Mary Magdalene Knox, was born in Illinois, 39 before moving to

Washington. Mary Magdalene was Irish, presumably, 40 and worked as a house wife most of her

life except when her husband fell ill with diphtheria. 41 Mary Magdalene and Joseph had four

children: Charles, Marie (John Patterson's mother), Billy and Kate. 42

         When Marie was a young child her family moved from Washington to New Jersey to be

with her father's family. One uncle on the paternal Miller side of Marie's family may have been

mentally ill. This uncle was "odd and picked blackberries and put a crate on his head. He never

hurt anyone, he was just odd. " 43 While the family was in New Jersey, they all came down with



33 Attachment 11, Declaration of Heather Hedberg.
34
   Attachment 12, Declaration of Lori Mae Yates.
35 Attachment 3, Marie Josephine Miller Birth Certificate.
36 Attachment 13, Mary Lee Hedberg Coleman, Tacoma, WA Enrollment Record, Gray Junior High,
37 Attachment 2, Declaration of Lisa Rickert incorporating interview with Marie Ste!ma, 5-17-2005.
38 Id.
39
   Attachment 3, Marie Josephine Miller Birth Certificate.
40 Attachment 2, Declaration of Lisa Rickert, incorporating interview with Marie Stelma 5-17-2005.
41
   Attachment 4, Marie Stelma Death Certificate.
42
   Attachment 2, Declaration of Lisa Rickert, incorporating report of telephone call with Marie Stelma.
41 Id.


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diphtheria, an upper respiratory tract illness that can cause peripheral nerve palsies. 44 Marie's

father was paralyzed for a while and Marie's mother had to work outside of the home to make

ends meet. The family eventually moved back to Washington State. Marie's father recovered

from his illness, and he returned to his role of head of the household. 45

         Marie's first marriage was ill fated. She married Robert Lee Patterson on August 5,

1941, in Tacoma, Washington. 46 Both were young: Marie was 19 years old when she married,

and Robert was in his early 20s. Robert was born in Graham County, North Carolina, and reared

in Robbinsville 47 and Cherokee, North Carolina, 48 before moving to Washington. 49 Robert's

family was of German descent, and he had relatives in Washington State, near the town of

Puyallup, Washington. 50 After marrying, Marie and Robert lived in Federal Way, Washington. 51

         Marie's marriage to Robert was a "catastrophe." 52 Marie believed Robert "was

unfaithful. They fought a lot. They argued constantly." 53 Lisa's father remembered that

"[n]either of them was happy in the marriage. Marie was constantly angry at Robert, and they
                           54
fought all of the time."        Marie married Robert to get away from her controlling and possessive

mother, but "marriage to Robert was not what she wanted." 55 Marie "married the first man who

asked" her. 56 Marie and Robert had two children: John Joseph, born in Tacoma, Washington, on


44 Attachment 14, New Jersey reported the highest average annual mortality rate for diphtheria (44.5 per 100,000)
between 1895 and 1911, which declined to 28.8 per 100,000. 15,000 to 20,000 people died annually from diphtheria
in the 1920s. (Edward A. Lane, Trends in Diphtheria Mortality. 1933)
45 Attachment 2, Declaration of Lisa Ricke1i, incorporating report of telephone call with Marie Stelma.
46 Attachment 15, Maniage Certificate Robert Patterson and Marie Miller; Attachment 5, Declaration of Mary Lee

Coleman.
47 Attachment 16, Robert Lee Patterson Bi1th Certificate.
48 Attachment 17, Robert Lee Patterson Enlistment Records.
49 Attachment 6, Declaration of John Patterson.

so Id.
51 Id.; Attachment 2, Declaration of Lisa Rickert incorporating interview with Marie Stelma 5-17-2005.
52 Attachment 2, Declaration of Lisa Rickert, incorporating report of telephone call with Marie Stelrna.
53 Attachment 5) Declaration of Mary Lee Coleman.
54 Attachment 6, Declaration of John Patterson.
55 Attachment 5, Declaration of Mary Lee Coleman.
56 Attachment 2, Declaration of Lisa Rickert, incorporating report of telephone call with Marie Stelrna.



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June 15, 1942, and Mary Lee, born on September 15, 1945. 57 Robert was not much ofa family

man and cheated on Marie throughout her marriage. 58 Marie "looked down" on Robert for his

infidelity and "thought he was a coward." 59

         Shortly after Mary Lee's birth in 1945, Robert left the family for good. Years later after

Mary Lee reached adulthood, she asked to meet her father, Robert. 60 Marie drove her to

Robert's only sister, Ruth, who lived nearby in Federal Way, Washington. Ruth refused to say

where her brother was. 61 After Robert left his son John, daughter Mary Lee, and wife Marie, no

one saw him again, except for young John whose next encounter with his father deeply scarred

him.

                            c. Lisa's Father Suffered at the Hands of His Mother.

         John Patterson's mother, Marie, "was quick to get angry. Marie argued with people." 62

As a young child, John "learned very early on to never make her mad. It was much easier to just

agree with her and pretend that she was always right, instead of confronting her and trying to

                       63
change her mind."           Marie taught John another lesson, too. She taught him how to pick and

choose which child to love and nurture and which child to resent and abandon. Through her own

actions, Marie showed John that he was the least of her four children and not entitled to an equal

place in their family. She singled John out to belittle, degrade, and criticize for being the child of

his father and for sharing characteristics with his father. 64



57 Attachment 13, Mary Lee (Hedberg) Coleman, Federal Way Public School Records.
58 Attachment 6, Declaration of John Patterson.
59 Attachment 5, Declaration of Mary Lee Coleman.
60 Attachment 13, Mary Lee (Hedberg) Coleman, Federal Way Public School Records; Mary Lee (Hedberg)

Coleman, Lisa's paternal aunt, was born, reared, and stayed in the Tacoma area. She attended Federal Way Junior
and Senior High Schools where she was an average student whose IQ was measured at 90 in 1960; Attachment 2.
Declaration of Lisa Rickert incorporating interview with Marie Stelma 5-17-2005.
61 Attachment 2, Declaration of Lisa Rickert, incorporating report of telephone call with Marie Stelma.
62 Attachment 10, Declaration of Mary Lee Coleman.
63 Attachment 6, Declaration of John Patterson.

64 Jd.


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                          d. John's Father Kidnapped Him.

         In a dreadful act with consequences that passed from one generation to the next, John's

father kidnapped him when John was only four years old and kept him hidden for approximately

one year. 65 After disappearing shortly following the birth of his daughter, Mary Lee, John's

father returned to the house. Robert snuck into the back yard of Marie's home in Federal Way,

Washington. John was playing in the back yard when he saw a man he did not recognize,

Robert, watching him. The man told four year old John that they were going for a ride in the car.

Robert took John from the backyard without any toys, clothes or food. 66 Robert took John to an

unknown location some "three days of travel" away from Washington. 67 Robert Patterson left

John alone for much of the year, in a "large drafty house on a lake" where John was lonely, cold

and hungry much of the year. 68

         After approximately one year, Robert's parents 69 showed up at the house and forcibly

took five year old John away from Robert. Robert's parents, John's paternal grandparents, took

John by train, again for three days of travel, back to their home in Puyallup, Washington. 70 Then

they called John's mother to let her know she could come get her son. 71 When Marie arrived at




65 Attachment 6, Declaration of John Patterson; Attachment 2) Declaration of Lisa Rickert incorporating interview
with Marie Stelma 5-17-2005.
66 Attachment 18, Declaration of Grace Figg Baum. Grace Figg Baum, at 94 years of age, is Marie Stelma's oldest

living friend; Attachment 6, Declaration of John Patterson.
67 Attachment 6, Declaration of John Patterson.

,s Id.
69 Robert's parents were William Patterson and Sudie Morgan, farmers from North Carolina. William was 47 years

old when Robert was born, and Sudie was 26 years old. They could both "read [and] write," according to Robert's
birth ce11ificate. Attachment 16, Robert Lee Patterson, Birth Certificate.
'° Id.
71 Attachment 2, Declaration of Lisa Rickert, incorporating report of telephone call with Marie Stelma.



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the Patterson's house to take John home, "he didn't recognize her at all. He had no recollection"

of his mother after being gone for a year. 72

         John was never the same after the kidnapping. Five-year-old John was "was a basket

case" 73 who "babbled" about what he experienced in his year away, but his mother could not

make out specifics of what the child tried to say. 74 He was too young to "tell anyone where he

had been for that year." 75 Marie never asked Robert Patterson's parents where they had found

John, and so no one close to John ever knew. 76 Marie had no idea where John lived for that year

or what he experienced. 77

         John had "horrible nightmares" and developed a fear of being alone. 78 John "seemed

shy, timid and scared. He talked funny when he came back. It's as ifhe hadn't learned to talk

correctly. He expressed himself differently than other little boys. He used different words for

things." 79 John was "angry, belligerent, depressed, afraid of the dark, [and] screamed when he

was put in the bathtub." 80 John "cried for no reason and was deathly afraid of the dark." 81 Marie

felt John "had behavior problems and issues with anger and fear that stemmed from that year."

She said he "talked funny," and had a funny accent. 82

         Decades later Marie expressed regret for "not having him evaluated and treated by a

mental health professional." 83 As Marie lay dying, she told John, "l wish I had had you checked




72
   Attachment 5, Declaration of Mary Lee Coleman.
73 Attachment 2, Declaration of Lisa Rickert incorporating interview with Thomas Hedberg 5-19-2005.
74 Attachment 2, Declaration of Lisa Rickert, incorporating report of telephone call with Marie Stelma.
75 Attachment 5, Declaration of Mary Lee Coleman.

76 Id.
n Attachment 2, Declaration of Lisa Ricke1i incorporating interview with Marie Stelma 5-17-2005.
78 Attachment 6, Declaration of John Patterson.
79 Attachment 18, Declaration of Grace Figg Baum.
80 Attachment 2, Declaration of Lisa Rickert, incorporating repo1i of telephone call with Marie Stelma.
81 Attachment 6, Declaration of John Patterson.

s2 Id.
83 Attachment 2, Declaration of Lisa Rickert, incorporating report of telephone call with Marie Stelma.


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out back then." 84 John never saw his father, Robert, after Robert's parents returned him to Marie

without explanation. 85 John never saw his paternal grandparents, the Pattersons, after they

returned him to Marie. 86 Two decades later, John repeated his kidnap and abandonment by his

father with Lisa and her sister.

                          e. Marie Degraded John.

         John and his mother Marie had a strained and hostile relationship and "fought often." 87

Marie "never stopped comparing John to his father," telling him he looked just like his father and

acted just like his father ... all negatives for her. 88 Marie resented Robert so much "that it

spilled over and she acted like she hated" both her children from her marriage to Robert. 89 Marie

was "very critical of Robert, even when he was long gone." 90 As a young boy Marie told John

he "was a coward" just like his father. 91 This was difficult for a young boy to understand, and

John "wondered if she blamed" him for "getting kidnapped." 92 John's life-long friend, Ronald

Figg, concluded Marie "was mean" and "blamed John and Mary for being from her relationship

with her first husband. Marie never let them live that down, being related to their father. " 93

        Robert Patterson abandoned Marie in 1945, kidnapped John in 1946 and returned him in

1947 just as John was scheduled to enroll in the first grade. 94 That year Marie met a man named

Gordon Hedberg. Marie and Gordon were married the summer after John completed the first



84 Attachment 6, Declaration of John Patterson.
85
   Robert died May 13, 2002, from "natural causes, etiology unknown," in Po1i Angeles, Washington. He was a log
truck driver with an eighth grade education. Attachment 20, Robert Lee Patterson, Death Certificate.
86
   Attachment 6, Declaration of Jolm Patterson.
87 Attachment 2, Declaration of Lisa Rickert, incorporating repo1t of telephone call with Marie Stelma.
88
   Attachment 6, Declaration of John Patterson.
s, Id.
90 Id.
91 Id.
92 Id.
93 Attachment 21, Declaration of Ronald (Ron) Figg. DOB: 6-21-1942. Ron Figg is Lisa's father John's oldest

living friend. They have been friends for 57+ years.
94 Attachment 6, Declaration of John Patterson.


                                                       16


                                                                                                                  B-017
grade. After the wedding Marie asked John ifhe would like to start using Gordon's last name,

Hedberg, instead of John's biological father's last name, Patterson. John "was very young and

changing last names seemed like a fun thing to do." 95 John hoped "that not having my biological

father's last name attached to my name might help make my mother less angry at me." 96 John

took the Hedberg name without having been legally adopted by Gordon. 97

         Gordon was a truck mechanic 98 and also sold oil filters and oil filter parts throughout the

state of Washington. In 1948 Gordon moved Marie, John and Mary to Seattle from nearby

Federal Way, Washington. Gordon had steady work in the area and the children enrolled at the

Ridgecrest School in the northern part of Seattle, Washington. The neighborhood at the time

was a military family neighborhood, close to the base and more rural than the city portions of

Seattle. 99 Nearby woods offered a respite to John who described it:

         There were lots of woods and places with no houses on them. Now that part of
         Washington State has grown to feel like it is all part of Seattle, but in 1948 it was
         woodsy and wide open. The woods was a perfect place to go and escape my
         mother's yelling and shouting. I loved being in the woods. I could just be myself
         there, and not have to worry all the time about making my mother angry, inciting
         her wrath. 100

Marie sure "had a temper" 101 and it was easier for John to hide in the woods than try and appease

his unpredictable, angry mother. 102




,s Id.
96  Id.
97  Attachment 2, Declaration of Lisa Rickert, incorporating report of telephone call with Marie Stelma.
98 Attachment 6, Declaration of John Patterson.
99 Attachment 21, Declaration of Ron Figg.
100 Attachment 6, Declaration of John Patterson.
101
     Attachment 18, Declaration of Grace Figg Baum.
102
     Attachment 6, Declaration of John Patterson.

                                                          17


                                                                                                           B-018
            John's best friend since the second grade, Ron Figg, recognized "Marie didn't seem to

like John too much." 103 Marie "always made a point of being" on Ron's side, 104 and he

described an incident to illustrate her disregard for her son:

            One time John and I were arguing over a girl. We were pretty young, too young to
            have any real idea about girls, and we were standing in Marie's yard with her fence
            in between us. John and I were suddenly throwing punches at each other across the
            fence. Marie leaned out of the house and instead of trying to break up the fight,
            and instead of trying to get me to stop fighting with her son, she actually yelled out
            to me 'hit him harder, take him out!' She had an opportunity to break up the fight
            and instead she leaned out of the house and threw oil on the fire. Even when I was
            a young kid, even when that first happened, I thought that that was strange. Strange
            for a mom to encourage the neighbor kid to hit her son harder and not to defend her
            own son. 105

                            f    Marie and John Both Showed Signs ofMood Instability.

            As John became a teenager, his relationship with his mother grew even more strained.

Her relationship with Gordon was "a good one" for Marie but not for John, especially after

Marie and Gordon had their own children. 106 Marie and Gordon had two children who were

John's half siblings: Lori Mae Hedberg, born December 6, 1957, and Thomas Allen Hedberg,

born August 7, 1954. 107 After Tom and Lori were born, "Marie made a real point of turning her

back" on John and Mary, her two children with Robert Patterson. 108 Marie "always made John

feel like he was no good, because he was a reminder of his father." 109 Marie "turned her back on

her first family and focused entirely on her second family." 110 John's sister Mary agreed that




103   Attachment 21, Declaration of Ronald Figg.
104   Jd.
ios Id.
106 Attachment 2, Declaration of Lisa Rickert, incorporating report of telephone call with Marie Ste Ima.
107 Attachment 2, Declaration of Lisa Rickert, incorporating report of telephone call with Thomas Allen Hedberg.
108 Attachment 6, Declaration of John Patterson.

109   Id.
!JO   Id.

                                                        18


                                                                                                                   B-019
Marie "focused all of her attention on Tom and Lori" while John and Mary were "shunted to the

                                                               111
side" as "second class compared to Tom and Lori."

         Marie controlled John and "yelled when she thought John was doing something

v.TOng." 112 Marie was very rigid and "had very specific ideas about the world," and as John

grew up, he tried to challenge some of those ideas. 113 Marie's rigidity made her "hard" and

"quick to get angry. She argued with people. She was always right." 114 John's younger brother,

Tom, remembers his mother's temper: "I learned immediately as a child never to question her.

She would shout and yell at you if you did. Her temper was enough to keep us from getting her

mad." 115 "Gordon tried to keep the lid on Marie, but he did not succeed." 116 Marie "was an

angry person, very volatile and loud if she did not get her way. She crashed around in the

kitchen, slamming cupboard doors and knocking things against each other when she was

mad." 117 John desperately "wanted to change her mind about the world and wanted her to

                      118
understand" him.            They "argued and fought about how differently they saw the world, and

about how angry she was at" John and Mary's father, Robert, even years after Robert was gone,

and years after Marie had remarried. 119

         As John grew older, his moods changed precipitously. Though Marie experienced John

as an angry child and adolescent, she recognized that often John tried to play the role of "the

class clown." 120 She thought he had a "belligerent attitude." 121 She and John could not



111
    Attachment 5, Declaration of Mary Lee Coleman.
112
    Attachment 6, Declaration of John Patterson.
113 Id.
114
    Attachment 5, Declaration of Mary Lee Coleman.
115
    Attachment 19, Declaration of Thomas Hedberg.
116 Attachment 5, Declaration of Mary Lee Coleman.
117 Attachment 6, Declaration of John Patterson.

11s Id.
ll9 Id.
120 Attachment 2, Declaration of Lisa Rickert, incorporating report of telephone call with Marie Stelrna.

121 Id.


                                                          19


                                                                                                            B-020
communicate effectively. Marie "didn't listen to other people, she railroaded them until they

agreed with her ideas." 122 John tried to make his mother understand him, and to help her see his

point of view. He failed at every turn. Marie never listened to John's ideas about the world, and

their communication was nonexistent. Marie thought John should do better in school and could

behave better. 123

         John and Marie also fought about John's dating habits. After John began dating. Marie

"didn't like the way he treated women," because she thought he behaved "like his father,

cheating on his girlfriends." 124 In Marie's opinion John had "too many girlfriends," and Marie

"didn't like it" and "let him know." 125 Marie yelled at John for going out with his friends, with

girls, and going to places that perhaps sold alcoholic drinks. "Marie was strict and did not allow

alcohol or drugs in her home." 126 Marie focused entirely on her two youngest children, Tom and

Lori, and paid almost no attention to her two oldest children, John and Mary Lee, other than to

criticize them.

         Although John considered himself brighter than most of his peers, he did not plan to go to

college. He "hated high school" and knew that he could have done better. 127 He knew he wasn't

"going to college because Gordon didn't have the money." 128 John "needed to get out from under

the control of his angry mother" and so he enlisted in the Army in 1960 the same month he

graduated from Federal Way high school. 129 John's mother interpreted John's speedy enlistment

as his desire "to get away from" her, 130 and John's sister agreed he "joined the Anny to get


122
    Attachment 6, Declaration of John Patterson.
t23 Id.
124 Attachment 2, Declaration of Lisa Rickert, incorporating report of telephone call with Marie Stelma.

i2s Id.
126 Id.
127
    Attachment 6, Declaration of John Patterson.
12s Id.
129 Id.
130
    Attachment 2, Declaration of Lisa Rickert, incorporating report of telephone call with Marie Stelrna.

                                                          20

                                                                                                            B-021
away from our mother. She was quick to anger and her words were very hurtful. John wanted a

life away from her anger." 131

                          g. John Enlisted in the Military in the Vietnam Era.

         When John enlisted, his stepfather Gordon, who was an enlisted man in World II, 132 was

proud of John for "becoming an enlisted man." 133 Gordon let John drive his car the day John

enlisted, and John "felt so proud that he was proud ofme." 134 John had never "felt that from a

parent" in his entire life. It was a wonderful feeling. 135 John's initial screening tests with the

Army showed that he "had a strong ability for accounting" and dealing with numbers. 136 The

Army told John that they would send him to a base in Indiana after Basic Training, to train him

to be an accountant for the Army. 137

        After John enlisted in 1960, he staited dating a girl from his high school, Marsha.

Marsha was in John's high school, a year younger, and John's first sexual experience. They

"fooled around some" and then Marsha discovered that she was pregnant. 138 John "had just

                                                                                                  139
completed Basic Training and was about to go to accounting school for the Army."                        He

"barely knew about sex, let alone pregnancy, parenting and fatherhood." 140 Marsha's parents

decided that "Marsha needed to leave town and go to relatives in California." 141 Marsha left

Federal Way, Washington, went to California and had the baby in June of 1961. After she gave

the baby up for adoption, Marsha returned to Federal Way to live with her parents. John only



l31 Attachment 5, Declaration of Mary Lee Coleman.
132 Attachment 22, Gordon Hedberg Enlistment Information.
133
    Attachment 6, Declaration of John Patterson.
13' !d.
135 Id.

136 Id.
137 Attachment 6, Declaration of John Patterson; Attachment 7, John Patterson Military Records.
138 Attachment 6, Declaration of John Patterson.
139 Id.
1,0 Id.
141 Id.


                                                        21


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spoke with Marsha one time after their baby was adopted, and she told John that their baby was a

little boy. 142 John lost touch with the first of his many children.

         The U.S. Army sent John to Fort Ord, California, to complete Basic Training. 143 Signs of

possible depression showed up when Army doctors examined John and cited him for "not

keeping clean enough for Army standards." 144 John had an abscess on his shoulder, and Army

doctors told him "to take more frequent showers, and to brush my teeth more often." 145 The

Army found John "had a lot of problems with his teeth," and he "almost got kicked out of the

Army for that." 146 John began to see he "basically learned, from the Army, how to be a grown

up" instead oflearning life skills from his mother. 147

         John finished Basic Training at Fort Ord, California, and transferred to Fort Benjamin

Harrison in Indiana for three months of accountant training. 148 John graduated from accounting

training on December 30, 1960, and reenlisted for a three year tour of duty that same day. He

was assigned to the 4th Administrative Unit at Fort Lewis, Washington, and moved back to

Washington State. 149

        John returned to Washington State and hooked back up with his old buddy, Ron Figg,

who "was working for his dad, running a flooring company, and was in a rock and roll band." 150

John was "so shy and backwards" that he had "a hard time interacting with people, especially

girls." 151 John started "drinking alcohol to forget my childhood pain, and to relax." 152



142 Id.
143
    Attachment 7, John Patterson, Military Records.
144 Id.
145 Jct.
146 Id.
147
    Attachment 6, Declaration of John Patterson; Attachment 7, John Patterson, Military Records.
148
    Attachment 7, John Patterson, Military Records.
149 Id.
150
    Attachment 6, Declaration of John Patterson.
is1 Id.
1s2 Id.


                                                        22

                                                                                                   B-023
John found that when he drank, he could talk to girls more easily. He started going to the bars

when Ron's band played, drinking, and trying to meet girls.

                           h.   Lisa's Ha/f Sister Diane Was Born into a Life of Abuse and
                                Abandonment.

            One of the girls that John met while he was stationed at Fort Lewis in Washington was an

old friend of his sister's named Joyce Hamner. Joyce's parents were part Cherokee Indian and

part Uchee Indian, so "she seemed very exotic" to John. 153 John was "very naYve, practically a

virgin." 154 John and Joyce "went out one or two times, and it was all about the sex." 155 Joyce

became pregnant, and John knew they "had to get married." 156 John "thought it was the right

thing to do." 157

            John and Joyce married in Coeur d'Alene, Idaho, on February 6, 1963, 158 but barely lived

together as a married couple. Weeks after they married, the Army stationed John to a tour of

duty in Munich, Gennany. 159 John left for Munich on March 12, 1963, 160 and was out of the

country when his second child was born. Joyce Hamner Hedberg gave birth to a baby girl and

named her Diane Rae Hedberg on August 26, 1963, in Auburn, Washington, 161 while her father

was in Munich, Germany. Diane's mother was 19 years old and her father was 21 years old at the

time of her birth. 162 Joyce. had a severe drug problem and "was in no way able to care for a

baby. Joyce couldn't even care for herself." 163


!53   Id.
"' Id.
 1ss1d.
1s6 ld.
157
    Id.
158
    Attachment 23, John Hedberg and Joyce Hamner Marriage License.
159
    Attachment 7, John Patterson, Military Records.
160 Id.
161 Attachment 9, Declaration of Diane Rae Hedberg Mattingly.
162
    Attachment 23, John Hedberg-and Joyce Hamner Maniage License; Attachment 24, Diane Hedberg, State
Department of Social Welfare of Kansas, Report to the Court, Probate Court of Saline County; Attachment 25,
Diane Hedberg, Child in Need of Care, Riley County, Kansas, Case No. J-1040, 1972.
163
    Attachment 6, Declaration of John Patterson.

                                                       23


                                                                                                              B-024
           Diane barely survived the abuse and maltreatment by her mother, Joyce, for the first 18

months of her life. She was eventually referred to the Washington state social welfare agency

for protection from "injurious living conditions" and malnutrition. 164 Diane "couldn't walk or

crawl, even at a year and a half old." 165 On September 3, 1965, when she was two years old,

Diane was officially placed in the temporary custody of her paternal grandparents, Marie and

Gordon Hedberg. 166 The courts attempted to locate Joyce for custody proceedings, but were

unable to find her anywhere. 167 John, his parents, and Diane "never saw Joyce again." 168

         John Patterson finished his tour of duty in Germany in Febmary of 1965 and was reassigned

to Vietnam on May 13, 1965. 169 John saw Diane briefly in September of 1965, during the court

hearing to remove Diane from Joyce. John did not stay in Washington State to care for his

daughter, though. Instead, primary care fell to John's mother, Marie. From Vietnam John was

transferred to the Anny base in Fort Riley, Kansas. John shipped to Kansas from Cahm Rahn Bay,

Vietnam, on July 11, 1966. 170

         Within two weeks of his arrival in Kansas, John met the next woman he would marry: Judy

Rignell:

        I had been stationed in Kansas for just two weeks when I met a girl who worked as
        a bar girl for one of the drinking establishments off of the base. Liquor was very
        carefully controlled in Kansas in those days, so you had to drink at an established
        club. The club had women, girls, really, who worked at the bar encouraging
        soldiers to drink more, in order for the bar owners to sell more alcohol. Judy was
        one of those girls. 171


164 Attachment 24, Diane Hedberg, State Department of Social Welfare of Kansas, Report to the Court, Probate

Court of Saline County; Attachment 25, Diane Hedberg, Child in Need of Care, Riley County, Kansas, Case No. J-
1040, 1972.
165
    Attachment 6, Declaration of John Patterson.
166 Attachment 26, Letter from King County Youth Service Center 2-29-72
167
    Attachment 6, Declaration of John Patterson.
168 Id.
169
    Attachment 7, John Patterson, Military Records.
170
    Attachment 7, John Patterson, Military Records.
171
    Attachment 6, Declaration of John Patterson.

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                                                                                                                 B-025
                  2. Maternal Family

                          a. Lisa's Maternal Family Has a Substantial History ofMental
                             Disorders.

         John, Lisa's father, was on a path likely to lead him to Judy, Lisa's mother. Judy's

family came from "western types, one step above Amish" with its own history of bootleggers,

strangeness, abandonment, and mental retardation. 172 The severity and pervasiveness of major

mental illness in Lisa's maternal family are remarkable and establish a genetic vulnerability to

mental illness in her life. Family stories, descriptions of family members, and life history

documents reveal a mutigenerational predisposition to affective mood disorders, psychosis, and

neurological deficits that claimed victims across time. Many of these disorders gave rise to

aberrant and cruel behavior that resulted in family dynamics organized around trauma, strategies

of coercive control, and shifting alliances. Family stories of mental illness start with a great,

great ancestor - possible a great, great grandmother - who died in an insane asylum in Indiana.

The stories culminate with two of Lisa's own grandchildren who have been diagnosed with

autism and pervasive developmental disabilities.

        In between the generations, an aunt was born with one hand and one of her children was

born without an ear; another cousin was born with intellectual disability (mental retardation).

One of Lisa's maternal cousins was diagnosed with bipolar mood disorder with psychosis and

hospitalized multiple times; that cousin's daughter has likewise been hospitalized with bipolar

mood disorder. Another maternal cousin has been hospitalized, treated with antipsychotic

medication, and diagnosed with psychotic disorders; his daughter has also been hospitalized for

mental illness. Yet another male cousin has also been described as mentally ill. Both of Lisa's



172
  Attachment 2, Declaration of Lisa Rickert, incorporating report oflnterview with Karl Lundmark. Karl is Lisa's
mother Judy's maternal cousin.

                                                       25


                                                                                                                   B-026
maternal half brothers have received treatment for substance abuse, been incarcerated for

criminal behavior, and have acted violently towards others. One of her half brothers has

received antipsychotic medication for his nightmares, racing thoughts, auditory hallucinations,

paranoia, and flashbacks. This extensive family history of maternal mental disorders provides a

background for examining the manner in which Lisa's mother reared her and exerted control

over her as an adult.

                          b. Judy Rignell (Lisa's Mother) Came From A Hardscrabble Background

        Lisa's maternal family went through hard times and poverty on farms where everyone

was required to work. 173 The family had more than its fair share of mysterious and suspicious

behavior by Lisa's great grandmother, Maude Berry, who came from a Green, Kansas, family of

bootleggers. Maude is said to have had between half a dozen and thirteen children, one of whom

was Nelma, Lisa's maternal grandmother. 174 Maude was "strange" and "had odd ways. When

she got mad she'd go and hide." 175 Somehow she ended up in Colorado with her first husband,

Ed Rogers, a "drunkard" and "old hard dude," and at the age of only thirteen or fourteen years

                                 176
old started having children.           She had six or seven children with Ed, but planned to leave him.

When Ed and his family learned Maude planned to leave him, they hid all but one of the

children, a baby girl named Viola. 177

        Maude no doubt surprised them when she left them all behind save young Viola, returned

to Kansas, and divorced Ed Rogers. She married Emery Springer (Lisa's maternal great

grandfather) in 1916 when Viola was one year old. Maude and Emery had three children:




173 Attachment 2, Declaration of Lisa Rickert incorporating telephone call with Karl Lundmark 5-13-2005.
"' Id.
175 Attachment 2, Declaration of Lisa Rickert incorporating interview with Karl Lundmark 5-3] -2005

'°'Id.
,-, Attachment 2, Declaration of Lisa Rickert incorporating telephone call with Karl Lundmark 5-13-2005.

                                                       26

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Nelma (Lisa's maternal grandmother), William, and Samuel. William died at IO days old.

Samuel was an alcoholic, a "cowboy," who was in and out of jail for drunken behavior. 178

Samuel had a very dark and cruel reputation. He burned women and sold them, according to one

of his nieces, Judy (Lisa's mother). 179 Samuel had a child born with mental retardation. 180

Samuel died when a train hit him, but no one knew ifit was an accident, suicide, or homicide. 181

              Lisa's great grandfather, Emory Springer, owned a farm, and two Swedish men, Nils

Rignell and John Algott Lundmark, came to the farm looking for work. They both ended up

shucking corn on Emory's farm, and met and married Nelma and Viola respectively. Nelma and

Viola were only a year apart but "hated each other" because Nelma "was in Jove" with John

Lundmark, not Nils Rignell, whom she manied. John Lundmark and Viola had four children: a

boy who was stillborn, Esther, Elizabeth, and Karl. 182 When John Lundmark died at 3 7, Karl

was six years old and "ran to his grandfather's home," where Emery Springer raised him, despite

the fact that Emery "had a brain tumor" that "made him think funny." 183 Karl lived in the home

with Emery, Maude, and Samuel. Nelma, Lisa's grandmother, was already married to Nils

Rignell.

              Nils was brutal and beat Nelma, and the children watched helplessly. Nils "was very

physically and verbally abusive" to Ne Ima, and Darlene tried to intervene and protect her




1"' 8   Attachment 2, Declaration of Lisa Rickert incorporating interview with Karl Lundmark 5-31-2005; Attachment 2,
Declaration of Lisa Rickert incorporating "Chrono" Memo 7-20-2005.
n Attachment 255, Interview of Judy Shaughnessy 6-9-2006
180 Attachment 2, Declaration of Lisa Rickert incorporating ''Chrono" Memo 7-20-2005.
181 Attachment 2, Lisa Ricke1t interview with Karl Lundmark 5-31-2005.
182 Id., Esther was born around 1934; Elizabeth was born around 1939; and Karl was born 6-17-1937.
!83     Id.

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mother. 184   185
                    Nils and Nelma had seven 186 children: Anna, Elsie, Ellen, Alice, 187 Darlene, Judy

Karen 188 (Lisa's mother), and Bobby. Judy was born when Nelma was 44 years old. Nelma also

had a child who died before Judy was born. 189 Nelma tended to the children and housekeeping

while Nils farmed and worked for the City of Manhattan, Kansas, where the family lived until

the Great Flood of 1951 that forced them to move to St. George, Kansas. 190 The farm produced

com, alfalfa and potatoes and had a big garden. Nelma canned and sewed their clothes. They

had no indoor plumbing. 191

         Though details about her illness are inconsistent, the family agrees that when N elma was

a young mother she suffered from polio for several years. She may have been hospitalized for a

time, and all siblings recall that she was sick in bed for a long period. The older sisters pitched in

to help with the younger kids. 192 Nelma's bout with polio occurred proximate to Judy's birth. 193

As an adult, Judy seemed devoted to her mother, to whom she was "kind." 194 Nelma's

descendents reported mixed feelings about her: Lisa's brother Teddy thought she was cruel and



184Attachment 19, Declaration of Wendy Treibs.
185
    Attachment 117, Declaration of Darlene Alexander.
186 Two family remembers reported only five children were born to Nelma and Nils: Ann, Judy, Alice, Ellen, and

Bob. Attachment 2, Lisa Rickert interview with Alice Derry and Ellen Linderman (Judy's sisters) 6-3-2005.) Other
family members reported Nelma and Nils had seven children: Ann born 1933; Elsie born in 1934; Ellen DOB 10-
17-1936; Alice DOB 2-3-1940; Darlene DOB 4-6-1943; Judy born in 1947; and Bob DOB 12-18-1955.
187 Alice, Lisa's maternal aunt, was born with one hand. Attachment 2, Declaration of Lisa Rickert, incorporating

interview of Karl Lundmark 5-31-2005.
188 Judy Karen Rignell (DOB 3-18-1947). Judy was born in Manhattan, Kansas and reared in St. George and

Leonardsville, Kansas. Attachment 27, Hope Kleiner, Oklahoma Department of Human Services, Home Study, 7-
18-2001.
189 Attachment 28, Judy Rignell Birth Certificate.
190 The Great Flood of 1951 in Kansas began in May and continued into June 1951 when between 8 and 16 inches

fell July 9 and July 13. In Manhattan, the business district was under eight feet of water. By 7-13-1951, a total of
1,074,000 acres in Kansas and 926,000 acres (3750 km') in Missouri were flooded. On 7-17-1951, President Harry
Truman toured the damage by airplane, as far west as Manhattan, Kansas, and declared the disaster none of the worst
this country has ever suffered from water." (Davis, Kenneth (1953). River on the Rampage. Doubleday) Judy
reported that this flood occurred in 194 7, the year of her birth.
191 Attachment 2, Declaration of Lisa Rickert, incorporating interview of family members; Declaration of John

Patterson.
192 Attachment 2, Declaration of Lisa Rickert, incorporating interview of Alice Derry and Ellen Linderman.
193 Attachment 2, Declaration of Lisa Rickert, incorporating interview of Karl Lundmark 5-31-2005.
194 Attachment 2, Declaration of Lisa Rickert, incorporating interview of Penny Craig 7-14-2005.



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favored other grandchildren over Judy's children. 195 Lisa's children thought she was plain old

mean.

                           c. Lisa's Mother Was Born In a Crucible of Violence and Betrayal.

         Nils Rignell beat his wife at will and brooked no effort by his children to protect her.

When one of his daughters found enough strength and courage to stand in his way, he threatened

to kill her and from that day forward shunned her. 196 Judy, Lisa's mother, grew up in that home

amid rumors and beliefs that her sister was not her sister, but her mother, raped by her father. 197

Judy had every reason to believe her father had impregnated her sister because, as Judy told it, he

sexually assaulted her too. 198 Family members dispute Judy's version of events, 199 but regardless

of its veracity, her version is an example of the destructive family secrets, shifting family

alliances, and family betrayals that became hallmarks of Judy's adult life.

         Judy's life trajectory shows a disturbed and deeply troubled woman who was unfit to

parent or be in a position of control over the well being of others. By all accounts, Judy

experienced erratic and intense mood swings that disrupted the lives of all around her. She was

hyper-sexual and known around town as a "barfly." 200 She lined up future husbands before she

left current husbands. 201 She moved from one location to the next without consideration of the

moves on others. She was irritable, aggressive, and shrewd, hiding her malevolence behind a

mask of concern. 202 She mistrusted and accused family and friends of betrayal. She

demonstrated an array of behaviors that strongly suggest mental impairment: hyper-sexuality,



195
    Attachment 31, Declaration of Teddy Kleiner.
196 Attachment 117, Declaration of Darlene Alexander.
197
    Attachment 86, Declaration of David Owen.
!98 Id.
199 Attachment 2, Declaration of Lisa Rickert, incorporating interview of Alice Derry and Ellen Linderman
200 Attachment 83, Declaration of Jacqueline Moffett.
201
    Attachment 256, Lisa Green interview, 1-16-06
202
    Attachment 112, Declaration of Ann Walker-King.

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mood swings, alcoholism, paranoia, irritability, and aggression. By far, though, the most

distressing behavior she engaged in was her cruelty and control of Lisa. It is difficult to pinpoint

the origins of Judy's brutal behavior towards Lisa, but it most reasonably lies in her own mental

disorder, whatever its nature.

                           d. Lisa's ],,father Was an Outsider in her Own Family.

         Whether because she was the victim of incest or because she was experiencing the on-set

of mental illness, Judy was a "troubled" teenager who ran away from home once. 203 Her family

referred to her as "wild and living the hard life" as a teenager. One of her sisters described her

"as different from the rest of us" in the family. 204 Judy described herself as being "cold, hard,

and a survivor." 205 Judy later described herself as "a strong and determined woman who has

learned from her experiences." 206

         She did not complete high school and did not obtain her GED, and her poor education

relegated her to unskilled employment as a clerk, laundry attendant, and other low paying

positions. 207 She earned her first reported income in 1966 from half a dozen different retailers

for a total annual income of only $700. 208

                          e. Judy's First Baby Died.

         A month shy of 19 and unmarried, Judy had a child who died at birth, Randy Lee

Rignell. 209 Randy was born and died on February 12, 1966, in Manhattan, Kansas. Randy was




203
    Attachment 2, Declaration of Lisa Ricke1i, incorporating interview of Alice Derry and Ellen Linderman, 3-10-
2005
204
    Attachment87, Declaration of Alice Mae Derry.
205
    Attachment 2, Declaration of Lisa Rickert, incorporating interview of Judy Shaughnessy, 7-26-2005.
206 Attachment 27, Hope Kleiner, Oklahoma Department of Human Services, Home Study.
20, Id.
208
    Attachment 32, Judy Shaughnessy, Social Security Administration Earned Income Statement.
209
    Attachment 34, Certificate of Still Birth (Fetal Death) #66-000094 Kansas State Board of Health.

                                                        30


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buried in a space in Sunset Cemetery in Manhattan called "Babyland," where parents who could

not afford a marker or plot could purchase a space to bury their babies. 210

                          f   Judy Had Seven Marriages, Six Children, and at Least Thirteen Step-
                              Children.

         Judy kept secret the details of her maniages, divorces, and liaisons with a series of men

who raped, brutalized, and terrorized her children. She often misrepresented the facts of how

they met, when they married, and when they divorced. She started relationships with men while

they were still married. Each relationship overlapped with the next relationship. Judy selected

men with unquestionable histories of battering and abandoning spouses and children. She

empowered her husbands to beat Lisa and other children in the home without provocation and

for minor infractions. The men often brought children from previous relationships to their

marriages to Judy. Judy married seven times to men who had at least 13 children who were her

stepchildren. She gave birth to six additional children with four men as their fathers. Great

drama, turmoil, and feuds surrounded Judy's marriages, separations, and divorces. Judy used

Lisa and her siblings as pawns to further Judy's advantage. Judy's sisters described her life with

her many husbands and troubled children as "Peyton Place." 211




210 Attachment 2, Declaration of Lisa Rickert, incorporating interview of Ramona and Joseph Rinniker, 6-1-2005.
Ramona Rinniker is a genealogist and local historian related to Nelma Rignell. Ramona keeps information from the
newspaper about anyone distantly related to herself.
211 Attachment 2, Declaration of Lisa Rickert, incorporating interview of Alice Derry and Ellen Linderman, 6-2-

2005.

                                                       31


                                                                                                                   B-032
                                     Judy's Marriages and Divorces


Name&Age            Date of             Location of      Date of Divorce                 Location of
of Spouse           Marria2e            Marria2e                                         Divorce
Leo                 6-9-1966 212        Manhattan,       3-17-1967 213                   Saint Paul,
Barabash/21                             KS                                               Minnesota214
John Hedberg        8-4-1967 215        Miami,OK         7-13-1971                       Topeka, KS
(Patterson)/25                                           (separated 12-1969)216
Jack                10-24-1974 217      Miami, OK        3-21-1985 218                   Tulsa, OK
Kleiner/42
Richard             9-21-1989 219       Vera, OK         11-1990 220                     Pahuska, OK
Boman/47
Richard             1990   221
                                       NIA               1996 222                        Deming,NM
Boman/47

Hector              7-3-1997 223        Topeka, KS       12-8-1999 224                   Topeka,KS
Ochoa/48
Danny               1-14-2000 225       Miami,OK         Separated 2012.
Shaunessy/
49


                 3. Jody Siphons Lisa's Reservoir of Resiliency.

                           a. John and Judy Met in a Bar.

        Judy and John already had failed at one marriage each before they met, and had no way

to know that their man-iage to each other was to become the second of six marriages for each of



212
    Attachment 34, Leo Barabash and Judy Rignell Barabash Divorce Decree.
213 Id.
214 Id.
215
    Attachment 35, John Hedberg and Judy Hedberg Divorce Certificate.
216 Id.
2 " Attachment 38, Jack Kleiner and Judy Hedberg Marriage Certificate.
218
    Attachment 39, Kleiner v. Kleiner Divorce Transcripts.
219 Attachment 2, Declaration of Lisa Rickert incorporating interview with Judy Shaughnessy 7-26-2005.

220 Id.
221 Id.
222 Id.
223
    Attachment 42, Hector Ochoa and Judy Boman Marriage License.
224
    Attachment 43, Ochoa v. Ochoa Petition for Divorce; Ochoa v Ochoa Final Divorce Decree.
225
    Attachment 44, Danny Shaughnessy and Judy Ochoa Marriage Record.

                                                       32


                                                                                                         B-033
them. Nor could they fully understand and appreciate the atmosphere of terror, fear, and

abandonment they would create for the three children who lived in their home. Their

consciousness was dulled and at times drowned in alcohol from the begiiming to the end of their

relationship.

         Judy worked full time at a bar, as a bar girl, according to John, 226 but Judy told others she

worked at a Chinese restaurant. 227 Judy picked up shifts at a breakfast restaurant, in order to

hide her real job at the bar from her family. Judy's job at the bar, as a bar girl, was to sit with

patrons and encourage them to drink more. When John met Judy, "she was basically drinking

for a living, sitting with enlisted men in the bar where she worked, drinking with them and

encouraging them to buy more alcohol from the bar owners." 228 Judy's work records show she

worked at the Palace Tavern in Junction City, Kansas, and at three other companies, earning a

total of $1,150.00 for the year. 229 Judy and John "basically drank for fun." 230 John "could drink

two cases of beer a night, and Judy was right there" 231 with him. When John met Judy, he found

her attractive, because "bar girls were known to be easier," and he "was looking for easier. She

was available and willing." 232

         Judy had been raised in Kansas, on a farm near the Fort Riley A1my base. The town near

the base, Manhattan, Kansas, was extremely rural, and Judy's wild lifestyle would not have set

well with her parents. Judy had to hide her real job from her parents by working occasionally at

a local breakfast restaurant. John described the relationship between Judy's deceit of her parents

and her parents' rural background:


226 Attachment 6, Declaration of John Patterson.
22 '7
    Attachment 2, Declaration of Lisa llickert, incorporating interview with Judy Shaughnessy 3-14-2005.
228
    Attachment 6, Declaration of John Patterson.
229 Attachment 32, Judy Shaughnessy, Social Security Administration, Earned Income Statement.
230 Attachment 6, Declaration of John Patterson.
231 Id.
232 Id.


                                                        33


                                                                                                           B-034
        Judy's parents were farmers. Her mother, Nelma Rignell, was from New Jersey,
        and her father, Nils Rignell, was from Sweden. They were absolute farmers. Judy's
        parents were conservative farmers. They didn't drink, so we made sure never to
        appear drunk when we went to visit them. The farm where Judy was raised didn't
        have running water or the modem conveniences you expect. Fort Riley, the Army
        base, was well equipped, but the town closest to the base was very rural. Judy's
        parents were at home in this small town. They thought Judy was a waitress in a
        respectable restaurant. Judy picked up shifts at this breakfast place. Her folks
        wouldn't have approved of her other job, sitting in a bar with enlisted men,
        encouraging them to drink. 233

        Judy established a pattern of going from one man to the next while still married to the

first man. She had boyfriends at a very young age, and a husband even before she met John.

John didn't know that Judy was already married when they first met, lived with another man at

the time they met, obtained her first divorce while she lived with John, and married John less

than five months after she divorced her first husband. 234 John learned all of this after his

relationship with Judy had imploded. John's sister didn't think Judy acted like other "women

would act at that time. She was more forward. Judy was crazy. No one knew what Judy was up

to." 235 John's sister Mary later found out "while she was showing, while she was very pregnant,

she (Judy) slept with one ofmy boyfriends." 236 John "recognized that she moved from man to

man kind of fast," but he thought that "it would be different" with him. 237 John rented a house in

Manhattan, Kansas, and Judy moved in with him.

                         b.   Judy Bathed Lisa's Brain in Alcohol In Utero.

        After dating for about a year, John and Judy married Angus! 4, 1967, in Miami,

Oklahoma; separated in December, 1969; and divorced August 2, 1971, in Shawnee County,




233 Id.
234 Id.
235 Attachment 5, Declaration of Mary Lee Coleman.

"' Id.
237 Attachment 6, Declaration of John Patterson.



                                                     34


                                                                                                      B-035
Kansas. 238 After John and Judy were man·ied, John convinced his parents to send little Diane to

them in Kansas. Diane had lived safely and happily with her grandparents until late 1967 when

they "voluntarily gave the custody" of Diane to John, and his new wife. 239 Judy had no intention

of becoming a good mother to John's daughter. She "wasn't a very good mother. She was more

interested in what she wanted than what a child wanted. Judy wasn't interested in parenting." 240

Judy's terrible parenting skills were soon even more tested; in the fall of 1967 Judy told John

that she was pregnant.

        John was stationed in Fort Riley, Kansas, until the end of 1967. 241 Before his next

assignment, in Korea, John had some time free. John and Judy drove from Kansas to

Washington State where they stayed briefly with John's mother Marie and stepfather Gordon

Hedberg. They rented the back ofa house near John's parents. 242 John's brother, Tom, met

Judy and concluded she was a "scatterbrain." 243 John's sister remembered that shortly after

marriage, "Judy turned up pregnant" 244 in Washington state, and ended up staying near John's

family for a while. Little Diane lived in the rented apartment with her father and his new,

pregnant, wife.

        Judy did not make any effort to protect her unborn child and to have a healthy pregnancy.

She and John continued their "lifestyle of going out drinking and socializing the entire time she

was pregnant." 245 John only lived with Judy in Washington State for two weeks, so he "tried to



238
    Attachment 35, John Joseph Hedberg and Judy Karen Hedberg Absolute Divorce or Annulment, Kansas State
Depart of Health.
239 Attachment 44, Diane Hedberg, State Department of Social Welfare of Kansas, Report to the Court, Probate

Court of Saline County; Attachment 25, Diane Hedberg, Child in Need of Care, Riley County, Kansas, Case No. J.
1040, 1972.
240
    Attachment 5, Declaration of Mary Lee Coleman.
241
    Attachment 7, John Patterson, Military Records.
242
    Attachment 5, Declaration of Mary Lee Coleman.
243
    Attachment 2, Declaration of Lisa Rickert, incorporating interview of Thomas Allen Hedberg.
244
    Attachment 5, Declaration of Mary Lee Coleman.
245
    Attachment 6, Declaration of John Patterson.

                                                      35


                                                                                                                 B-036
make it fun for Judy in order to make her like living up near my parents." 246 John took her out

several times, "to a tavern, bar or restaurant and eating and drinking." 247 In the late 1960s, there

was little consciousness about the pern1anent harm drinking brought to unborn children, and no

one challenged Judy's drinking. John recollected how indifferent people were to serving

pregnant women alcohol:

         One time one of fue waitresses at a bar asked for ID, and it was so funny because
         the waitress was actually pretending to ask my unborn child for ID! Another time
         Judy had to show JD to get into a bar, and we found out that she actually wasn't old
         enough to be drinking in Washington State. The drinking age in Kansas was
         eighteen years old, and in Washington State it was twenty one years old. She
         worked in a bar in Kansas, so I figured she was old enough. That time, in
         Washington State, even though she was underage and very pregnant, they ended up
         letting us into the bar. 248

         Judy smoked and drank all the way through her pregnancy, whether or not her husband,

John, was in the country. Socializing was Judy's full time job, even with a three year old Diane

and a new born Lisa at home. Judy did not work in 1968. 249

         John and Judy spent very little time together in Washington before he was shipped

overseas in January of 1968. "Judy, John, and Diane lived around the corner from my parents.

until John was stationed overseas again. John was sent off, and Judy was pregnant with John's

baby." 250 Judy was left with John's child from a prior woman, and Judy didn't know how to care

for a child. When she had baby Lisa on February 27, 1968, Judy did not know how to care for

the new baby eifuer. Lisa was born at the base hospital at Fort Lewis, Washington. 251 Judy

"ignored Diane, John's first daughter," and John's mother Marie "had to show Judy how to care




246 Id.
247 Id.
24s Id.
249 Attachment 32, Judy Shaughnessy, Social Security Administration Earned Income Statement.
250 Attachment 5, Declaration of Mary Lee Coleman.
251 Attachment 2, Declaration of Lisa Rickert, incorporation interview with Judy Shaughnessy, 4-14-2005.


                                                        36


                                                                                                           B-037
for baby Lisa. Judy didn't change Lisa's diapers enough ... Judy wasn't interested in

              252
parenting."

         Judy forced four year old Diane to take care of the new born baby. Diane learned how to

change Lisa's diapers and make her a bottle. Diane learned how to change baby Lisa's tiny

clothing and to rock her when she cried. Diane tried to protect Lisa from Judy's abuse and

Judy's drunken rages. Diane "loved that little baby from the moment" she "laid eyes on her and

"doted on her." 253 At only four years old, Diane became Lisa's mother and protector as best she

could:

         Judy never cared for Lisa, and so I took care of Lisa all of the time. I was only four
         years old, but I acted like baby Lisa's mother. I fed her and changed her, I dressed
         her and took care of her. I protected baby Lisa from the fighting as best as a small
         child can. Judy never cared for Lisa, so I felt like I was Lisa's mother. ! loved her
         like I thought a mother should, even though I never had had any example of
         motherly love from Judy. 254

                          c.   Terror Filled Lisa's Infancy.

         Lisa's infancy and early childhood were spent in a fearful, ten-or-ridden home, witnessed

and experienced by her older half-sister, Diane. Diane tried to take baby Lisa and spend as much

time as possible at her grandmother Marie's house around the comer. Diane feared her time with

Judy and described one experience indelibly stamped in her mind:

         One time in Washington, Judy sent Diane down to her grandmother's. However, her
         grandmother wasn't home. Diane remembers being afraid to return to Judy's house.
         Finally, Judy came to retrieve Diane and began yelling at her. Diane remembers being
         very afraid. 255

Judy controlled Diane by threatening to separate Lisa and Diane or threatening to send Diane

away. Diane recollected that:


252 Attachment 5, Declaration of Mary Lee Coleman.
253 Attachment 9, Declaration of Diane Rae Hedberg Mattingly.
2s4 Id.
255 Attachment 45, Declaration of Dani Waller, incorporating her interviev.1 with Diane Rae Hedberg Mattingly.


                                                        37


                                                                                                                 B-038
         Judy's greatest pleasure was finding the one thing that I held sacred and destroying
         it. Judy exploited my greatest fear. Judy knew that my greatest fear was being sent
         away from my family. She saw that I found joy in being with baby Lisa. Judy
         tortured me by pretending that I was about to be sent away from the family, all of
         the time. She stripped me naked, packed all of my clothes into a suitcase, and
         forced me outside onto the stoop of the house. She told me that people were just
         about to come and take me away. I stood out on the stoop of the house, naked and
         afraid, many many times. Any time I found joy in something that Lisa did, Judy
         told me that I was just about to be taken away. 256

        Judy drank, socialized, and looked for boyfriends while John was out of the country. She

came on to John's best friend, Ronald Figg (Ron). John found out about Judy's indiscretion

when Ron wrote him and told him he would not be stopping by to check on Judy anymore. Judy

had "tried to have sex with Ron, and Ron was offended that she could do that" to John." 257 Ron

confinned Judy's behavior:

        Judy got attached to me while John was out of town, and she tried to get tricky with
        me. She got too attached to me and I had to get rid of that. She was living next
        door to Marie and Gordon back then. She called me one night, late, and she was
        yelling at me. She told me 'if you don't come over here right now I am going to
        commit suicide! I will kill myself!' Well, I told her 'go ahead.' I am not getting
        involved in any of that. Judy was manipulative, crazy. 258

Later in life John learned that Judy "was notorious on the base" and "was actually entertaining

men" at John and Judy's home. 259

                         d.   Judy Wanted to Divorce John.

        Judy didn't live next door to Marie and Gordon for very long. After she had the baby,

Judy moved away. It must have been about 1968, and Mary, John's sister, "never heard from

Judy again." 260 Judy left Washington State when baby Lisa was about six months old, in the fall

of 1968. Judy returned to Kansas to be closer to Nehna, her mother, and Ellen, her sister.



256 Attachment 9, Declaration of Diane Rae Hedberg Mattingly.
257 Attachment 6, Declaration of John Patterson.
258 Attachment 21, Declaration of Ronald Figg.
259
    Attachment 6, Declaration of John Patterson.
260
    Attachment 5, Declaration of Mary Lee Coleman.

                                                      38


                                                                                                   B-039
"When Judy moved us down to Kansas, we lived for a while with her sister, Ellen. After a short

while at Ellen's house, Judy rented a house and the three ofus moved into the rented house." 261

While in Kansas, Judy wrote John a letter demanding a divorce, and "John came to Kansas, and

                                          263
he and Judy patched things up." 262             John "spent the night with Judy" and thought they "had

reconciled and were back on track." 264 He returned to Korea.

            In December of 1968 Judy wrote John again, telling him she wanted a divorce again.

Since John was very close to the end of his tour in Korea, his supervisors allowed him another

emergency leave. John flew from Korea to Kansas to try and reconcile with Judy for the second

time. The "spent a couple of nights together" and John thought that he had "managed to patch

up" their relationship. 265 "On March 3, 1969, the Army assigned me to Fort Carson in

Colorado." 266 John went to Colorado Springs, which is very near to Fort Carson, and bought a

house. He signed the house over to Judy and put her name on the ownership papers, because he

thought that "might make her want to stay" with him. 267

            In early 1969, Judy moved from Kansas to Colorado Springs, close by where John was

stationed at Fort Collins. 268 Judy took five year old Diane and one-year-old Lisa with her and

moved into the house John had purchased. John was in and out of the home, as testified to by

Judy during a hearing to place Diane up for adoption:

            From December, 1967, until December, 1970, the natural father, being in the U.S.
            Army, was overseas a great deal of the time and during this time the said Diane Rae
            Hedberg was in the custody of her step-mother, Judy Hedberg, off and on ... The


261
    Attachment 9, Declaration of Diane Rae Hedberg Mattingly.
262 Id.
263 Attachment 2, Declaration of Lisa Rickert, incorporating interview of Bob Rignell, Dan and Judy Shaughnessy,

Ellen Linderman, Alice Derry, Darlene Alexander and Patty Baldwin, 3-10-2005.
264
    Attachment 6, Declaration of John Patterson.
26s   Id.
266
    Attachment 7, John Patterson, Military Records.
267
    Attachment 6, Declaration of John Patterson.
268
    Attachment 2, Declaration of Lisa Rickert, incorporating interview with Judy Shaughnessy, 3-14-2005.

                                                        39


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         said natural father returned to the United States from overseas in December, 1970,
         and he became separated from his wife Judy Hedberg. 269

         Buying Judy a house had not repaired his damaged relationship with Judy in any way.

John explained that "[t]he house had two bedrooms, and Judy slept in one. I slept on the couch

and a friend of Judy's slept in the other bedroom. He was a boarder, a renter. Judy knew him

from around town. One night while lying on the couch, I heard the boarder go into Judy's room.

                                                            270
I could hear everything that was going on in there."              Diane remembered the instability in the

home:

        John's relationship with Judy was absolutely terrible. Judy paraded men in and out
        of the house constantly. She was not faithful to John, and the two of them got into
        terrible fights continually. Both John and Judy drank a great deal and the drinking
        did not help the fighting. I protected baby Lisa from the fighting as best a small
        child can. John lived in the house in Fort Collins for two weeks before Judy kicked
        him out. John went to live on the base, and Lisa and I stayed with Judy in the house
        that John had bought. 271

                          e. Judy and John Intentionally Hurt Their Children.

        During John's short periods with his family, he inflicted great harm. He had no tolerance

for children and knowingly or unknowingly took the stress of soldiering out on Lisa and Diane.

While living in Colorado, Diane told the story about a time she did "something wrong." 272 John

and Judy "stripped her naked, opened the front door and told her she had to leave. It was dark

outside and she was crying. She begged them to let her stay. She doesn't recall what she had

done, but she remembers promising them to never do it again." 273




269 Attachment 25, Diane Rae Hedberg, Child in Need of Care Case, Riley County, Kansas, 1972, Preservation of

Testimony of Judy Hedberg.
ro Attachment 6, Declaration of John Patterson.
271
    Attachment 9, Declaration of Diane Rae Hedberg Mattingly.
272 Attachment 45, Declaration of Dani Waller, incorporating interview of Diane Rae Hedberg Mattingly.

273 Id.


                                                      40


                                                                                                                B-041
         John was too confused by constant drinking and his obsessive need to please Judy to pay

 attention to his children. John abused Diane and Lisa along with Judy, but in hindsight attributes

most of the real abuse to Judy: "Judy spanked the girls, and she told me to spank the girls as

well. I am ashamed to say that I did what Judy told me to do, and spanked my girls. I am

ashamed to say that when Judy told me to go along with this abuse, I did." 274

        Judy punished Lisa for making any noise, a tactic Judy used with increasing cruelty over

Lisa's life, ultimately resulting in Judy's taping Lisa's mouth shut with duct tape. John

remembered when silencing Lisa started:

        If Lisa played and made noise, Judy screamed at her. Judy yelled at the girls for
        acting just like little girls do. Judy belittled the girls, making them feel poorly about
        themselves. I could see it. I should have stopped it. At the time, I was drinking
        and trying to lose myself. Judy was a terrible mother and I regret not stepping in
        and making her stop abusing my girls. 275

        John and Judy fought constantly in front of Diane and Lisa. Judy's rapid mood swings

and her and John's constant intoxication made things worse. Diane and Lisa observed it all,

including physical fighting between Judy and John. 276

        Judy had a temper. If she got mad, she got mad quickly and stayed mad. She
        overreacted to any small thing I said. I had had it. Judy and I got into a knock
        down fight. She came home after being gone all night, and she acted like it was no
        big deal. I pushed her out of the front door and pulled her by the hair. 277

        Judy used stress positions, extreme temperature, and physical assault with objects to

silence and control the girls. Diane described what Judy did to the little girls:

        Judy was a very angry person. She shouted and screamed and yelled and hit us.
        Judy punished us in terrible ways. If little Lisa didn't want to eat all of the food on
        her tray, Judy left Lisa strapped into her highchair for hours. If 1 didn't eat all of
        my vegetables, Judy threw me into the shower by my hair and turned the taps on
        cold. Judy left me in the cold shower, naked and terrified, for hours. Judy spanked

2: 4Attachment 6, Declaration of John Patterson.
21s Id.
r 6 Attachment 9, Declaration of Diane Rae Hedberg Mattingly.
277
    Attachment 6, Declaration of John Patterson.

                                                      41


                                                                                                    B-042
         my bare bottom, strapped me across the legs, and slapped me across the face with
         an open hand. She hit me on the head with a broom handle repeatedly. 278

                         f     Lisa's First Sentence: "Don't Spank Me; It Hurts."

         Diane was five years old when Judy moved her to Colorado, aud Judy began to beat her

and her baby sister, Lisa, consistently and frequently. She did not bother to:

        act like she loved the girls at all. Judy was very authoritative towards the girls. She
        was hard on them. Judy slapped Lisa and Diane with the flat of her hand. She hit
        them in the head and in the face. Judy strapped the girls on the backs of their legs.
        If baby Lisa didn't eat everything on her high chair tray, Judy left her for hours at
        the table, strapped into the high chair, crying. Judy pulled Lisa and Diane by their
        pigtails and punished them for things that they did not understand. Judy was
        physically abusive of the girls, as well as emotionally and verbally abusive. 279

        Judy created an unsafe home for both girls and invited many men to the home. She

allowed the men to sexually assault Diane, and Lisa witnessed the repeated attacks:

        Judy never showed any love towards me, or towards Lisa. She never protected me
        from the men that she brought into the house. I shared a very small bedroom with
        Lisa and a man started coming into the bedroom and molesting me regularly. Little
        Lisa was in the bed next to mine every time. I never saw this man's face. I think
        it was the same man, but as a small child being molested, it is hard to tell. 280

        Judy's beatings, hyper-sexuality, and degrading treatment of Diane haunted Diane over

the course of her life. Diane related the maltreatment she survived to her daughter Jessica, who

learned the pervasive cruelty of her mother's early life and described it:

        Judy had lots of boyfriends that came in and out of the house. One of Judy's
        boyfriends sexually molested my mom repeatedly. Judy never protected my mom
        from any of the boyfriend's sexual abuse ... Judy was severely physically abusive
        of my mom, and Judy berated and yelled at my mom constantly. Judy didn't take
        care of my mom. Mom was hungry all the time. Judy forced my mom into cold
        water showers for hours at a time as punishment. Judy found out that the smell and
        taste of onions make my mom gag and Judy tried to force my mom to eat onions,
        just to laugh at her as she sat at the table, gagging violently. 281

278 Attachment 9, Declaration of Diane Rae Hedberg Mattingly.

r 9 Attachment 6, Declaration of John Patterson.
280 Attachment 9, Declaration of Diane Rae Hedberg Mattingly.
281 Attachment 46, Declaration of Jessica Robinson Thompson Brown. Jessica Brown is Lisa's half-sister Diane Rae

Hedberg Mattingly's daughter.

                                                      42


                                                                                                                   B-043
Lisa heard and saw it all. and Judy didn't spare Lisa any beatings just for being the youngest

child. Later in life Judy bragged that when Lisa spoke her first sentence at eighteen months old,

it was, "Don't spank me. It hurts." 282

         Judy's sister Ellen lived in Colorado Springs the same time Judy lived there with Lisa

and Diane. John had bought the house for Judy not far from Ellen's home. Judy lied to her sister

about cheating on her husband and her numerous short term sex partners. For a few months,

Ellen babysat for Lisa when Lisa was about one year old. 283 When Judy asked Ellen to do the

babysitting, Ellen was "led to believe" Judy was working, but Ellen later found out Judy was

cheating on John. 284 Judy worked sporadically at a motel, and gas station, earning $469 in

1969. 285 Diane remembered that "Judy was drunk much of the time." 286 Once John moved to the

Anny base, Judy felt she no longer had to hide her boyfriends, and she "behaved however she

wanted to." 287 John was babysitting Diane and Lisa one day when "two of Judy's boyfriends

showed up in the front yard and got into a fistfight over Judy, right there!" inside the house with

his daughters. 288

         During and after her marriage to John, Judy "often brought strange men home from the

bars. " 289 Judy drank excessively and frequented bars near her home. She got into fights with

these men after she brought them home, screaming and throwing things at them. On at least one

occasion, Judy left one of the strange men at home in charge of the girls. He came into Diane and

Lisa's bedroom and molested Diane. Lisa and Diane shared a room; if each stretched their arms


282 Attachment 2, Declaration of Lisa Rickert, incorporating interview of Judy Shaughnessy 3-14-2005.
283 Attachment 2, Declaration of Lisa Rickert, incorporating interview of Alice Derry and Ellen Linderman.
"' Id.
285 Attachment 32, Judy Shaughnessy, Social Security Administration, Earned Income Statement.
286 Attachment 46, Declaration of Jessica Robinson Thompson Brown.
287 Attachment 6, Declaration of John Patterson.

'" Id.
289 Attachment 45, Declaration of Dani Waller, incorporating interview of Diane Rae Hedberg Mattingly.



                                                        43


                                                                                                             B-044
they could easily touch each other's hands. 290 Lisa was in the room during that molestation and

during all of the others. 291

                          g.    John Kidnapped Lisa and Diane.

         John's relationship with Judy was over. Judy no longer had to hide her boyfriends from

John, as he was living full time on the nearby Army base and preparing to ship off on another

overseas tour of duty. John minimized what he next did, but other family members reported that

John kidnapped and disappeared with Lisa and Diane. John explained the incident differently:

         Finally one day, I had had enough. Judy was gone from the house and I told the
         little girls we were going on an adventure. I knew where there was an empty
         barracks with no men assigned to live there. I told the little girls we were going on
         a sleep out, and the three ofus snuck into the empty barracks. I told the girls to be
         very quiet, that it was an adventure. We stayed in the barracks for a couple of nights
         before Judy figured out where we were. Judy busted onto the base, yelling and
         screaming, and she took the girls from me and went back to the house that I had
         bought. Judy told me that she could report me for kidnapping. I told her that I took
         the girls away for some down time away from Judy's anger and Judy's bad
         moods. 292

John's self-serving description of this event did not minimize its impact on Lisa.

         Although family members disputed the facts, all agreed that Jolm took Lisa and Patty and

hid them from Judy for some period of time. Judy's elaborate explanation of the event revolved

around a trip she and John made to Texas when Lisa was three years old. According to Judy, she

and John drove to Texas to help some friends who were injured in a terrible explosion in which a

"baby had died." 293 Nelma agreed to take care of Lisa and Patty while Judy and John went to

Texas. They were gone three or four days. Upon their return, Judy learned that one of the adults

also died, so Judy "returned to Texas to help." 294 While Judy was gone, John "took the kids and



290 Id.
291 Attachment 9, Declaration of Diane Rae Hedberg Mattingly.
292
    Attachment 6, Declaration of John Patterson
293 Attachment 2, Declaration of Lisa Rickert, incorporating interview with Judy Shaughnessy, 4-14-2005.
294 Id.


                                                       44

                                                                                                           B-045
 gave them to the same family he gave Diana (Diane) to." 295 John refused to tell Judy where the

children were. Judy "eventually got them back after three weeks," and both little girls "appeared

to be cared for" in Judy's version of the kidnap. 296

         Shortly after this kidnapping, John shipped off for his second tour of duty in Vietnam.

After John shipped out, on December 7, 1969, 297 Judy sold the house in Fort Collins, Colorado,

and moved back to Kansas. 298 She was pregnant with a new baby.

         Patty, Judy's third baby, was born June 3, 1970, 299 and Judy abandoned Lisa and Patty to

the care of their seven year old big sister Diane. Diane was devoted to her two baby sisters. The

little girls "were the joys" of Diane's life. 300 Diane became the chief caretaker for Lisa and

Patty, even though Judy did not work in 1970. 301 Diane changed diapers, dressed the babies for

bed, got them up in the morning, dressed them for the day, and cooked their meals. She also took

physical punishment and abuse from their mother, Judy. Judy hit Diane - who was now seven,

and eight years old and of slight frame - with "broom stick handles or whatever was in her

hands," poked her in the chest, and yelled in her face. 302

         Judy picked up dating nun1erous boyfriends again, upon settling back into life in Kansas.

Numerous men caused myriad problems, particularly when they found out about one another.

Fights were common between Judy and her partners. On one occasion, as Judy tried to shove

one man out the door, Diane "put Lisa behind her and had Patty clinging on her hip. She backed

them all up into a corner, holding them as tight as she could to keep them out of the line of fire." 303


29s Id.
296 Id.
297
    Attachment 7, John Patterson, Military Records.
298 Attachment 6, Declaration of John Patterson.
299
    Attachment 37, FBI Interview with Patty Hedberg Baldwin 1-28-2005.
300
    Attachment 46, Declaration of Jessica Robinson Thompson Brown.
301
    Attachment 32, Judy Shaughnessy, Social Security Administration Earned Income Statement.
302
    Attachment 45, Declaration of Dani Waller, incorporating interview of Diane Rae Hedberg Mattingly.
303 Id.


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                                                                                                         B-046
                           h.   John Changed After the His Second Tour in Vietnam.

          John's time in Colorado was up. He was slated for a second tour of duty in Vietnam, and

he knew that this time would be vastly different than his first time there. John recalled that his

first tour of duty in Vietnam was a quiet one, full of fun and sun, drinking and girls:

         I was sent to Cahm Rahn Bay in Vietnam on May 13, 1965. 304 Cahn Rahn Bay is
         a harbor in Vietnam that was used by the Japanese troops during World War II.
         Later the United States Army used it during the Vietnam War. Cahm Rahn Bay is
         a beach, tropical and beautiful. Vietnam that time was relatively quiet, for me. I
         was working a desk job, doing paperwork. I was enjoying myself in Vietnam
         thoroughly, drinking and meeting girls and having a crazy night life. I was young
         and dumb and unmarried, drinking constantly and having lots of sex. Cahm Rahn
         Bay is on the beach, in a very tropical setting. 305

         In the three years between John's tours of duty in Vietnam, the country had changed.

War had intensified. Soldiers were being killed and the Army was using defoliating pesticides

around the bases. John reminisced:

         The fall of 1969 I was working on base at Fort Cason, and preparing to be shipped
         off to Vietnam. On December 6, 1969 I was shipped off to Vietnam. I lived in Fort
         Carson, Colorado for only six months, but it had been a chaotic six months. I was
         sad to be leaving my girls, but I was relieved to get away from Judy. Vietnam the
         second time around was a much different experience than when I was there in 1965
         and 1966. . . . Vietnam in 1969 was much, much different than in 1965. When the
         plane dropped us off in Saigon, Vietnam, this time the pilot had to circle the city
         for over an hour because the base below was being hit continually with mortars.
         Finally the pilot dropped us off and told us to run straight for the bunkers as fast as
         we could. The base got hit with mortars and gunfire all the time. Vietnam didn't
         feel safe. At night the fighters hiding in the hills near the base ambushed people
         and cut their heads off. One evening the people in the hills ambushed and killed a
         bunch of our people. In the morning the enemy threw cut off heads down on us. It
         was a terrible thing to see. It stayed with me. 306

         Agent Orange was used all around John's base. John described his exposure to Agent

Orange:




304 Attachment 7, John Patterson, Military Records.
305 Attachment 6, Declaration of John Patterson.
306 Id.


                                                      46


                                                                                                     B-047
            The anny sprayed Agent Orange all around the base, in order to defoliate the trees.
            The Army hoped that this might make fighting in such a strange, tropical terrain
            easier for our troops. The Agent Orange stripped everything off of everything, not
            just the leaves off the trees. It took the bark off too, and all the ground vegetation
            and killed all the animals. Now we know so much more about the damage that
            Agent Orange caused our enlisted troops, including myself, but at the time we had
            no idea what it did. The Army thought they were helping us." 307

            There was no rest in Vietnam, and nowhere to feel safe. John developed post-traumatic

stress disorder, sleep disturbances, night terrors and cold sweats that woke him up. 308 He described

his hyper-vigilance:

            I was on high ale11 the entire time I was in Vietnam in 1969 and 1970. The mortars
            went off constantly, and the retaliation of Army bullets filled the sky. Every fifth
            bullet was a tracer, so the red lines in the sky were constant. The tracer bullets were
            so thick that when I looked up into the sky, it appeared as if! could walk up a bridge
            of light into the sky. The guns just rattled out hundreds of bullets all day and all
            night. Every so often when you were outside you'd see barn barn barn, enemy
            sniper bullets corning straight at you, blasting up the dirt as they headed towards
            you. That's when you had to hustle to get to the bunker! 309

            John suffers from the effects of his second tour in Vietnam to this day. His current wife

described his struggle with the disorder:

           I have wondered if John was exposed to Agent Orange in Vietnam. John still
           suffers nightmares, or night terrors, in his sleep. I think that they are from things
           he saw and things that happened to him while he was in the service. It can make
           him feel like he is having an anxiety attack. When John is having night terrors he
           does not know who is trying to touch him or who is trying to wake him up. He told
           me that he is not here when he has the nightmares, but he is somewhere else inside
           the dream. Now when he has nightmares I know not to try and wake him. John
           also has tremors in his hands and arms, as well as neuropathy in his feet. 310

           John's time in Vietnam changed him. He no longer felt safe, anywhere. Even John

recognized that his "drinking was becoming a problem." 311 John was "depressed, smoked




307 Id.
308 Id.
309 Id.
310
    Attachment 8, Declaration of Clrristina Juarez Patterson.
311
      Attachment 6~ Declaration of John Patterson

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                                                                                                        B-048
marijuana, and slept a lot," common behaviors for soldiers who served in Vietnam. 312 John's

sense of safety was gone, and he slept poorly - when he slept at all. Nightmares about his

friends and fellow enlisted men plagued his nights, and tremors and numbness in his feet plagued

his days. In March 1970 John was promoted to Supply Sergeant for the remainder of his time in

Vietnam. 313 Two months later John got a letter from Judy, telling him that she had given birth to

his daughter, Patty, on June 3, 1970, and John believed Patty was his until he "actually laid eyes

on Patty." 314 When he finally caught up with Judy and saw Patty, he "could tell immediately

that she was not [his Jbiological daughter. Patty has very dark coloring, almost Middle Eastern

or American Indian looking." 315 John was "not surprised, the way Judy ran around." 316

                          i.   John Returned to the Family from Vietnam, then Completely
                               Disappeared from Lisa's Life.

        John came back to the United States from his second tour of duty in Vietnam on

December 30, 1970. 317 Even Judy recognized that when John returned from Vietnam, he "never

came back the same." 318 Judy saw that John "couldn't handle being around a wife with small

children," given what he had gone through in Vietnam and the recurring nightmares he had. 319

John's mother believed the war made John "afraid of women and children because you didn't

know if they would kill you." 320 She believed John tried to "keep his pain inside," but he acted

"uptight" and "defensive." 321 John was "angry and disturbed." 322




312
    Attachment 2, Declaration of Lisa Rickert, incorporating telephone interview with Thomas Allen Hedberg.
313
    Attachment 7, John Patterson, Militaiy Records.
314
    Attachment 6, Declaration of John Patterson.
315 Id.
316 Id.
317
    Attachment 7, John Patterson, Military Records.
318
    Attachment 257, Hope Kleiner, Department of Human Services, Home Study, 3-7,12 and 16-2000.
319
    Attachment 2, Declaration of Lisa Rickert, incorporating interview of Judy Shaughnessy, 7-26-2005.
320
    Attachment 2, Declaration of Lisa Rickert, incorporating telephone interview of Marie Stelma.
321 Id.
322
    Attachment 2, Declaration of Lisa Rickert, incorporating interview of family members 3-10-2005.

                                                       48

                                                                                                              B-049
          John immediately tried again to reconcile with Judy, but the effort was ill fated. Judy

hadn't changed since John had seen her last. John described his encounter with Judy:

          I really did think that I loved Judy, so I flew down to Kansas, where she was living.
          When I got there I went to the address she had given me. I could see Judy inside
          the house with her new boyfriend. Judy saw me through the window and came
          outside. She seemed happy to see me. She went back in the house, kicked her new
          boyfriend out and brought me inside. I thought we were reconciling. I was happy.
          I spent the night with Judy, and we had a night of passion. In the morning she asked
          me for all the money I had on me, and I foolishly gave it to her. Then she kicked
          me out of the house! I had nowhere to go! When I protested and told her that I
          thought we were back together, Judy snubbed me. She told me I was lucky to have
          just had the best sex of my entire life, and that was all I was getting. She took my
          money and kicked me out. Lisa was only two years old, and Patty, the new baby,
          was only a few months old. 323

          John was almost kicked out of the Army for what he decided to do next. He "was

supposed to have reported back to the Army" for orders by the first week of January 1971. 324

John went AWOL "trying to get back with Judy there in Kansas," and the army cited him for

excessive leave repeatedly in the month of January. 325 When January and February passed, John

"knew that it was really over" with Judy and that he "couldn't win her back." 326 Judy had

moved on and "was living with her new boyfriend." 327 John slowly understood that "maybe, she

never cared" for him. 328

          Lisa turned three years old on February 27, 1971, and John "stuck around" Kansas long

enough to attend the small birthday party that Judy had for her. 329 "It wasn't much,"3 30 but John

wanted to be there. On March l, 1971, the Army assigned John to Grosse Auheim base in




323 Attachment 6, Declaration of John Patterson.
324 Id.
325
    Attachment 7, John Patterson, Military Records.
326
    Attachment 6, Declaration of John Patterson.
321 Id.
328 Id.
329 Id.
,,o Id.
                                                      49


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Hanau, Gennany. 331 John completely disappeared from Lisa's life. "I didn't see them again

until my daughter Lisa's trial started and defense counsel introduced us to one another again,

after 35 years." 332

         Opinions and memories about why John left his children with Judy vary. John

remembered that he thought he had no other choice, although his sister, Lori Mae, disputes that.

Lori Mae believed that "Mom loved Diane with all of her heart. She doted on little Diane. She

would have taken Diane back in to our house." 333 Other family members recalled that John

needed to escape from the children altogether, and that's how the girls were left under Judy's

cruel and controlling thumb. John "didn't like screaming children." 334 Some family members

recalled that John's experiences in Vietnam had traumatized him to the level where he himself

did not feel "that the kids would be safe around him." 335 Why John left Diane, who was not

related to Judy in any way, and Lisa, his and Judy's daughter, with Judy is debatable. Their fate

is not debatable. Both little girls were beaten, raped, and humiliated well into their adulthood.

Both were helpless to protect themselves but they clung to each other until Judy exiled one of

them.

                         j.    Judy Exiled Diane.from the Family.

         John was gone, and Judy lived in Kansas with Diane, Lisa and Patty. At the end of 1971

when John and Judy formally divorced, 336 Judy became ineligible for financial benefits from the

military or social services for Diane. Family stories about Judy's decision to abandon Diane and

return her to social services vary from one family member to the next and change over time.


331
    Attachment 7, John Patterson, Military Records.
332 Attachment 6, Declaration of John Patterson.
333 Attachment 12, Declaration of Lori Mae Yates.
334
    Attachment 2, Declaration of Lisa Rickert, incorporating telephone interview with Marie Stelma.
335 Attachment 2, Declaration of Lisa Rickert, incorporating interviews with the family members 3-10-2005.
336
    Attachment 6, Declaration of John Patterson. Attachment 35, Divorce certificate of Judy Hedberg/John Hedberg
Patterson.

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John remembered that "The adoption people wrote me a letter and I told them that Diane living

with Judy was a totally unacceptable situation and that I didn't want Diane to remain at Judy's

home. The adoption people didn't contact me again, and later I learned that Diane was removed

from Judy's home and placed up for adoption." 337 Marie reported that one day a woman called

her and asked her if she "wanted" Diane. 338 Marie told the woman that yes she wanted Diane and

that she felt Diane should be raised by her father, "but the adoption people never called her back

to arrange anything." 339 "The woman hung up and that was the last" Marie heard about

Diane. 340 Marie learned later Diane was adopted, and Marie proclaimed that had she known that

was what the call was about she would have taken Diane. 341

            Judy claimed she wanted her sister Ann to adopt Diane but Ann declined. 342 Judy's

version of what happened to Diane is very brief. According to Judy, when John came back in

1971 he took Diane and gave her to a family and she was eventually adopted by someone. 343

Judy also claimed that John took Lisa and Patty to this same family when he kidnapped them. 344

Diane was eight years old when Judy ejected her from Lisa's life. Diane told the full story of her

experience:

            When I turned eight years old Judy sent me away. Across the street from Judy's
            rented house in Kansas was a woman with a last name of Paine. Her children lived
            on a farm in Kansas and Judy sent me to go live with them. They neglected me just
            as Judy had. One day I fell down a flight of stairs and I really hurt my neck. The
            Paines did not take me for medical care, and my neck was permanently injured. At
            some point the Paines finally did take me to a doctor, and the doctor turned us away.
            He said that the Paines had no legal right to be taking me to a doctor, since they
            were not legal foster parents. He questioned how I had ended up with them. The

337 Attachment 6, Declaration of John Patterson; Attachment 25, Riley County Records Child in Need of Care case
#J-1040, 1972.
338 Attachment 2, Declaration of Lisa Rickert, incorporating telephone interview of Marie Stelma.
339 Attachment 12, Declaration of Lori Mae Yates.
340 Attachment 2, Declaration of Lisa Rickert, incorporating telephone interview of Marie Stelma.

341 Id.
342
    Attachment 2, Declaration of Lisa Rickert, incorporating interviews of Alice Deny and Ellen Lindeman.
343
    Attachment 2, Declaration of Lisa Rickert, incorporating interview of Judy Shaughnessy, 4-14-2005.
344   Id.

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          Paines returned me to Judy. Judy had moved while I was gone. Now she lived in
          Ogden, Kansas. 345

          Diane was not to stay with Judy for very long, after the Paines finally tracked Judy down

and returned Diane to her. Diane returned to her role of caring for Lisa and Patty:

          I didn't know at the time, but the Board of Child and Protective Services was
          already watching me. When the Paines took me to the doctor, the Kansas Social
          Services people took note ofme. I returned to Judy's house in Ogden. I re-entered
          my role of caring for the girls, and Judy continued to abuse me verbally,
          emotionally and physically. Judy again left me vulnerable to sexual abuse by her
          many boyfriends. 346

          At some point Judy and Diane talked about where Diane could go and live. Diane

brought up moving to Washington State to live with Grandma Marie and Grandpa Gordon

Hedberg, but Judy lied to keep Diane from returning to a loving family. Diane described the lie

Judy told:

          Judy told me that John's mom, Grandma Marie, was dying. She told me that I
          would never see Grandma Marie again. I was heartbroken. Grandma Marie
          showed me love and affection that I craved. I mourned Grandma Marie's passing
          for a long time. I was an adult before I found out that Judy had lied to me and that
          Grandma Marie was alive and well in Washington. What a cruel thing to do to a
          small child. 347

Judy also told the social workers that moving Diane to her grandparents' home was no longer an

option.

          The day Diane was taken away from Lisa is indelibly stamped on her mind. Judy told

Diane "it was her own fault" and "her choice." 348 Diane knew as soon as she saw the social

workers at Judy's door that "she was being taken away." 349 In February 1972 two social workers

came to Judy's house. Diane described what happened next:


345
    Attachment 9, Declaration of Diane Rae Hedberg Mattingly.
346 Id.
347 Id.
348
    Attachment 45, Declaration of Dani Waller, incorporating interview of Diane Rae Hedberg Mattingly.
349 Id.


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         The case worker assigned to me sat and talked to Judy. They talked about places
         that I could go and live and have a permanent home. Judy told the social worker
         that my Grandma Marie was dead. The social worker took me away! As I was
         leaving Judy leaned over and told me that I was being taken away from her because
         I was bad. She told me it was my fault! What a terrifying thing for a young girl to
         hear. I clung to Lisa as I was leaving. I knew deep down that if I left for good, the
         sexual abuse that I had continually experienced while living with Judy would start
         to happen to Lisa. I knew that when I left no one would take care of baby Patty.
         Lisa was only four years old so I knew that she couldn't care for a new baby. 350

Lisa and Patty sat with Diane on the couch and tried to console her by hugging her. Diane was

nervous and so upset that she kept vomiting. The caseworker who took her away had to pull her

car over, because Diane continued to get sick. Diane felt she was leaving her two sisters behind,

without protection. She was "leaving them to the wolves." 351

         The most unbiased documents of events surrounding Diane's disappearance from the

family are found in court records that document Judy and John's abandonment of her. Diane's

account of her abandonment and loss of her sisters is consistent with court records: In June,

1970, while John was overseas, Judy sent Diane to live with Mr. and Mrs. Ed Paine in Topeka,

Kansas, without any kind of court supervision or approval. John returned to the U.S. in

December, 1970, and he and Judy separated. John returned overseas. In June, 1971, the Paines

returned Diane to Judy's house. They wanted to adopt Diane, but stated that John refused to

relinquish legal custody. 352 Judy and John formally divorced on July 13, 1971. 353 Judy returned

to motel work and earned $616.40 354 and received Aid to Dependent Children. Judy contacted

Kansas social services and informed them she was not married to John any longer and "had just




350 Attachment 9, Declaration of Diane Rae Hedberg Mattingly.
351
    Attachment 45, Declaration of Dani Waller, incorporating interview of Diane Rae Hedberg Mattingly.
352 Attachment 25, Diane Hedberg, Child in Need of Care Case No. J-1040, Riley County, Kansas, 1972, Report to

the Court
353 Attachment 35, Hedberg v Hedberg Divorce Records.
354
    Attachment 32, Judy Shaughnessy, Social Security Administration, Earned Income Statement.

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taken into her home her step-daughter." 355 Social services filed a Petition in the Juvenile Court of

Riley County to have Diane declared a dependent and neglected child. 356

         In its report to the court, social services concluded "this child's needs have been totally

ignored by the adults who have charge of her and it is felt that she is in need ofprotection." 357

On February 14, 1972, 358 Judy officially turned over Diane to the Kansas Department of Social

Welfare. Following a hearing on March 28, 1972, 359 at which Judy testified, the cow1 found that

Diane was indeed a dependent and neglected child. Social services placed Diane with a foster

family until May, 21, 1973, when she was adopted by a family in Salina, Kansas. 360 Judy told

                                                                                              361
her own family members that "Diane was later adopted by some other family."

         Lisa learned that Judy was powerful enough to exile her sister. Lisa grieved for her

missing sister. Twenty years later, Lisa searched the internet to try and find Diane to fill in that

aching memory, but to no avail. 362 Diane blamed herself for the loss of her baby sister, Lisa:

         As I grew to be a teenager I began to feel depression. I was depressed for weeks at
         a time. I blamed myself for being taken away from Lisa, and I blamed myself for

355 Attachment 24, Diane Hedberg, State Department of Social Welfare of Kansas, Report to the Court, Probate
Court of Saline County; Attachment 25, Diane Hedberg, Child in Need of Care, Riley County, Kansas, Case No. J-
1040, 1972.
356 Id.
357 Id.

358 Id.
359 Id.
 °
36 Foster care and adoption placements failed to protect Diane from further harm. "None of the foster homes or

adoptive families were better than living with Judy. I experienced emotional terror, pain and verbal abuse at every
single house I was placed at." (Attachment 9, Declaration of Diane Rae Hedberg Mattingly) Diane was removed
from the first adoptive family after a year and a half due to multiple bruising from severe spankings. (Attachment
47, Diane Hedberg, Central Kansas Mental Health Center) "The Borsdorffamily was no better than Judy had been.
Eventually a neighbor took my morn, all beat up, to the police. The police removed my morn from the Borsdmf
home and the State took my mom and placed her up for adoption again." (Attachment 46, Declaration of Jessica
Robinson Thompson Brown, daughter of Diane Rae Hedberg Mattingly) Diane was placed in a foster home with
foster parents named Bushyhead who formally adopted her on 8-13-1975, and then moved with her to Holland,
where her adoptive father began to sexually assault her. (Attachment 48, Ron Ninernire and Dani Waller interview
with Diane Rae Hedberg Mattingly). "Jesse Bushyhead sexually abused my mom while she was his adopted
daughter. He did it more than once. He also used to invite his friends over to watch pornographic movies, and make
my mom sit in the same room with them. At the time, my mom was only 16 years old!" (Attachment 46,
Declaration of Jessica Robinson Thompson Brown, daughter of Diane Rae Hedberg Mattingly).
361
    Attachment 2, Declaration of Lisa Rickert, incorporating interview of Alice Derry and Ellen Linderman.
362
    Attachment 258, Diane Rae Hedberg, Adoption Registry 1-6-2004.

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        not being able to protect Lisa from Judy. I went over scenes in my head over and
        over again, torturing myself with what I could have done. I lived in a state of
        depression for two dozen years or more after I was removed from Judy's home.
        Judy's home was a terrible place to live. Judy neglected us, abused us, verbally
        belittled us and told us that we were less than nothing. But Judy's house was my
        home, and my sisters were there, so I missed it. 363

                 4. A Psychosis-Inducing Childhood

        John's absence from his family was not long mourned. Judy had sexual relationships with

other men during her marriage, and most family members early on speculated that her second

living child, Patty, was not John's child. Patty had a very dark complexion, did not resemble

other family members, and was called "nigger baby" by her mother. 364 Judy recounted that she

met her next husband, Jack Kleiner, 365 who was 14 years her senior, at an auto salvage store, but

others reported that she met Jack at a bar. 366 Judy drank her way through much of the 1970' s

with Jack. She earned only at total of $461 in 1972, I 973, and 1974 and reported no income in

1975 or I 976. 367

        Although the original place of their meeting may be uncertain, the catastrophic

consequences of their meeting and subsequent marriage on four year old Lisa are certain. Long

before Jack entered Lisa's life and began his campaign of terror against her, he honed his skills

in abusing, maltreating, and humiliating his family in his first marriage.




363  Attachment 9, Declaration of Diane Rae Hedberg Mattingly.
364  Attachment 2, Declaration of Lisa Rickert incorporating interview with Becky Perky and Jackie Moffett 7-12-
2005.
365 Attachment 49, Death Certificate of Jack Kleiner.
366 Attachment 2, Declaration of Lisa Rickert incorporating interview with Penny Craig 7-12-2005.
36 : Attachment 32, Judy Shaughnessy, Social Security Administration, Earned Income Statement.


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                                                                                                                   B-056
                          a. Who Was Jack Kleiner?

         Jack Kleiner 368 made his first family's life "hell." 369 Jack and his wife Willadean had

five children, 370 all born in Manhattan, Kansas, and Jack terrorized them with predictable and

enduring consequences on his children. Jack was "controlling, irrational, and volatile" and

punched, kicked, and choked his children who "lived in constant fear of what would happen

next." 371

         Jack's daughter Penny had "nightmares from all the screaming and yelling." 372 Penny

developed bi-polar mood disorder, had a 25-year long methamphetamine addiction, and began

sniffing paint when she was 17. 373 She is on disability for mental health issues. 374 At one point,

Penny was in jail with her youngest son while her oldest son was wanted, all on the same drug

charge. 375 Penny was treated with powerful antipsychotics and antidepressants at different times,

including Risperdal, Lexapro, Seroquel, Wellbutrin, and Zoloft.

        During a 2006 inpatient treatment program for addiction, 376 Penny was diagnosed with

major depressive disorder, recurrent, and methamphetamine dependency. 377 She reported being

distractible, anxious, depressed, and unable to concentrate or focus and having auditory

hallucinations in her lifetime that were not the result of drug use. It was hard for Penny "to



368 Jack Kleiner, DOB 7-26-1932 DOD 9-15-2009 was the youngest of six children: Alberta Kleiner, Maxine Kelsy,
Arlene Knowles, Darlene Webster, and Jerald Kleiner. (Attachment 50, Jack Kleiner, Obituary)
369 Attachment 2, Declaration of Lisa Rickert incorporating interview with Becky Perky and Jackie Moffett 7-12-

2005.
ro Attachment 45, Declaration of Dani Waller incorporating interviews with Becky Perky and Jackie Moffett 8-16-
2006: Becky Kleiner (DOB 10-3-1952); Jackie Jo Kleiner (DOB 2-23-1954); Timothy Kleiner (DOB 5-18-1956)
Penny Lee Kleiner (DOB 8-18-1961); and Terry Kleiner (DOB 12-13-1965 DOD 9-26-2005); Attachment 52, Jack
Kleiner- Willadean Kleiner v. Jack Kleiner Divorce Riley County Case 17,260.
n Attachment 82, Declaration of Becky Perky.
372 Attachment 2, Declaration of Lisa Rickert incorporating interview with Penny Craig 7-12-2005.

n1d.
374 Attachment 85, Declaration of Penny Craig.

n1d.
3'° Attachment 51, Penny Craig 12&12 Center for Addiction Treatment and Recovery Records.

"' Id.

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think." 378 She worried "a lot about things" so much her "head hurt." 379 At 42 years of age, she

was unable to work due to chronic mental health and physical problems and received Social

Security Disability Income (SSDD. 380 She reported that her little brother died in December of

2005 and that her grandfather owned a honky tonk and her grandmother was a bootlegger.

Penny described herself as big hearted, patient and a good listener. 381

         Tim, one of Jack's two sons, was not married and had no children. Tim was a "loner,"

who "work[s] temporary jobs." 382 He lived with his mother until she died on July 12, 1999, when

he was 43 years old. In 2005, six years after his mother's death, he was "still grieving." Terry,

Jack's other son, separated himself entirely from his family of origin and refused to "see any of

his family," even when they traveled to his home. Terry also never married or had children. He

was described as "withdrawn" and "a loner" 383 before he died in 2005 from complications of

diabetes.

         At least two of Jack's children recognized that "something" was mentally wrong with

him but they did not understand how he became that way. 384 His children "begged their mother

to divorce their father." 385 He was an alcoholic, a controlling tyrant who "was always mean and

got meaner when he drank."3 86 He came home from work foul tempered, demanding supper at a

certain time, water to soak his feet, and rum and cokes, behavior that he duplicated with Lisa and

her siblings. He spread out on the couch all night and watched television while his wife waited




rs Id.
379 Id.
380 Id.
381 Id.
382 Attachment 2, Declaration of Lisa Rickert incorporating interview with Penny Craig 7-12-2005.
383 Id.
384
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Becky Perky and Jackie Moffett 7-12-
2005.
,s, Id.
is, Id.

                                                        57


                                                                                                                  B-058
on him and tried to appease him. 387 Jack owned race cars, went to car races, and was the flag

person. His son, Tim, "loved going to the races," but Jack rarely took him and told the youngster

he had no room in the car because one of Jack's girlfriends was in the car. 388

         Jack publically degraded and humiliated his wife, Willadean. Jack and Willadean were

married on March 8, 1952, in Manhattan, Kansas, when Willadean was just sixteen years old. 389

Willadean manied Jack after she became pregnant in the eighth grade and withdrew from

school. 390 Jack's sexual attraction to teenagers was well known in his family.             391
                                                                                                  After Jack and

Willadean married, he often did not come home at night but rather drove around their small

hometown of Manhattan with other women not caring "who knew he slept with other

women." 392 Jack had an affair "every time Willadean got pregnant" 393 Family members knew

                                           394
that "Jack cheated on his first wife."           His children were "shunned" if they "told anyone their

father was Jack Kleiner," so one daughter told people their father was their Uncle Gerald

Kleiner. 395

         Willadean was overweight, and Jack "called her names and degraded her about her

weight and the fact that no one would want her with five kids." 396 Jack never showed affection


387
    Id.; Attachment 2, Declaration of Lisa Rickert incorporating interview with Penny Craig 7-12-2005.
388 Attachment 21 Declaration of Lisa Rickert incorporating interview with Beck Perky and Jackie Moffat 7-12-2005;
Attachment 2, Declaration of Lisa Rickert incorporating interview with Penny Craig 7-12-2005.
389
    Willadean Rea Kleiner, DOB 5-22-1936 DOD 7-12-1999; Date of marriage to Jack Kleiner 03-08-1952; Jack
Kleiner (Attachment 52, Willadean Kleiner v. Jack Kleiner Divorce Riley County Case 17,260; Attachment 2,
Declaration of Lisa Rickert incorporating interview with Becky Perky and Jackie Moffett 7-12-2005; Attachment 2,
Declaration of Lisa Ricke1i incorporating interview with Penny Craig 7-12-2005.
390
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Penny Craig 7-12-2005.
391
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Becky Perky and Jackie Moffett 7-12-
2005.
392
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Becky Perky and Jackie Moffett 7-12-
2005; Attachment 2, Declaration of Lisa Rickert incorporating interview with Penny Craig 7-12-2005.
393 Id.
394
    Attachment 53, Josie Kleiner telephone call summary 5-13-2005.
395
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Becky Perky and Jackie Moffett 7-12-
2005.
396 Attachment 2, Declaration of Lisa Rickert incorporating interview with Becky Perky and Jackie Moffett 7-12-

2005; Attachment 45, Declaration of Dani Waller incorporating interview with Becky Perky and Jackie Moffett 8-
18-2006.

                                                        58


                                                                                                                     B-059
to his wife or children and made his wife feel like a nobody. 397 Willadean loved her five children

and protected them as much as she could from Jack, a sharp difference her children noted in the

way Judy failed to protect Judy's children from Jack. 398

         Jack's family "walked on egg shells around him" to try to avoid his wrath. 399 Two of his

daughters, Becky and Jackie, "made a point to stay away from him," isolating themselves in their

rooms or leaving their house to avoid unintentionally provoking him. 400 The children's feelings

"were insignificant to him." 401 He once gave away his children's bikes to his friend's children.

         Jack created "an environment of fear and anxiety every day." 402 Children in the home

"didn't have to actually do something wrong to be hit;" they "just had to be in the way." 403 No

child was spared physical and emotional abuse by Jack. Jack chipped Becky's tooth with a

phone receiver. He put Jackie's head through a cabinet and then beat her for crying about it.

Jack tried to force the children to name their siblings for any wrongdoing, and when they

refused, he "lined everyone up and beat everyone." 404 Jack accused Becky and Jackie of acting

inappropriately when one of his friends complimented them. Jack took the compliment "the

wrong way," accused the girls of seducing his friend, and beat them. Jack hit, punched, and

kneed his children, leaving them bruised and battered. 405

         Becky was desperate to escape her home and as a result moved, unknowingly, to an even

more unsafe environment. When she was only 17, she moved in with a female neighbor who was




391 Id.
398 Id.; Id ..
399 Attachment 2, Declaration of Lisa Rickert incorporating interview with Becky Perky and Jackie Moffett 7-12-

2005.
400 Id.
401 Id.
402 Id.
403 Id.
404 Id.
405 Id.


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recently divorced with three children. After Becky moved in, the roommate's ex-husband

appeared at the house one day and shot and killed Becky's roonm1ate, shot at Becky while she

tried to flee with the roommate's children and then killed himself. Becky was very traumatized

by this event. Becky had no choice but to move back home, but Jack "kicked her out" soon after

she returned. 406

         Jack abandoned Willadean and their five children in April of 1972. 407 Willadean filed for

divorce on September 9, 1973, and the court answered her plea for an expedited divorce decree,

finding the "defendant [Jack Kleiner] disregard[ed] his marriage vows and obligations" and

granted Willadean a divorce from Jack on October 19, 1973. 408

                          b. Jack and Judy Found Each Other.

         Jack and Judy were "wild people" whom other Kleiner family members avoided because

of their drinking. 409 Alcohol formed much of the basis of their initial relationship and continued

to be one of its main features. Jack and Judy "were drunk much of the time." 410 According to

one of Jack's children, Jack and Judy met at a bar and the two began an affair. Judy had a

reputation as a "sleaze" and a "whore." 411 Judy told the story of their meeting "at a salvage yard

while looking for a car." 412 Judy claimed she did not realize that Jack was married and had five

children. Willadean was "upset, mad" and hurt;" despite his terrible treatment of her, she never

believed Jack would leave her. 413




406 Id.
407 Attachment 52, Willadean Kleiner v. Jack Kleiner Divorce Riley County Case 17,260.
408 Id.
409
    Attachment 53, Josie Kleiner telephone call summary 5-12-2005.
410
    Attachment 54, Ron Ninemire interview with Teddy Kleiner ] -22-2005.
411
    Attachment 2, Declaration of Lisa Rickert, incorporating interview with Penny Craig 7-12-2005; Attachment 55,
Ron Ninernire interview with Penny Craig 1-19-06.
412
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Judy Shaughnessy 3-14-2005.
413
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Becky Perky and Jackie Moffett 7-12-
2005.

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                                                                                                                    B-061
         In April of 1972, Jack abandoned his wife Willadean and moved with Judy to a trailer in

Ogden, Oklahoma. 414 After a year and a half, Judy and Jack moved with her children to Jack's

parents' house where they could live for free in 1974. 415 Judy became pregnant and gave birth to

Teddy Kleiner in Tulsa, Oklahoma, on June 6, 1974, the first child born to the couple. Teddy

grew up hearing that he "was born addicted to alcohol" and "had to be weaned off alcohol as a

baby." 416 Judy and Jack were married a few months later in October 1974. 417 When Jack's

mother died, they continued to live with Jack's father until his death. 418 Judy complained that

Jack's father, Fritz Kleiner, 419 "pulled his penis out in front of her" and said "dirty words." 420

         Jack Kleiner was an alcoholic who "drank morning to night." 421 Jack was violent when

he drank, had numerous DUis, and was violent toward children in his care except for Tonuny. 422

Jack was "rude," "spoiled," and "drank a lot." 423 His sister in law, Josie Kleiner, 424 "was scared

of him" and "didn't trust him." 425 Josie "always had a 'funny feeling"' that Jack molested young

girls. 426 After her husband Gerald became ill and needed care, Jack and Judy came to Josie's

home and "said they were going to take Gerry because Josie wasn't caring for him well




414
    Attachment 52, Willadean Kleiner v. Jack Kleiner Divorce Riley County Case #17,260; Attachment 2,
Declaration of Lisa Rickert incorporating interview with Penny Craig 7-12-2005.
415
    Attachment 53, Josie Kleiner telephone call summary 5-13-2005; Attachment 45, Declaration of Dani Waller
incorporating interview with Becky Perky and Jackie Moffett 8-16-2006.
416
    Attachment 31, Declaration of Teddy Kleiner.
417
    Attachment 39, Kleiner v. Kleiner Legal File.
418
    Attachment 55, Ron Ninemire interview with Penny Craig 1-19-2006; Attachment 53, Josie Kleiner telephone
call summary 5-13-2005.
419
    Attachment 55, Ron Ninemire interview with Penny Craig 1-19-2006.
420
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Penny Craig 7-12-05.
421
    Attachment 56, Ron Ninemire interview with Tommy Kleiner 3-9-2005.
422
    Attachment 56, Ron Ninemire interview with Tommy Kleiner 3-9-2005; Attachment 31, Declaration of Teddy
Kleiner 1-30-2013.
423
    Attachment 53, Josie Kleiner telephone call summary 5-13-2005.
424
    Josie Kleiner was married to Gerald Kleiner, Jack's brother, and was born in approximately 1920. Josie and
Gerald were Christian people with kind hearts. When Jack and Gerald's sister Maxine died at age 25 and left five
children, Josie helped care for them. Attachment 53, Josie Kleiner telephone call summary 5-13-2005.
42s Id.
426 Attachment 82, Declaration of Becky Perkey.


                                                        61


                                                                                                                   B-062
enough." 427 Josie was furious and told them so. Josie suspected that Jack and Judy wanted to

help care for Gerry so they could get his retirement money. 428 Another time, after Jack and

Judy's divorce, Jack was released from jail in Tulsa on a DUI. Jack and his son Teddy who was

high school age showed up at Josie and Gerald's door "all dirty needing a place to stay." 429 Josie

and Gerald were going to be gone all day and did not trust Jack in their home when they weren't

present. Jack and Teddy stayed out in the truck all day in the winter until Josie and Gerald

returned. Josie allowed Jack and Teddy to stay with her three days. 430

         Judy and Jack married on October 24, 1974 in Miami, Oklahoma. During the first few

years of marriage, "Jack drank a lot and was abusive." 431 Judy left him and moved close to her

sister Ellen in Colorado for a month. Jack stopped drinking, and Judy returned. Jack was "nice"

for about a year but then he started drinking again. 432 Jack beat and cursed Judy and was "so

controlling" he did not allow her to take all the kids on errands for fear she would leave him. 433

         Lisa and her siblings suffered from Judy's maltreatment alongside Jack's. Judy was

especially adept in humiliating her stepchildren and her stepchildren's mother. Judy joined in

Jack's humiliation ofWilladean. Jackie, one of Jack and Willadean's children, was at a bar with

Willadean, and Judy walked up to Willadean and announced, "He's mine" 434 referring to Jack.

One of Judy's stepdaughters, Penny, "learned at a young age, Judy is manipulative. She holds




427
    Attachment 53, Josie Kleiner telephone call summary 5-13-2005.
428 Id.; Gerald Kleiner died in approximately 1994.
429 Id.
430 Id.
431
    Attachment 2, Declaration of Lisa Rickert, incorporating interview of Judy Shaughnessy, 3-14-2005, Attachment
39, Kleiner v Kleiner Legal File.
432 Id.
433 Id.
434
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Becky Perky and Jackie Moffett 7-12-
2005.

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things against you. She takes things from you." 435 Penny was Jack's fourth child and learned to

accept Judy in order to see her father. 436

                                                                                                437
            Judy "instigated situations" that got Patty and Lisa in trouble with Jack.                Judy also set

up Jack's children "for punishment" and "tried to get information from them about their mother,"

Willadean. 438 Judy brought Penny and her younger brother Terry to the store and bet Terry that

he could not steal sunglasses. When Terry shoplifted the sunglasses, Judy told Jack, and Terry

got in trouble. Terry never returned to Judy and Jack's house again. 439 Judy was good at

humiliating her children, too. Although the family always claimed that Lisa and Patty had the

                                                                     440
same father, Judy called Patty "nigger baby to her face."                  She taunted Teddy by calling him

"retarded. " 441

            Jack's employer, who observed him for years at work, described him as a "fruitcake, a

drinker, temperamental, irritable, dumb, little, wiry, not handsome, but very neat and clean ...

Jack talked 100 miles an hour. He was not educated." 442 Jack worked as a counter man for

Salvage Auto for approximately ten years, starting in 1975 or 1976. 443 He answered the phone

and sold car parts, and although his children believed him when he told them he was good at it,

his employer found that Jack "made a lot of mistakes. In fact, it became a joke around the place

that if something went wrong everyone said, 'where's Jack?' 444 His son Teddy sold drugs to




435
      Attachment 2, Declaration of Lisa Rickert incorporating interview with Penny Craig 7-12-2005.
436   ld.
437   Id.
438   Id,
439 Id.
440
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Becky Perky and Jackie Moffett 7-12-
2005.
441 Attachment 57, Declaration of Holly Jackson incorporating interview with Teddy Kleiner 3-12-2006.
442
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Sandy Beard 7-13-2005.
443 Id.; Attachment 2, Declaration of Lisa Rickert incorporating interview with Penny Craig 7-12-2005; Attachment

2, Declaration of Lisa Rickert interview with Becky Perky and Jackie Moffett 7-12-2005.
444
    Attachment 2, Declaration of Lisa Rickert interview with Sandy Beard 7-13-2005.

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Hell's Angels Gang members who told Teddy they knew Jack "because of buying stolen parts

from him." 445

         Jack's severe alcoholism took a toll on his health. He walked "with a weird gate." 446 He

"never looked healthy" when he worked at Salvage Auto. 447 His health deteriorated so badly, his

daughter Penny feared Judy was poisoning him. 448 Jack was "lazy" and "did nothing to help out

            449
at home."         Judy did not hold any jobs for the three years of 1975, 1976, and 1977. 450

                           c. Lisa Was Singled Out for Punishment.

         Lisa and her younger sister Patty were outcasts in the household and were singled out for

harsh and painful treatment. Their older stepsister, Jackie, saw firsthand that Jack and Judy

inflicted senseless punishment on the little girls. When Jackie was 18, unmarried, and had her

baby, Mark, she had to move in with Judy, Jack, Patty, and four year old Lisa on Archer Street in

Tulsa. It turned into "a couple weeks of pure hell," and Jackie moved out. 451 Jack always yelled

at Lisa and Patty. Once at dinner time, Jack got mad at two year old Patty, "lifted her up by her

pig tails" and sent her to her bedroom. 452 Judy "sat and allowed" Jack to abuse Patty, while Lisa

sat at the table shaking. 453 Jackie fled Judy and Jack's home to her sister Becky who gave her

bus money to go home to their mother, Willadean. 454




445 Attachment 54, Ron Ninemire interview with Teddy Kleiner 1-22-2005.
446 Attachment 2, Declaration of Lisa Rickert incorporating interview with Sandy Beard 7-13-2005.
447 Id.
448 Attachment 2, Declaration of Lisa Rickert incorporating interview with Penny Craig 7-12-2005.
449
    Attachment 2, Declaraation of Lisa Rickert interview with Sandy Beard 7-13-2005.
450
    Attachment 32, Judy Shaughnessy, Social Security Administration, Earned Income Statement.
451
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Becky Perky and Jackie Moffett 7-12-
2005.
452 Id.
453 Id.
454 Id.


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                                                                                                                  B-065
         Becky had a similar experience to Jackie's when Becky was 19, pregnant and married to

Rex Perkey. 455 Becky and Rex had no place to live so they moved in with Jack and Judy for

about three weeks in an apartment on Peoria Street in Tulsa. Lisa and Patty slept on cots in a

large walk in closet. Becky adored Lisa and Patty who received no affection from Jack or Judy.

Judy was like a drill sergeant. 456

         In another dinner time assault on Patty, Jack and Judy refused to allow Patty to leave the

table to go to the bathroom. Patty wet herself, and Jack and Judy exploded. They "dragged

Patty to the bathroom, stripped her, "and beat her with a belt." 457 Lisa sat helpless at the table

and cried, 458 "shaking like a leaf."    459
                                               Becky and Jackie were "scared to death of Jack" and knew

they could not intervene to protect the little girls. 460 Becky and Jackie felt guilty that they did

not "do something" about Lisa's situation when she was growing up. They were "deathly afraid"

of their father. 461

         Even after they left Jack and Judy's home, the sisters made occasional attempts at

contacting them, but interaction with Judy was demeaning. Judy was "a liar and also mean." 462

Judy sabotaged whatever relationship Becky and Jackie tried to have with their father. Jack




455 Becky Kleiner married Rex Perky. and they have three children: Stephanie, Brandy and Jed, "all in their 20s" in
2005. Jackie Kleiner married and divorced from Ed Moffett, with whom she had two children, Mark and Eddie
"both in their 20s" in 2005. (Attachment 2, Declaration of Lisa Rickert incorporating interview with Penny Craig 7-
12-2005) Penny Kleiner had three children: Tonesha, (DOB 1982); Janson (DOB 1985); and Tad (DOB 1986).
Jackie Smith is the father of two of Penny's children, but she did not marry him. In October, 1995, Penny married
Rob Craig. Id.
456 Attachment 2, Declaration of Lisa Rickert, incorporating interview of Becky Perky and Jackie Moffett 7-12-

2005.
457 Id.
458 Id.
459 Attachment 2, Declaration of Lisa Rickert, incorporating telephone interview of Becky Perky 5-16-2005.
460 Attachment 2, Declaration of Lisa Rickert, incorporating interview of Becky Perky and Jackie Moffett 7-12-

2005.
461 Id.
462 Id.


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                                                                                                                      B-066
demanded that Becky and Jackie show respect for Judy, which was a tall order. Judy told

"Becky and Jackie that their mother cheated on Jack," but the sisters knew that was not true. 463

         Judy and Jack took one of his daughters, Penny, to bars with them, which is how Penny

met her "abusive boyfriend and father of two of her children. " 464 Penny developed serious

problems and was placed in a group home following a battery incident during which she "beat up

three other girls." 465 Penny became "a drug addict and sniffI ed] paint," ending up for a time in

the Rogers County Jail Psychiatric Unit in Claremont, Oklahoma, on charges related to

possession ofmethamphetamine. 466 Penny was "placed out of the home" for three months, but

did not want to live with Judy and Jack. 467 Becky allowed Penny to live with her but Jack

harassed Becky so much Becky finally had to ask Penny to leave after a couple of months. 468

                          d. Chaos Increased in the Kleiner Household.

         Lisa's home became even more chaotic and unpredictable as Jack's five children from

Willadean came in and out of the household. One of Jack's children with Willadean, 13 year old

Penny, started taking a bus to the Judy-Jack household and stayed for most of each summer

between J.974 and 1978. Judy placed Penny in charge of babysitting while Judy left the home to

work. Social security records, however, report that Judy earned no income in 1975, 1976, and

1977. 469 Penny bathed Lisa and Patty who always had "bad little scabs all over their head[s]." 470

Penny also babysat the neighbor kids to earn a few dollars that she spent on Lisa and Patty for




463 Id.
464 Id.
465 Attachment 2, Declaration of Lisa Rickert, incorporating interview of Penny Craig 7-12-2005.
466
    Attachment 2, Declaration of Lisa Rickert, incorporating interviews of Penny Craig and Becky Perky 7-12-2005
467
    Attachment 2, Declaration of Lisa Rickert, incorporating interview of Penny Craig 7-12-2005.
468 Attachment 2, Declaration of Lisa Rickert, incorporating interviews of Becky Perky and Jackie Moffett 7-12-

2005.
469
    Attachment 32, Judy Shaughnessy, Social Security Administration, Earned Income Statement.
4:o Attachment 2, Declaration of Lisa Rickert, incorporating interview of Penny Craig 7-12-2005.



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clothes or sandals. The family was very poor and Penny felt badly that the little girls did not

"look like the other children at school." 471

         Jack hurt Lisa and her sister Patty. Jack "smacked" Lisa and Patty "all the time." 472 He

slapped them for not making his rum and coke to his liking. Drinking put Jack "in a rage," and

"everyone walked around scared." When Patty sat kicking her legs, Jack tied her feet with a

phone cord. 473 Tension and fear filled the holidays. Christmas created an occasion for the adults

to drink; "then they'd fight." 474

         Judy and Jack added three of their own children -Teddy, Jerri Jo Lee, and Tornmy475 -to

to Judy's two children - Lisa and Patty- and to Jack's five children, increasing the confusion,

chaos, and poverty of Lisa's home life. The impoverished household was "chaotic," with

everyone "arguing all the time." 476 Parental intoxication made a bad situation worse. Jack

"drank every night," as did Judy. 477 Teddy acknowledged years later in a mental health

evaluation that he was abused as a child, physically, verbally, and emotionally. 478

        Judy sent confusing signals to Jack's children by alternately seducing them and punishing

them. Judy made a concerted effort to convince Penny and Terry to live with her and Jack so

that Jack would not have to pay child support to Willadean. She seduced Penny into drinking

games when Penny was only 14 and gave her as many as four or five Tom Collins to drink.

Penny became intoxicated, and Judy "pumped her for information" about Willadean. 479 Judy




411 Id.
"'Attachment 2, Declaration of Lisa Rickert, incorporating interview of Teddy Kleiner 7-28-2005.
4-3 Id.
474 Id.
475
    Attachment 39, Kleiner v. Kleiner Divorce File: Teddy (DOB 6-6-1974); Jerri Jo Lee (DOB 6-26-1975); and
Tommy (DOB 4-6-1978)
476
    Attachment 2, Declaration of Lisa Rickert, incorporating interview of Teddy Kleiner 7-28-2005.
4
  " Id.
478
    Attachment 58, Teddy Kleiner, Kansas DOC, Mental Health Evaluation, 1-21-2004.
479
    Attachment 2, Declaration of Lisa Rickert, incorporating interview of Penny Craig 7-12-2005.

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also tried to "bribe" Penny to come and live with Judy and Jack by promising Penny "her own

room, a phone, and a boyfriend." 480

         Meantime, and in direct opposition to her efforts to win the children over, Judy "was

mean" and "created situations" that got the children in trouble with their father. 481 When Judy

took Permy to bars with her to drink, Permy saw Judy leave the bars with men other than Jack.

Judy and Jack played drinking games with another couple. 482 Judy's constantly shifting loyalties

taught the children to "play games" and to "tum on each other," in their efforts to find safety and

gain her approval, however short lasting her approval might be. 483 Patty learned to "kick[ ed] up

dirt on other family members and use[d] it to win favors with their mother." 484 Patty's brother

gave her the moniker of"undercover monster" in response to Patty's unending effmt to gain

favor with their mother by reporting her siblings' wrongdoings. 485 Patty was not alone in

competing for their mother's affection by speaking poorly of other family members. When a

family member had a problem with another family member, they sought out Judy who "twist[ ed]

the information" with the end result that everyone was "mad" at everyone. 486

         Tommy described his family upbringing as "chaos." 487 His father actively encouraged

disrespect for the conununity and not to respect law enforcement. Jack threw "rocks at the cops"

and "raised him to hate cops." 488 A local preacher built a house near the Kleiner home, surveyed

the land and "turned out they had to take our tree house." 489 Jack "tried to pay" Ronnie, one of




480 Id.
481 Id.
482 Id.
483 Attachment 2, Declaration of Lisa Rickert, incorporating interview of Teddy Kleiner 7-28-2005.

484 Id.
4ss Id.
486 Id.
487 Attachment 2, Declaration of Lisa Rickert, incorporating interview of Tommy Kleiner 3-09-2005.

488 Id.
489
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Teddy Kleiner, 7-28-2005.

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the children's maternal cousins "to beat them up." 490 Jack was also known around town because

he made moonshine. 491

         Judy tried to undermine her stepdaughters' loyalty to their father. She told them that

"Jack beat her on the legs with the heel of his penny loafers," that she broke Jack's finger during

a fight with him, and that Jack "threw her in the trash can." 492 Jack broke Judy's jaw, nose,

knocked her front teeth out, choked her, and tried to poison her. 493 Jack "often got angry" with

Judy. 494 When Judy telephoned Jack at work, Jack became "hyped up and mad." 495 When Jack

beat Judy, Lisa "took all the children to another room." 496

                          e.    Lisa Was Silenced with Duct Tape over her Mouth.

         Jack and Judy did not allow Lisa to make noise or speak. If she spoke when she was not

supposed to speak - and she was never certain when she was allowed to speak - they taped her

mouth with duct tape. Lisa was afraid she would suffocate and die if she cried when her mouth

was duct taped. Lisa was not allowed to make noise, even the sound of a fork tine hitting the

plate during meals. If her fork tine made a noise, she was not allowed to use utensils for six

months. If she made noise washing the dishes or cleaning the house, she was beaten.

         The "silence in the house was deafening," as Lisa and Patty "tried to be quiet all the time.

They were not allowed to play and carry on. They walked on eggshells because they didn't




490 Id.
491
    Attachment 90, Declaration of Rachel Boman Johnson.
492
    Attachment 2, Declaration of Lisa Rickert, incorporating interview of Becky Perky and Jackie Moffett 7-12-
2005.
493 Attachment 2, Declaration of Lisa Rickert, incorporating interview of Judy Shaughnessy 7-27-2005.
494
    Attachment 2, Declaration of Lisa Rickert, incorporating interview of Sandy Beard 7-13-2005.
495 Id.
496 Attachment 2, Declaration of Lisa Rickert, incorporating interview of Teddy Kleiner 7-28-2005.


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know where the next blow was coming from." 497 Lisa was "afraid of her own shadow." 498 Judy

encouraged Jack to "beat the tar" out of Lisa and Patty "for nothing at all." 499

            Others observed the consequences of forced silence, and uniformly described Lisa as a

"scared little girl, timid, and dainty," like "a porcelain doll." 500 She was "afraid to speak up." 501

Lisa "flinched" when she thought she was "going to get hit." 502 She was the "sweetest little

girl." 503 She was "not someone to tell stories or lie. She was a sweet, good child" who was

"quiet" and "slow paced." 504 Lisa "was always polite, neat, clean, (and) pleasant" when Sandy

Beard, Jack's employer, saw Lisa during the decade Jack worked for Sandy. 505 Lisa "lived in a

book" and "as a young child" was smart, but she could not avoid punishment by Jack and

                                                                    507
Judy. 506 Lisa "was in her own little world growing up."                  She "read books all the time. She

was smart and not athletic." 508 Lisa was "very quiet and timid." 509




497
      Attachment 83, Declaration of Jacqueline Moffett
498   Id.
499 Id.
500 Attachment 2, Declaration   of Lisa Rickert incorporating interview with Becky Perky and Jackie Moffett 7-12-
2005.
501 Attachment 2, Declaration   of Lisa Rickert, incorporating interview of Penny Craig 7-12-2005.
so2 Id.
503
    Attachment 2, Declaration   of Lisa Rickert incorporating interview with Becky Perky and Jackie Moffett 7-12-
2005
504 Attachment 2, Declaration   of Lisa Rickert incorporating interview with Penny Craig 7-12-2005
sos Attachment 2, Declaration of Lisa Rickert incorporating interview with Sandy Beard 7-13-2005.
506 Attachment 2, Declaration of Lisa Rickert incorporating interview with Penny Craig 7-12-2005.
507 Attachment 2, Declaration of Lisa Rickert, incorporating interview with Teddy Kleiner 7-28-05
508 Id.
509 Attachment 2, Declaration of Lisa Rickert incorporating interview with Becky Perky and Jackie Moffett 7-12-

2005.

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                                                                                                                    B-071
                            f   Judy Used Stress Positioning and Forced Lisa and Patty to Beat Each
                                Other.

            Not only did Judy silence Lisa with use of duct tape, she also used stress positioning as

punishment. As a small child, Lisa was forced to stand in the comer for hours - often from

breakfast until time for lunch. Lisa was ordered to not move, not even to scratch. She could not

touch the walls or the floor for support. She never knew when her mother was watching to check

to make sure she obeyed; Judy seemed to always be watching or paying the other children to

tattle. Judy seemed omnipotent and omnipresent. Lisa developed hyper-vigilance.

            Judy also made Patty and Lisa fight each other. If the girls dared to disagree with each

other, Judy told them that if they wanted to fight, they should really fight. She took them outside

and handed them sticks or whatever was handy, including on one occasion two by fours, and did

not let them return to the house until they had hit each other hard enough to draw blood.

                            g. Jack's Beatings Were Severe, Relentless, and Sexual.

           Though Judy visited numerous horrors on young Lisa, the real threat was in the long wait

for Jack to come home and carry out Judy's promised reckoning. Jack routinely made the girls

go to the bathroom, pull down their pants, bend over the tub and wait for beatings. Jack used

belts and punched them. 510 Jack "made the girls [Lisa and Patty] line up naked and drop their

clothes before he spanked them. He didn't do that to the boys. That was known in our

family." 511 Even as a small girl, Lisa recognized that Jack's preoccupation with her naked body

was dangerous and a punishment.




510   Attachment JOI, FBI 302 Interview with Patty Baldwin 1-28-2005
511
      Attachment 70, Declaration of Kenneth Alexander 12-9-2012

                                                        71


                                                                                                        B-072
                          h. Lisa Became Compliant and Began a Slow Inevitable Decline.

         Lisa was a compliant child; even Judy agreed that Lisa "was a good little girl." 512 Lisa

attended Sunday school, and learned to read early. Olivet Baptist Church in Tulsa awarded her a

Ce1iificate for Enrolment (sic), Attendance and Cooperation June 18-27, 1973, 513 as a student in

the four and five year olds department.

         Tulsa's large Central Assembly of God Church had an outreach and ministry progran1 to

serve underprivileged and needy children in the area, and Lisa and her sister Patty participated in

the program. The church awarded Lisa a Certificate of Promotion from the Beginner

Department to the Primary Department of the Elementary Bible School September 1, 1974. 514

She faithfully attended the program whenever her parents allowed. She was promoted from the

Primary Department to the Junior Department three years later on August 28, 1977. 515

        Lisa's intelligence and her desire to learn should have made her one of the top students in

each of her grades in elementary, middle, and secondary schools, but turmoil and abuse

sabotaged her academic performance. Her education was disrupted by her stepfather's tyrannical

control of home life, her mother's abuse at the hands of her stepfather, both parents' alcoholism,

humiliation and degradation at the hands of her caretakers, her and her younger sister's Patty's

physical abuse by parents and other caretakers, social ostracism, and repeated sexual abuse.

N eurologic impairments, as seen in standardized and individualized testing, most likely

accounted for a significant disparity between her verbal abilities and her mathematics ability, a

strong indicator of underlying brain damage. 516


512 Attachment 2, Declaration of Lisa Rickert incorporating interview with Judy Shaughnessy 3-14-2005.
513 Attachment 59, Vacation Bible School Certificates, June 18-27, 1973.
514 Attachment 259, Central Assembly of God Church Promotion 9-1-1974
515
    Attachment 260 Central Assembly of God Church Promotion 8-28-1977
516
    Attachment 107, Lisa Montgomery, Cleveland High School Transcript; Attachment 273, neuropsychological
Evaluation of Lisa Montgomery by Robert Fucetola, Ph.D., 7-26,27-2006. ("A discrepancy of this magnitude (29
points) is quite rare and seen in only 1.7% of the normal population with an IQ greater than 120.")

                                                      72


                                                                                                               B-073
            Lisa did her best to overcome adversity and buried herself in reading, ever the quiet and

obedient student, but her grades never matched her superior potential. She attended the first half

of kindergarten at Woodrow Wilson Elementary in Manhattan, Kansas, for such a short period of

time, from August 30, 1973, to December 7, 1973, that she received no grades at all. 517 In

kindergarten, five-year-old Lisa's father was listed as John Hedberg, born in Seattle, Washington,

and her mother was listed as Judy Hedberg, born in Manhattan, Kansas. 518 Only two children were

listed in the home, suggesting that Judy had already placed Lisa's older sister, Diana, up for

adoption but kept Patty, Lisa's younger sister. Judy was "divorced" and not remarried. 519

            Jack Kleiner entered Lisa's life by December 11, I 973, when Lisa transferred from

kindergarten in Manhattan to kindergarten at Pershing Elementary School in Tulsa, Oklahoma,

the first of many school transfers that prevented teachers and school officials from recognizing

the dire conditions in her home. Judy Kleiner is listed as Lisa's mother and a "hswf," and Jack

Kleiner is listed as her stepparent whose business is Square Deal Auto Parts, even though Jack

and Judy did not marry until October 24, 1974. 520 Lisa has one younger sister (Patty) and one

younger brother (Teddy), and the family lived in an impoverished area known for its high crime

rate and white flight to the suburbs and surrounding towns.

            John Francisco drove a bus and served as a bus minister for the Central Assembly of

God's bus ministry that sought out underprivileged children. By the 1970s Lisa's neighborhood

was "rife with crime, prostitution and drugs. Courts ordered forced busing to integrate Tulsa's

public schools .. .It was the Tulsa ghetto." 521 The children that participated in the program were



517
      Attachment 60, Manhattan, KS Unified School District No. #383 Records.
sis Id.
s19 Id.
520
    Attachment 61, Tulsa Public Schools Cumulative Records; Attachment 39, Kleiner v. Kleiner Divorce Transcript.
521
    Attachment 62, Declaration of John Francisco. John Francisco was a pastor in Tulsa's bus program, attended by
Lisa and her sister Patty.

                                                         73


                                                                                                                    B-074
from "rough and poor backgrounds" 522 Years later John still remembered Lisa and Patty riding

his bus. Their neighborhood was a "mix of black and white people. The house where I first

found them was isolated." 523 John felt that was Jack a "hard and harsh man" and "wondered why

he was so hard on his wife and children." 524 Lisa and Patty stood out to John because "there was

                                                                                   525
a darkness in their home" and Jack was "harsh, strict and overbearing."                  Patty and Lisa

seemed "fearful ... They didn't want to do anything wrong or step out of line." 526

         Jack's immediate and negative impact on Lisa may account for the high number of days

she missed in school. Lisa was absent 16 days out of 210 days for the final part of her

kindergarten year. 527 Lisa "must have had an awful life" living under Jack's rule, and at least one

adult Kleiner relative felt "sorry for that little girl." 528

         Six-year-old Lisa transferred from Pershing to Chouteau Elementary School in Tulsa, her

third school in less than two years, to attend first grade in the fall of the 1974-1975 school year.

The family still lived at 507 North Santa Fe in Tulsa's central city slum. Lisa's attendance was

better than in kindergarten, but she was still absent 14 out of 350 days. 529 Lisa received all As in

her subjects in the first grade, 530 an indication of the promise she held had resources, support,

and safety been afforded her. Her teacher, Mrs. Betty Bell Clapp, encouraged her with

Certificates of Merit in Art and Reading. 531




s22  Id.
s23  Id.
s24 Id.
s2s Id.
526 Id.
52': Id.; Attachment 61, see also Tulsa Public Schools Cumulative Records.
528 Attachment 53, Josie Kleiner telephone call summary 5-13-2005.
529 Attachment 61, Lisa Montgomery, Tulsa Public Schools Cumulative Records.
s30 Id.
531
     Attachment 63, Lisa Montgomery, Certificate of Merit in Art May 1975; Attachment 64, Lisa Montgomery,
Certificate of Merit Reading May 1975.

                                                      74


                                                                                                             B-075
         Reward and encouragement at school gave way to cruel punishment and humiliation at

home. Jack was "the main disciplinarian" and "very strict." 532 Jack "screan1ed and yelled" at the

children "a lot." 533 Jack and Judy "hit and spanked" Lisa without provocation. 534 It "didn't take

much" for the children to "get in trouble." 535 Jack's fourth child, Penny, "even spanked" Lisa

and her siblings until Penny "saw how fearful they were." 536 Judy was physically abusive to the

                                                                537
children "when they were young," but not "like Jack."                 Judy never protected Lisa and Patty

from Jack's physical abuse. They were beaten for little or no reason: making his drink wrong or

not eating food on their plate. 538

         Lisa attended two schools in the underserved inner city of Tulsa in the second grade

during the 1975-1976 school year. She began second grade at Chouteau Elementary on

September 2, 1975, and transferred to Jackson Elementary, also in Tulsa, on February 13,

1976. 539 Despite the hectic transfer schedule, Lisa continued to receive good marks of S in all

subjects, but her absenteeism increased to 18 days out of 350. 540

         In the third grade of the 1976-1977 school year at Jackson Elementary in Tulsa, eight-

year-old Lisa performed far below her potential in standardized testing as she attempted to do her

best. Although she received S in all her courses, her performance testing on the SRA

Assessment Survey in September 1976 came in at an alarming 40 th percentile in Language Arts

and a middling 81 st percentile in Reading, far below her expected level. 541 Sub-average scores




532 Attachment 2, Declaration of Lisa R.jckert incorporating interview with Penny Craig 7-12-2005.
533 Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl McClain 7-13-2005.
534 Attachment 2, Declaration of Lisa Rickert incorporating interview with Penny Craig 7-12-2005
s3s Id.
s36 Id.

'" Attachment 54,Ron Ninemire interview with Teddy Kleiner, 1.22.05.
s3s Id.
539 Attachment 61, Lisa Montgomery, Tulsa Public Schools Cumulative Record.

s40 Id.
s41 Id.


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compared to significantly higher scores on subsequent tests suggest an outside force, such as

trauma or unattended to illness, derailed her performance. Lisa regained her academic acuity in

the Spring of 1977 and performed in the 97 th percentile in Language Arts and 97th percentile in

reading. 542 Her Stanine scores 543 also show that her performance in the fall of 1976 was

dramatically affected by some kind of stressor. Her Fall 1976 Stanine score in Language Arts

was 5, which is the mean but Lisa was capable and performed much higher than the mean

previously. Her Stanine score increased to 9 - the very highest score - in the Spring of 1977. 544

One possible cause of her poor performance in the Fall could be the loss of her sole friend "who

died in a fire" in elementary school. 545 Lisa missed only eight out of350 school days, which was

an improvement over the previous year, but she was not able to sustain good school attendance

in the fourth grade. 546

           As a result of a scoliosis screening at Jackson Elementary, nine-year-old Lisa was

referred to Children's Medical Center of Tulsa. On May 25, 1977, Dr. Jerry Sisler determined,

upon physical examination, that Lisa suffered from a slight "rotation deformity of the spine." A

standing X-Ray showed a "13 degree curve" and a more "prominent left rib cage." 547 Dr. Sisler

noted that Lisa was "a relatively small child with wide set eyes. " 548 Her nails were "closely

           549
bitten."         During a follow up examination on November 23, 1977, Dr. Sisler noted the same

"l 3 degree curve" and that the "left shoulder does appear to be slightly higher. Forward bending




s42 Id.
543 Stanine scores are a method of scaling test scores on a nine-point standard scale with a mean five and a standard
deviation of two. The mean lies at the center of the fifth point. Id.
544 Id.
545
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Judy Shaughnessy 03-14-2005.
546 Attachment 61, Lisa Montgomery, Tulsa Public Schools Cumulative Record.

""Attachment 65, Lisa Montgomery, Children's Medical Center Records.
s4s Id.
s49 Id.


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                                                                                                                        B-077
shows some prominence to the left rib cage posteriorly, as before." 550 She was 5 I inches tall and

weighed just 56 pounds. 551 Lisa was scheduled to return for monitoring of her scoliosis on June

2, 1978, November 22, 1978, November 29, 1978, March 25, 1979, March 29, 1979 and

November 25, 1979, but her mother did not take her to the appointments evidenced by "Did Not

Attend" notations in Lisa's file. The Children's Medical Center lost contact with young Lisa. 552

           Lisa's I 977-1978 school year in the fourth grade saw further, although slight, decline in

her grades and standardized testing. Her family moved to 1924 West Archer, still in the

slums. 553 She transferred school for the fifth time and returned to Pershing Elementary School.

Her attendance suffered, and the nine-year-old missed 24 out of 350 school days. 554 She

received A's (Math, Reading, Language, Spelling), B's (Writing. Science), and S's (Art, Music)

in her courses. Lisa's scores on standardized testing showed a great deal of discrepancy in her

verbal and language abilities. She scored in the 98 th percentile in comprehension but only in the

88 th percentile in vocabulary. Her math scores were up from the third grade but significantly

lower than her overall verbal scores. She performed in the 81 st percentile in one portion of her

math and in the 99th percentile in one portion of verbal testing. 555

           Lisa still outperformed most students and brought home a second place certificate for

being a Grade Champion Speller. 556 As always, Lisa was a well-mannered child and her teacher,

Mrs. Mary Sanders, encouraged Lisa by awarding her the Good Citizenship Award, May 12,

I 978. 557



sso Id.
551 Id.
ss2 Id.
553
    Attachment 61, Lisa Montgomery, Tulsa Public Schools Cumulative Records.
ss4 Id.
sss Id.
556
      Attachment 66, Lisa Montgomery, Tulsa Tribune Spelling Award, 2-10-1978.
557
      Attachment 67, Pershing Elementary, Lisa Montgomery Good Citizenship Award.

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                                                                                                        B-078
         Judy continued to neglect her children. Lisa and Patty "did not have basic hygiene" and

Penny "bathed them" and bought Lisa and Patty "clothes and sandals" because she "wanted them

to all be treated the same and look like the other children at school." 558

         Lisa's fifth grade teacher for the 1978-1979 school year, Mrs. Eunice Copeland, reported

that ten-year-old Lisa was "capable of earning higher grades if she would complete more extra

credit assignments." 559 Mrs. Copeland remembered that Lisa had a "sweet countenance about

her." 560 She was "a good student who tried hard." 561 Mrs. Copeland believed that "there must

have been something going on at home that kept her from doing the extra credit." 562 Lisa

received a string of B's (Math, Reading, Language, Spelling, Writing, Social Studies, Science),

S's (Art, Speech), and a lone A in Band. She missed 19 out of 327 school days. She completed

the fifth grade at Pershing. 563 Judy worked and earned almost $5,000 in 1978 and 1979. 564

        Lisa transferred to Stockard Coffee Elementary School in Modesto, California on

October 22, 1979, when her family moved on a whim. Judy worked for a magazine and book

service at the time. Jack and Judy wanted to move to California and agreed to take along Penny

(Jack's fourth daughter from his first marriage) and Penny's boyfriend, Jackie Smith, who was

the father of two of Penny's children. 565 At the last minute Judy and Jack changed their minds

and said that Penny and Jackie Smith could not go along. 566 Lisa attended only one semester of




558 Attachment 2, Declaration of Lisa Rickert incorporating interview with Penny Craig 7-12-2005.
559 Attachment 68, Lisa Montgomery, Report To Parent, Tulsa Public Schools.
560 Attachment 69, Declaration of Eunice Copeland 11-17-2012. Eunice Copeland was Lisa's fifth grade teacher.

'" Id.
s62 Id.
563 Attachment 61, Lisa Montgomery, Tulsa Public Schools Cumulative Records.
564 Attachment 32, Judy Shaughnessy SSA Itemized Statement of Earnings.
565 Attachment 2, Declaration of Lisa Rickert incorporating interview with Penny Craig 7-12-2005.
566 Id., Penny spent the next three years homeless and addicted to inhalants.



                                                       78


                                                                                                                B-079
school at Stockard Coffee Elementary School, before Jack and Judy moved the family to San

Antonio. Judydidnotworkatallin 1980, 1981, 1982, and 1983. 567

            The family was impoverished, could not live independently, and left Modesto, California,

to move in with relatives in San Antonio, Texas. Lisa wore "hand me down clothes."                         568   In San

Antonio, Lisa continued her sixth grade studies at her seventh school, Pease Middle School. She

enrolled at Pease January 7, 1980. 569 The eleven-year-old survived her first reported sexual

assault by a family member in San Antonio when Kenneth Dale Alexander (Kenny), 570 Lisa's

severely mentally ill cousin, sexually assaulted her. Kenny dismissed the assault as "playing

doctor." 571 Kenny and Lisa were in the same 6th grade class and Kenny admits the he "first tried


567   Attachment 32, Judy Shaughnessy, Social Security Administration, Earned Income Statement.
568
      Attachment 2, Declaration of Lisa Rickert incorporating interview with Kenneth Alexander 7-26-2005. Kenneth is
Lisa's maternal cousin.
569 Attachment 261, Pease Middle School Records; Family members report that Lisa also attended Rainbow Hills

School and Adam's Hill in San Antonio.
57
  ° Kenneth Dale Alexander (DOB 10-26-1966). Kenny has a long, chronic history of multiple psychiatric
hospitalizations, treatment with anti-psychotic medications, and substance abuse. He was admitted six times to
Kerrville State Hospital in Texas; the first admission was April 21 -17, 1989. (Attachment 71, Kenneth Alexander,
San Antonio State Hospital 3-25-2008) On 11-9-1994, he was admitted to Florida State Hospital after being found
incompetent to stand trial, was diagnosed with Bipolar Mood Disorder with psychotic features, and hospitalized
until 3-12-1995. He was delusional and insisted he worked in the "Christian Intelligence" community. (Attachment
72, Kenneth Alexander, Florida State Hospital) In 2008, he was admitted to San Antonio State Hospital where he
was treated for one month and diagnosed with schizophrenia, paranoid type. He had delusions that the CIA had
placed implants in his mouth as part ofa Democratic and Republican military experiment. His family reported he
disappeared for days a time, was unable to maintain employment for more than two months, had mood shifts, and
was extremely irritable. (Attachment 71, Kenneth Alexander, San Antonio State Hospital, 2008) A 5-29-2009
evaluation to determine his eligibility for Social Security Disability Insurance (Attachment 73, SSDI Records)
diagnosed him with bipolar disorder, not otherwise specified with psychotic features. He functioned at the
borderline to low average range of intellectual ability. His memory functioning was in the extremely low range in
auditory (1 percentile) and immediate memory (1 percentile). His highest score was in visual working memory at 34
percentile, followed by visual memory at 23 percentile and delayed memory at 12 percentile. He reported
depression, irritability, and mood swings. (Attachment 74, Kenneth Alexander, Snowy Range Consulting, LLC,
Mental Status Exam, 5-29-2009) In 2010, in Wyoming, he was diagnosed with psychosis not otherwise specified
after being arrested and hospitalized for wielding a rifle in a store and claiming he had to protect himself from
people in the CIA who were following him. He announced he was the president's dog and in a relationship with
Jesus Christ. (Attachment 75, Kenneth Alexander, Wyoming Behavioral Institute, 5-13-2010) During his
involuntary hospitalization, he was presc1ibed Trileptal (600 mg) used to treat partial seizures, lithium carbonate
(900 mg), for mood stabilization and Haldol (10 Mg) an antipsychotic drug. (Attachment 75, Kenneth Alexander,
Wyoming State Hospital, Psychotropic Drug History, 6-22-2010) Kenny rep01ted he had been shot in the head in
1994 and "in and out of state hospitals all my life" (Attachment 77, Kenneth Alexander, Wyoming State Hospital,
Psychiatric Admission Note, 7-12-2010)
571
    Attachment 72. Kenneth Dale Alexander Florida State Hospital; Attachment 2, Declaration of Lisa Rickert
incorporating interview with Kenneth Alexander 7-26-2005.

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to penetrate Lisa when we were young."5 72 Kenny was subsequently diagnosed with paranoid

schizophrenia and bipolar mood disorder, and receives SSI due to his disability. 573 Kenny's

father reported that Kenneth's daughter, Ashley, also receives SSI and has recently "been

involuntarily admitted to the Kansas State Mental Hospital." 574

                           i.   Lisa Started Junior High with her Eighth School Transfer.

         No one wanted to "hang out" with Lisa when they were young. 575 Jack brought the

family back to Tulsa, and in the fall of the I 980-1981 school year, Lisa began the seventh grade

at Cleveland Middle School, her eighth school transfer. Her family lived at 1626 Admiral Place.

Teachers noted Lisa was "working below grade level" in English and Math. 576 Mrs. Camille

McKenzie, the former Dean of Students, confirmed that Lisa was tested when she returned from

Modesto, California and San Antonio, Texas to the Tulsa School District to evaluate whether she

had any special needs. Lisa's tests showed that she was below average in both reading and math,

therefore, she was placed in "special needs" classes. 577 Mrs. McKenzie believes Lisa, who had

performed well academically in the past, was placed in special needs classes because she either

had not attended school for a long period of time before return to Tulsa or she was experiencing

severe emotional distress preventing her from concentrating on her work. 578 Lisa received C's

(Math and Physical Education), and A's and B's in her other subjects. It continued to be difficult

for Lisa to attend school as much as she wanted due to lack of support, and she missed many




572    Attachment 70, Declaration of Kenneth Dale Alexander.
s1J    Id.
574
       Attachment 81, Declaration of Marvin Alexander.
575 Attachment 57, Declaration of Holly Jackson incorporating interview with Teddy Kleiner 3~12~2006.
576 Attachment 61, Lisa Montgomery, Tulsa Public Schools Cumulative Records.
5 -: 7 Attachment 57, Declaration of Holly Jackson incorporating interview with Camille McKenzie re: special needs

classes in Tulsa Public Schools 1-25-2006; (Attachment 60, 61, Lisa Montgomery, School Records). Camille
McKenzie is an administrator in Tulsa's Public School System.
578
    Attachment 57, Declaration of Holly Jackson incorporating interview with Camille McKenzie re: special needs
classes in Tulsa Public Schools 1-25-2006.

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                  579
school days.            Her standardized testing documented her decline from performing in the 98 th

percentile in comprehension to the 88 th percentile, and from the 81 st percentile in math to the 79th

percentile. 580 Her Stanine scale of9- the highest possible score- dropped to 7 and 8, a

testament to how hard she struggled to achieve in the face of her unsafe and threatening home

environment. 581

           Lisa began the eighth grade at Sperry High School in the fall of 198 I; it was her ninth but

                                                                                                     582
not final school transfer. She "was smart," but "neither she nor Patty was accepted."                      She kept

her grades of A's (Band, Social Studies, Math, and English) and B's (Home Economics,

Science) 583 despite the nightmare she endured at home as Jack began a relentless assault on

every aspect of 13- year-old Lisa's integrity. He sexually molested her by touching her breasts

and genitalia and then raped, threatened, beat, and controlled her. Lisa "seemed to be afraid of

retribution if she didn't do what Jack asked," according to a fellow who worked with Jack at the

salvage yard. 584 Jack moved the family to an isolated rural area six miles outside of Sperry,

Oklahoma, with a rural box office address of Box 256, where it was much easier to escape

observation or accountability for what went on in his home. Their house was "really run down"

                                                                         585
and out in a barren pasture "like in the middle of the desert."

           Mary Osborn Hodges, one of Lisa's friends in junior and high school, was sexually and

physically abused and she and Lisa found friendship in their shared circumstances. "Lisa and I

felt shame about our lives ... We knew that we had been abused in every way a person can be



579
      Attachment 61, Lisa Montgomery, Tulsa Public Schools Cumulative Records.
sso Id.
ss1 Id.
582 Attachment 91, Declaration of Brenda Cox.
583 Attachment 78, Lisa Montgomery, Sperry Public Schools Transcript.
584
      Attachment 84, Declaration of Jeff Batson.
585
      Attachment 57, Declaration of Holly Jackson incorporating interview with Janet McNickle 1-21-2006. Janet
McNickte and Lisa were classmates.

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abused including emotionally, physically, sexually and verbally. We were told that we were the

cause of whatever the abuse was." 586 Lisa and Mary were both "depressed" and "withdrew." 587

Jack and Judy continued to isolate Lisa and she was "never allowed" to go to Mary's house. 588

Lisa described to a friend years later how Jack came to her room at night, had sex with her and

told her "it was okay." 589 Lisa was not "sure if Patty and Jerri were being abused too." 590 Lisa

tried to tell her mother, but her mother did not listen to the teenager. 591 Sperry Public School

awarded her an "S" (satisfactory) certificate in Home Economics and Social Studies May 10,

1982.592


           Lisa started eighth grade classes late as a transfer student. Her new band teacher

                                                                                                593
introduced her to the class as a violinist and "made her play in front of the class."                 Another

youngster, Carl McClain, who lived not too far from Lisa's trailer saw her for the first time in

band class and was smitten, although at first he thought she was a "snob" because she played the

violin. 594

           Lisa joined Carl McClain and his friends who were "outcasts," after another girl Lori

Kime (Blalock) introduced them. 595 Lisa, Lori, and Carl McClain began a lifelong relationship

and were fast friends. Neither Carl McClain nor Lisa was popular, and they became high school

sweethearts from the eighth grade to the eleventh. 596 Lisa was not allowed to have friends visit




586
      Attachment 88, Declaration of Mary Osborn Hodges 1-30-2013.
5s1 Id.
sss ld.
589
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl McClain 7-13-2005. Carl McClain
and Lisa were classmates and boyfriend/girlfriend in school.
590
      Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery 7-28-2005.
591
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl McClain 7-13-2005.
592 Attachment 78. Lisa Montgomery, Sperry Public Schools "S" (satisfactory) Award.
593 Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl McClain 7-13-2005.
,,, Id.
595 Id.
596 Id.


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her at home, so Carl McClain did not go to her home often. On his few trips to Lisa's home, he

                         597
"had a strict curfew."

                         j.    Jack Repeatedly Raped Lisa in the Special Room.

        Jack began to sexually molest Lisa; he molested her one to two times a week. He

threatened to hurt her if she told anyone. 598 After the pattern of molestation had been

established, Jack moved the family to a trailer in an isolated area near Sperry Oklahoma. To

further isolate Lisa from her sisters and the rest of the family, Jack built a small room onto the

side of the trailer over the water pump. While the construction of this special room ostensibly

acknowledged Lisa's maturation, the room actually provided Jack unimpeded access to Lisa

without the possibility of detection as it was not accessible from the inside of the trailer. In this

room, Jack told Lisa that he was teaching her how to be a good wife. And then he raped and

sodomized her until she bled.

        Lisa had mixed feelings about the room her stepfather built for her. She lived in sickening

anticipation of what happened to her in the room, but the room also had a life sustaining secret.

Lisa's mother stored homemade liquor and wine in the special room, and Lisa drank jar after jar

of the brew that made her disappear into dizzy, indifferent, and numb intoxication when her

stepfather raped her with impunity 599 day after day, week after week, month after month, year

after year. Homemade wine cut the pain and fear of being hit on the head and back with the

broom handle, being choked nearly to death, and being smothered by a pillow over her face as he

violated her.




5
    Id.
    "
598 Attachment 39, Kleiner v, Kleiner Divorce Transcript.
599 Attachment 272, Oklahoma Dept of Human Services report, 11-5-1984 and 8-13-1987.


                                                     83


                                                                                                        B-084
            Wine and moonshine pushed her fear to a distant place at first, but they were not strong

enough to keep her fear at bay. Somewhere in the dark of the special room, as her stepfather

threatened to rape her younger sister if Lisa did not submit to anal rape, Lisa's mind fractured

and retreated to a safer place than the reality of her daily life. Most of the time, her mind stayed

in the safe realm of unreality, an altered consciousness that allowed her to walk, talk and act as if

she were mentally present when she was not. She did not consciously or volitionally decide to go

to the safer place; it happened without her insight, understanding, or knowledge. This loss of

contact with reality made her wonder for the rest of her life what was real and what was not real.

            Jack also exposed Lisa to sexual assault by his friends; Judy did nothing to protect Lisa.

Jack hired JeffBatson 600 "to help with the animals," but Judy believed Jack encouraged Jeff to

have sex with Lisa so that "if Lisa got pregnant Jack could blame it on Jeff." 601 Jeff moved into

the overcrowded house with the family. Teddy suggested everyone who worked with Jack at the

                                               602
salvage yard "was a child molester."                 Jeff Batson molested Teddy and had sex with Lisa. 603

            Lisa continued to do exceptionally well at school against the backdrop of rape, physical

abuse and coercive control at home. "Lisa was helpful as a teen, did her chores and read all the

           604
time."           Judy, certain that no one would contradict her, reported that she and Lisa "had a good

relationship." 605

           Lisa entered the ninth grade in the school year 1982-1983 at Sperry. She struggled with

Algebra and received a C-, an unusually low mark for her, and even received a C in English I.



600
      Jeff Batson was subsequently convicted of child sexual abuse. Attachment 93, State of Texas v. Ji:;ffrey Wayne
Batson, Case No. 0555631D, Criminal District Court, Tarrant County, Texas.
601 Attachment 2, Declaration of Lisa Rickert incorporating interview with Judy Shaughnessy 7-26-2005.
602 Attachment 2, Declaration of Lisa Rickert incorporating interview of Teddy Kleiner, 7-28-05; Attachment 31,
Declaration of Teddy Kleiner 2-15-2013.
603 Id.
604 Attachment 2, Declaration of Lisa Rickert incol]Jorating interview with Judy Shaughnessy 3-14-2005.
6os Id.

                                                            84


                                                                                                                       B-085
 She maintained A's and B's in her other subjects. 606 A fonner classmate described her as "quiet,

 sweet, polite and real soft spoken." 607 On April 11, I 983, her maternal grandfather, Nils Rignell,

 died from lung cancer; Nils had been a fanner all his life. 608

              One of Lisa's classmates, Susan Barrow, lived near Lisa and drove Lisa and Patty to

 school in Sperry "nearly every day for a year" and realized that "Lisa and Patty appeared

 unhappy each day when they had to go home after school." 609 Susan was "never once allowed

 inside [Lisa's home] nor could she spend the night." 610 Lisa "wore old hand-me down clothes

that had holes in them and were too big. She wasn't always clean" and "couldn't always wash

 her clothes. Her hair was long and straight and didn't look clean. It was unruly .... .It was easy

to tell Lisa was poor even in our crowd who were all poor." 6 !1 Although Lisa perfonned above

average in school, her traumatic background interjected itself with episodes that sounded like

dissociation. Susan remembered that the teacher had "to say something to get her attention like,

'Wake up!'" 612 Susan reported that Lisa spaced out at times when they were together.

              Lisa held her own through the first semester of the tenth grade in the 1983-1984 school

year, and received A's with 2 C's. The second semester brought special challenges when her

mother discovered Jack raping 15-year-old Lisa February 24, 1984, and blamed the teenager for

the rape. Nonetheless, Lisa managed to receive two A's (Social Psychology and Biology) and

four B's (Accounting, English II, Geometry, and American History). School staff selected her to




606 Attachment 78, Lisa Montgomery, Sperry Public School Transcript.
60
    Attachment 94, Declaration of Richard Akin 12-14-2012. Richard Akin was a former classmate of Lisa's.
  -:'
608
    Attachment 95, Nils Rignell, Death Certificate.
609
    Attachment 96, Ron Ninemire interview with Susan Barrow-Swartz 1-20-2006.
610 Id.
611
    Attachment 97, Declaration of Susan Barrow-Swartz, 3-1-2013.
612     Id.

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                                                                                                            B-086
participate in a 1984 summer resident program, Project Upward Bound, 613 at Rogers State

College, in Claremore Oklahoma. 614

           Even this certificate bore witness to the control Jack had over her life as it was issued to

"Lisa Kleiner." Nita Milburn Montgomery was the Upward Bound Counselor and even though

she served as the counselor for ten to twelve schools, years later the community of Sperry and

Lisa were still fresh in her memory:

         A disproportionate number of families in Sperry were stressed by physical and
         sexual abuse, domestic violence, blended families with ongoing disputes, untreated
         mental illness, and substance abuse. The community was extremely poor, and Lisa
         Montgomery's family was poorer than most. Most of the students were from the
         rural areas surrounding Sperry, where the mean family income was barely half that
         of the nation. Even in Oklahoma's rural communities, Sperry was especially
         impoverished, and children came to the program with lice and their gear full of
         cockroaches. 615

         Nita suspected that something was wrong in Lisa's home:

         Lisa lived out in the country north of Sperry in an isolated area. I picked her up a
         couple of times and gave her rides to functions. Lisa was shy, passive, not assertive
         at all, tentative and kind .. .! remember suspecting that Lisa might have been abused,
         but I did not have the kind of experience then that I have today. 616

Lisa's friend, Janet McNickle, noticed that Lisa "didn't make eye contact" and "looked down"

even when talking to her friends. 617 Janet believed Lisa was "depressed. She was withdrawn and

sad."618




613 "Project Upward Bound was a federally subsidized program. It was part of the federal government Higher

Education Act that emerged from the federal Economic Opportunity Act of 1964. Upward Bound was funded by a
federal grant that targeted areas that were the most deprived and underprivileged in the country. Sperry, Oklahoma,
was one of those areas. Sperry was a very small, very low-income, community at the base of the hills outside of
Tulsa, Oklahoma." (Attachment 98, Declaration of Nita Milburn Montgomery 3-12-2013.) Nita and Lisa were
classmates.
614 Attachment 99, Lisa Montgomery Certificate of Merit, Project Upward Bound, 7-12-1984.
615 Attachment 98, Declaration of Nita Milburn Montgomery, 3-12-2013.

616 Id.
61
   - Attachment 89, Declaration of Janet McNickle Eastman, 1.25.2013.
618
    1d.

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            The turmoil and threat at home exploded February 24, 1984, when Judy was forced to

 acknowledge that Jack was raping Lisa. Judy reported she walked in on Jack as he raped Lisa,

 and fetched a gun and put it to Jack's head. 619 Lisa's description of that night differs

significantly from Judy's. Judy was overwrought and furious. Judy held the gun to Lisa's head,

interrogated Lisa repeatedly, and demanded to know details of the abuse. The chaos went on all

night; Judy periodically left the room, stormed through the house, and returned to hold a gun to

Lisa's head. It was the most terrifying night of Lisa's life.

            Judy blamed Lisa for her stepfather's repeated rapes of the child. 620 Lewis Priest, Jack's

friend, saw Judy and Jack shortly after Jack's sexual abuse of Lisa was known. Jack and Judy

were trying to find Jack an apartment, and Lewis asked Jack ifhe had sex with his daughter,

Lisa. "Jack did not deny it. Jack said that he had come out of the bathroom and saw her [Lisa]

lying on the covers and had to fool around with her." 621

           A local physician learned firsthand of Lisa's ongoing sexual abuse by her stepfather. The

physician, Dr. William Barnes, remembered Lisa's rape because it "made him mad." 622 Judy

showed up at Dr. Barnes' s office requesting an examination of Lisa "because she had been

sexually abused by her stepfather." 623 Dr. Barnes conducted a gynecological examination of

Lisa, with Judy in the room, and determined that Lisa's "hymen was ruptured." 624 He ordered a

pregnancy test, which required taking blood. The tests were negative, and Dr. Barnes sent the

results to Lisa's mother. According to Dr. Barnes, Lisa "showed little emotion and had a flat



619   Attachment 100, FBI 302 Interview with Judy Shaughnessy 1-11-2005
620   Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery 7-28-2005,
621
      Attachment 92, Ron Ninemire interview with Lewis Priest 1-20-2006, Lewis Priest was a friend of Lisa's
stepfather, Jack Kleiner.
622
      Attachment 2, Declaration of Lisa Rickert incorporating interview with Dr. William Barnes 7-14-2005. Dr.
Barnes examined Lisa after Judy found Jack raping her.
623 Id.
624 Id.


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                                                                               625
affect," observations that are characteristic of traumatized children.               Lisa's mother, Judy,

remembered the episode differently and stated that Lisa "lost it" when Dr. Barnes told her that if

she was pregnant with her stepfather's baby he would perform an abortion. 626 Dr. Barnes never

talked to Lisa alone about what happened to her. Although Dr. Barnes' normal practice was to

call the police when a child was sexually abused, he did not because Judy said she was going to

call the police. 627

         Social services investigated for abuse at the Kleiner house only once, and telephoned

beforehand to announce their upcoming visit. Jack took full advantage of the notice and

threatened to beat Lisa and Patty if they told the truth. 628 Patty had bruise marks around her neck

                            629
from Jack choking her,            but when the caseworker asked about the marks, Patty told her that

the marks were from rope burn. Jack also forced Lisa and Patty to beat each other. He sent them

to the garage to fight and told them not to come back until "one of them had drawn blood." 630

Jack "broke a broom," hitting Lisa with it. 631 Patty once saw Jack on top of Lisa; Lisa was

naked from the waist up and covered with bedding from the waist down. Patty believed that

Lisa's sexual activity in school coincided with Jack's rapes ofher. 632

         Lisa grew "very distant and withdrawn" the summer before the eleventh grade and did

not call or talk to her boyfriend, Carl McClain. She dropped out ofband. 633 Lisa and Carl




62s Id.
626 Attachment 2, Declaration of Lisa Rickert incorporating interview with Judy Shaughnessy 7-26-2005.
627 Attachment 2, Declaration of Lisa Rickert incorporating interview with Dr. William Barnes 7-14-2005.
628 Attachment 101, FBI 302 Interview with Patty Baldwin 1-28-2005.

629 Id.
630 Id.
631 Attachment 102, Lisa Montgomery, 1984 Counseling Records Nancy Walentiny.
632 Attachment 101, FBI 302 Interview with Patty Baldwin 1-28-2005.
633 Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl McClain 7-13-2005; Attachment 89,

Declaration of Janet McNick]e Eastman, 1-25-2013.

                                                       88


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McClain "drifted apart" the summer before the eleventh grade. By the end of the eleventh grade,

Carl McClain wrote Lisa a letter to break up. 634

            Lisa took on "a lot of responsibility" for taking care of Patty, Teddy, Jerri Jo and

Tommy. 635 Her mother thought Lisa was bitter and bottled up her temper. 636 When Lisa was a

teenager, around fifteen or sixteen years old, she became "fearful of taking showers" and was

''dirty."   637


            In the eleventh grade, Lisa's academic struggle collapsed under the weight of her

stepfather's cruelty and her mother's indifference and hostility. The 16-year-old started her

1984-1985 school in Honors classes for Algebra, U.S. Government, Chemistry, and English III,

but it was impossible for her to maintain superior performance. Her grades the first semester

plummeted to a Din English, C's, B's and only one A in World History and continued their

plummet in the second semester. Lisa was suspended from Sperry High School for three days

when "she was caught with a book about incest," according to her mother's report, but school

records do not show the suspension. 638

            In October 1984, Lisa was 16 and met her soon to be stepbrother and husband, 24-year-

old Carl Boman. 639 Carl was 'just out of the service, laid off from work, depressed, and recently

                  °
divorced." 64 Carl visited his father, Richard, who at that time dated Lisa's mother, Judy. Carl

stayed with his father, and Judy and the children lived one block away. Carl took care of Judy's




634   Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl McClain 7-13-2005.
635   Attachment 102, Lisa Montgomery, 1984 Counseling Records Nancy Walentiny
636   Id.
637 Attachment 57, Declaration of Holly Jackson incorporating interview with Judy Shaughnessy 12-12-2005.
638 Attachment 103, Ron Ninemire interview with Judy Shaughnessy 6-9-2006.
639 Attachment 104, Carl Boman, DOB 8-31-1961; Boman v. Boman Divorce File, 1993.
640 Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl Boman 4-14-2005.



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children occasionally and saw Lisa. 641 Carl also drove Lisa to her therapy sessions, and she

confided in him that Jack had forced himself on her.

          According to Carl, Jack "threatened to have sex with Lisa's younger sister Patty if she

didn't continue to have sex with him." 642 Carl knew that Judy "blamed Lisa" for the sexual abuse

and thought Lisa "encouraged Jack to have sex with her." 643 Jack's sexual abuse of Lisa "went

on for three years." 644 Lisa was a "withdrawn young girl," and she "read a lot." 645 Carl "knew

that something was wrong" and that "Lisa had a lot of problems . . . Lisa was not emotionally

present. She was in her own world and distant from everything . . . Lisa went somewhere else

mentally. She just wasn't present." 646

          Lisa's first cousin, Kenneth Alexander, admitted to having sexual intercourse with Lisa in

the early to mid '80's when he was visiting; she may have been as "young as thirteen." 647 Lisa

could not escape the repeated sexual assaults by members of her own family.

          Lisa found a sliver of hope in the sununer of her tenth grade year. School staff selected

her to participate in a summer program for promising students at a nearby college. Lisa attended

the summer program, did well in it, and for the first time saw a way out of the life for which Judy

and her stepfather had groomed her. She returned to the program the summer of her eleventh

grade and did well in the program again, cementing in Lisa the notion that she could possibly

have a future beyond Sperry. A recruiting officer came to Lisa's high school her senior year, and

Lisa quickly realized that she could join the U.S. Air Force and escape Judy. She signed up and

received a date for active enrollment.


641 Id.
642 Id.
643 Id.
644 Id.

"' Id.
646 Attachment 105, Declaration of Carl Boman, 2-13-2013

64" Attachment 70, Declaration of Kenneth Alexander, 12-9-2012.


                                                      90

                                                                                                      B-091
                    5. On-Set of Mental Illness

                            a. Judy Derailed Lisa's Plan to Escape.

            Judy brought her new boyfriend's son into the house and encouraged a sexual

relationship between the son and Lisa. Richard's son, Carl Boman, was 22 years old; Lisa was

only 16. Judy spent most of her time at Richard's home and required Lisa to stay home to care

for Patty, Tommy, Teddy, and Jerri Jo, plus another of Richard's sons, Michael. Judy

encouraged 16 year old Lisa and 22 year old Carl to "play house" and take over responsibilities

for the day to day care of the household while Judy and Richard enjoyed their new romance.

            Lisa's plans for an independent life were contrary to Judy's plans, and Judy knew how to

erase contrary plans. Lisa "felt powerless because she felt controlled by her mother." 648 Judy's

wrath was frightening around this period. She asked Richard, her new boyfriend and soon to be

forth husband, ifhe "would shoot Jack Kleiner from up on the butte." 649

           Lisa buckled under the day to day chores of rearing five children, cleaning, cooking,

laundering, attending to children's needs, and getting children to and from school and

simultaneously trying to maintain her grades; she lost her dream of joining the air force. Carl

began a sexual relationship with Lisa, proposed marriage, and Lisa agreed in her senior year.

For a brief period, Lisa regained some strength and ended the engagement, and Carl moved out.

Lisa still served as a slave to Judy, cleaning, laundering, and tending to Judy's children without

benefit. She reached her limit and begged Carl, who had his own apartment, to allow her to

move in with him - as a friend, not as a future wife. He agreed, but the relationship again

became sexual, and Lisa became pregnant.




648   Attachment 19, Declaration of Wendy Treibs, 2-23-2013.
649
      Attachment 106, Declaration of Richard Boman, 1-8-2013.

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                                                                                                       B-092
         Lisa transferred from Sperry High School to Cleveland High School in Tulsa, her tenth

school transfer, and began her senior year on August 26, 1985. She received good grades,

achieving A's and B's in all subjects. She took the ACT exam on December 5, 1985 and

performed poorly. Her scores were: English 23 (84th percentile); Mathematics 14 (39th

percentile); Social Studies 24 (79th percentile); Natural Science 29 (88 th percentile) with a

composite score of23 (76 th percentile). She took the ACT exan1 again on January 28, 1986. Her

scores were: English 24 (89 th percentile); Mathematics 22 (69th percentile); Social Studies 29

(94 th percentile); Natural Science 32 (97 th percentile) with a composite score of27 (92 nd

percentile). Both tests show significant disparity between her language and mathematics ability,

which may indicate brain danrnge. 650

         She graduated high school with a GPS of3.24, pregnant, and ineligible for her career in

the air force. Judy won the contest and the prize of a grandchild that sealed the relationship with

her husband, Richard, and kept Lisa under Judy's sphere of control. Her first day of duty was

scheduled for August, but she was pregnant with her first child and separated from the Air Force

effective her first day of duty. 651

         Judy married Richard Boman September 21, 1985, in Vera, Oklahoma, and in less than

two months "Richard filed for divorce" in Pahuska, Oklahoma. 652 They officially divorced in

November 1989. 653

         Richard, according to his son and Lisa's husband "was blinded by love and didn't see

how mean Judy was. He was infatuated with Judy and seemed blind to the way she treated"


650    Attachment 107, Lisa Montgomery, Cleveland High School Transcript.
651    Attachment 108, Lisa Montgomery, Enlistment records, IA 73.
65 :,. Attachment 2, Declaration of Lisa Rickert, incorporating interview with Judy Shaughnessy, 7-26-2005. Judy

reported she and Richard "got back together" within the time frame to have the divorce nullified, and she falsely
reported they divorced in 1989 and remarried in 1990. She has also reported they officially divorced in 1996 in
Deming, New Mexico.
653
       Attachment 2, Declaration of Lisa Rickert, incorporating interview with family members 3-10-2005.

                                                         92


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Richard's son, Michael. Judy created an atmosphere that allowed siblings to bully and taunt the

10 year old Michael Boman. 654 Michael was in the sixth grade in Cleveland Public Schools, and

performed as a B-C student in the 1985-1986 school year. After moving in with Judy, his grades

dropped in the 1986-1987 school year to all C's with one D. 655 Michael documented his years of

abuse and maltreatment at Judy's hands in his book, "The Only Way to Live." 656 Judy

"humiliated him any chance she got, especially ifit involved food ... Judy made fun of him for

being overweight and called him hurtful names." 657

           Michael figured out that Judy was "totally two faced" and "a user" who had him

"cleaning the house" while his dad worked. Children in the home argued and fought with each

other, and Michael was no exception. 658 Michael lived with Judy and his dad until October 1,

1991, when he fled the home for safety at a friend's home that took him in and provided him a

surrogate, loving family. 659

           At one point, Judy raised Patty, Teddy, Tommy, Jerri Jo, and Michael Boman, Richard's

child from another maniage. Becky and Jackie, 660 two of Jack's children from his marriage to

Willadean, saw firsthand that Teddy, Tommy, and Jerri Jo "picked on" Michael, without any

worry that Richard would protect Michael.          661
                                                         Judy was "very mean" to Michael 662 and




654
    Michael Boman was born to Richard Boman and one of his ex-wives, Yoko. Michael's birthday is 12-5-1974.
(Attachment 109, Michael Boman Valhalla High School).
655 Attachment 110, Michael Boman Cleveland Public Schools.
656 Michael Boman, The Only Way to Live. My Life and Coping with ALS. ISBN: 978-1-300-01132-3, June 2012.
657
      Attachment 105, Declaration of Carl James Boman, 2-13-2013.
658 Michael Boman, The Only Way to Live. My Life and Coping with ALS. ISBN 978-1-300-01132-3, lune 2012.
659
    Attachment 113, Michael Boman Mar Vista High School.
660 After Jack and Judy divorced, Jack returned to Willadean. Jack's children continued to see Judy's children when

they visited Jack. Willadean loved Judy's children, and they loved her. (Attachment 2, Declaration of Lisa Rickert
incorporating interview with Becky Perky and Jackie Moffett, 7-12-2005). Lisa loved Wi!ladean and once made her
a potholder in second grade. Lisa "saw how nice their mother was and Judy was always so strict." (Attachment 2,
Declaration of Lisa Rickert, incorporating interview of Penny Craig 7-12-2005.)
661
    Attachment 2, Declaration of Lisa Rickert, incorporating interview of Becky Perky and Jackie Moffett, 7-12-
2005.
662 Id.


                                                         93


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"terrorized him." 663 Judy was adept at being "conniving and manipulative," so much so that

Michael "didn't know if what she said was true or not. Judy's dishonesty confused Michael." 664

Michael's friend offered an example of the lengths to which Judy went to destroy anything that

Michael valued:

           Michael told me a story about his pet goat he had when they lived on a farm outside
           of Vera, OK. Michael loved his goat, and it became a real pet, a pleasant escape
           from his angry stepmom. Michael knew that his family had planned to move and
           had been getting rid of other animals. However, he wasn't prepared for what he
           heard when he got off the school bus one day. He heard cries of agony and pain
           from his pet goat as it was beaten to death . . . A few nights later, Judy served
           Michael's goat for dinner and called it mystery meat. 665

                            b. Marriage to Carl Boman: Back to. Where She Started.

           Lisa abandoned all hope for a future. She had no strength or will to resist Judy, Carl, and

Richard, all of whom wanted her to mairy Carl. 18 year old Lisa and 25 year old Carl married

August 15, 1986, in Cleveland, Oklahoma, at the First United Methodist Church with the

Reverend Orva G. Compton officiating. 666 She was forlorn, frail, and childlike in her wedding

picture. She had one child after another, never recovering physically or mentally from

pregnancy, birth, and demands of newborns before becoming pregnant with the next child. By

the time of her fourth and final child's birth, Lisa was in the throes of major mental illness and so

out of touch with reality that she did not know if she had, in reality, given birth to her fourth

child, or if it was a dream.

           Marriage to Carl catapulted Lisa back to the days of violent sexual assault by Jack when

she was powerless to protect herself. Carl's pre-marital behavior towards Lisa could have warned

a nonnally functioning person to beware, but Lisa had no ability to recognize what was her due,


663   Attachment 114, Declaration of David J. Stadler, 1-28-2013.
664   Id.
665   Id.
666   Attachment 115, Lisa Hedberg and Carl Boman, Marriage Certificate, 8-15-1986.

                                                        94

                                                                                                         B-095
what to expect, or what to prohibit based on her maltreatment as a child. In one notable incident

before marriage, Carl shoved Lisa, who was naked getting out of a shower, against a wall heater

that burned her flesh while he had sexual intercourse with her.

         His behavior became more aggressive and more violent during their maniage. He beat

her, tied her in stress positions, poured hot wax on her, forcibly inserted glass bottles in her anus

and vagina, held a knife to her throat, and sexually assaulted her. He bruised and hurt her. He

recorded her screams and pleas for help on his video camera. Lisa, ashamed, humiliated, and

fearful, told her mother about it. Judy went to Carl and told him Lisa confided in her. Lisa did

not seek help again. She grew to expect the violence and lived in sickening anticipation of its

reoccun-ence.

                          c. Four Babies in Four Years

        Lisa and Carl rushed from having one child to the next, without being aware or

considering the impact of so many childbirths in such a short time frame on Lisa's fragile mind.

Her first baby, Desiree Nicole, was born January 11, 1987, followed 18 months later by Chelsea

Lynn on July 9, 1988. 667 Even less time for recovery and stability passed before the third child

was born 15 months after the second; Carl James II (C.J.) was born October 20, I 989. 668 Lisa's

fourth and final baby, Kayla Deanne, came a mere IO months after the third baby. 669

        Lisa was 'just a teenager and did not know how to mother," but Carl "never doubted that

she loved the children." 670 Lisa's first baby, Desiree (Desi) was a low birth weight baby,

weighing only 4 pounds 8 ounces when she was born at Hominy City Hospital, Oklahoma.


667
    Attachment 116, Desiree Nichole Boman, Birth Certificate; Attachment 152, Boman v. Boman, Sixth Judicial
Dist. Ct., Luna, NM, No. DM 0098-000-102.
668 Attachment 118, C.J. Boman, Deming School Records; Attachment 119, C.J. Boman, Jane Phillips Memorial

Medical Center Birth Certificate; Attachment 152, Boman v. Boman, Sixth Judicial Dist. Ct. Luna, NM, No. DM-
0098-000-102.
669 Attachment 152, Boman v. Boman, Sixth Judicial Dist. Ct., Luna, NM, No. DM-0098-000-102.
670 Attachment 105, Declaration of Carl James Boman, 2-13-2013.


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Eighteen year old Lisa and twenty five year old Carl lived at 703 South Wood in Hominy,

Oklahoma. Lisa worked for Oklahoma Nursing Homes, Ltd, earning $1360.11, and took care of

her newborn. 671 She had to stop work when she was pregnant with her second baby but really

missed it. 672 In 1988, she earned only around $1,000 from Oklahoma Nursing, Ltd.

         Lisa had another significant head injury in a car accident January 26, 1988, when she hit

another vehicle from the rear and sustained a concussion. She was pregnant with Chelsea, her

second child, and went to Hominy Hospital for headaches. 673

         Meantime, Lisa's beloved cousin, Wendy Treibs, Aunt Darlene's daughter, was

psychiatrically hospitalized for the sixth time February 2, I 988. Wendy was diagnosed with

major depressive disorder with mood congruent psychotic features and had a host of associated

conditions including a delusional depressive disorder oflife threatening proportions. She had

atypical anorexia and a history of childhood sexual trauma, and had been brutalized by her

brother. 674 She had been treated unsuccessfully with electroconvulsive therapy and anti-

depressants, and when those failed to work, was treated with lithium, a mood stabilizer

commonly prescribed for bipolar patients. She also had a past history of Chvostek's sign, a

twitch of facial muscles following gentle tapping over the facial nerve in front of the ear that

indicates hyper irritability of the facial nerve.

         Lisa's feeling of safety and security for her new family evaporated in the heat of her

mental illness. She soon looked kind of"slobby" dressed in clothes that looked old. 675 Lisa's




671
    Attachment 120, Lisa Montgomery, Social Security Itemized Statement of Earnings.
672
    Attachment 121, Lisa Montgomery, 1988 Datebook.
673
    Attachment 121, Lisa Montgomery, 1988 Datebook.
674
    Attachment 262, Santa Rosa Hospital Records; Wendy's brother is Kenneth Dale Alexander, the same person
who sexually assaulted Lisa.
675
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Becky Perky and Jackie Moffett, 7-12-
2005.

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houses "were always roach-infested," and she "was a messy housekeeper." 676 They were

poor. 677 Lisa was unhappy with her marriage to Carl Boman. In 1988, pregnant with Chelsea

and with toddler Desiree in tow, she sought out Carl McClain, her high school sweetheart, who

had separated from his wife and lived at home with his parents. 678 Carl McClain told Lisa "he

still cared about her." 679 Carl McClain and Lisa caught up with other's lives, and Carl McClain

learned that Judy married Richard Boman and that Lisa married Richard's son Carl Boman. Carl

McClain learned from Lisa that Judy had threatened to take Lisa's children from her. Despite

their attraction to each other, they both decided to work on their marriages and did not see each

other, a promise that lasted again until 200 l. 680

         Lisa gave birth to Chelsea Lynne, who weighed five pounds and was her second child

July 9, 1988. The family moved to Hominy, Oklahoma in the fall of 1988. Lisa and Carl moved

from one place to the next and in short order lived in an apartment on Wood Street, a house on

Wood Street, and a house at 323 West 6th Street. 681 Carl worked at the prison and put in a "lot of

overtime," and Lisa worked briefly at a nursing home. 682 Lisa "talked a lot," mostly about their

children. 683 Lisa was young and liked being a mother but her mood fluctuated from day to day.

She was "sometimes happy" with Carl and "sometimes not." 684

         Lisa had headaches and was depressed. She and Carl argued, and she asked herself,

"Why can't I do anything like I should." 685 She wished she had a job and recognized that she


676
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Tommy Kleiner, 3-9-(2005].
677
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Desiree Boman, 3-9-2005.
'" Id.
679 Id.
680 Id.
681
    Attachment 122, C.J. Boman, Birth Records; Attachment 118, C.J. Boman, School Records Deming, NM;
Attachment 119, C.J. Boman, Birth Certificate; Attachment 2. Declaration of Lisa Rickert incorporating interview with
Roberta and James Upshaw, 7-13-2005.
682 Attachment 2, Declaration of Lisa Rickert incorporating interview with Roberta and James Upshaw, 7-13-2005.
,,, Id.
684 Id.
685 Attachment 121, Lisa Montgomery, 1988 Datebook.


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was "not cut out to be a housewife." 686 Judy reported Lisa for neglecting Desiree, and a case

worker for the Child Welfare Department of Pawnee County visited Lisa on March 25, 1988. 687

Lisa's father in law noticed that Lisa "seemed to be in a world of her own .... She just stared off

and wasn't engaged with the conversation." 688 Judy continued to run "rough shod over Lisa,"

and "always screamed" at her. 689

         Lisa's poor judgment and hyper-sexuality brought trouble to her door, and she had an

affair with someone her husband worked with. 690 She asked her neighbors, the Upshaws, if she

could stay with them "because Carl was upset." 691 Sometime between April and September

1989, Lisa lived with the Upshaws about one month. James Upshaw's brother, Gerald Upshaw,

43, also lived in the home and had a brief sexual relationship with Lisa when she was pregnant

with C.J. 692 C.J. was born October 20, 1989. 693

         Lisa was "often tired" and "sort of depressed." 694 Her children "were not always clean,

sometimes they had no shoes, sometimes no pants and they ran around in their diapers." 695 The

children "weren't always clean or properly dressed." Lisa moved back with Carl after a month

or so and Gerald left the area. 696

         Mental illness continued to create crises in Lisa's extended family. Kenny Alexander,

Wendy Treibs' brother and Lisa's maternal cousin, was evaluated to determine if he was




686 Id.
687 The next day, March 26, Lisa's sister Patty married Michael Harness, but Lisa did not b1ing Desiree Boman to
the wedding because of the child welfare referral the day before. (Attachment 121. 1988 Datebook).
688
    Attachment 106, Declaration of Richard Boman, 1-18-2013.
689 Id.
690 Declaration of Lisa Rickert incorporating interview of Roberta and James Upshaw, 7-13-2005.
691 Id.
692 Id.
693 Attachment 122, C.J. Boman, Jane Phillips Memorial Medical Center Birth Records.
694
    Attachment 2, Declaration of Lisa Rickert incorporating interview of Roberta and James Upshaw, 7-13-2005.
695 Id.
696 Id.


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                                                                                                                   B-099
competent to stand trial for burglary. His social work history noted he had prior suicide

attempts. His testing scores indicated he had "decompensating obsessive-compulsive with

schizoid personality features." 697

         Lisa turned 21 years old February 27, 1989, and her depression hit her with full force.

She "quit working, totally exhausted" the end of April. 698 She was pregnant with her third child,

due to be born September 5, 1989. Lisa went into labor early August 22, 1989, went to the

hospital, and staff administered tributaline sulfate to stop labor. Gestation was at 38 weeks. She

returned home. 699 Almost two months later, October 20, 1989, Lisa gave birth to Carl J. Boman

(C.J.), in Bartlesville, Oklahoma. C.J. was Lisa's third baby and weighed five pounds. 700 Lisa

did not work at the time she had the baby, but she earned approximately $1700 in 1989 from a

local family. 701 Carl worked at Conner Correctional Center for five years and "quit due to

stress." 702

         Lisa moved from one place to the next precipitously, without notice or much of a plan,

acting in response to the combination of mood swings, trauma, and possible brain damage. In

November, 1989, with month old C.J., Chelsea, and Desiree, Lisa moved to Ponca City and

stayed in an older man named Lonnie's trailer. She "just left without a word or a goodbye" to

her neighbors in Bartlesville. 703 She received WIC 704 assistance. She worked at a gas station



697
     Attachment 123, Kenneth Dale Alexander, TX Dept. of Mental Health and Mental Retardation, Competency
Exam, 1-13-1989.
698
     Attachment 125, Lisa Montgomery, 1989 Datebook.
699 Attachment 124, Lisa Montgomery, Jane Phillips Memorial Medical Center, 8-22-1989; Attachment 125, 1989

Datebook.
700
     Attachment 119, C.J. Boman, Birth Certificate; Attachment 126, Scripps Memorial Hospital; Attachment 124,
Jane Phillips Memorial Medical Center.
701
     Attachment 120, Lisa Montgomery, Social Security Itemized Statement of Earnings.
702
     Attachment 127, Carl Boman, OK Worker's Compensation Records; Attachment 128, C.B. Pettigrew, D.O., J-
25-2005.
' 03 Attachment 2, Declaration of Lisa Rickert incorporating interview of Roberta and James Upshaw, 7-13-2005.
704 WIC provides federal grants to states for supplemental foods, health care referrals, and nutrition education for

low-income pregnant women and infants.

                                                          99


                                                                                                                       B-100
(Hammer-Williams Co.) in Ponca City and earned $1309 in 1990. 705 Carl moved to Ponca City

because the older man Lonnie died, and Carl and Lisa reunited briefly. A friend saw Lisa after

she moved back from Ponca City and remembered "how bad she looked and how terrible she

smelled ... The smell was very offensive, to the point you couldn't stand to be next to her. Her

hair was greasy and her clothes were dirty, but she didn't seem to notice." 706

            Judy colluded with Carl who learned too late that "Judy knew how to manipulate people

to get her way." 707 Judy convinced Carl "to let her take the kids for the summer," but intended

all along to "try to keep the children." 708 In January 1990, Carl and Judy took Desiree and

Chelsea to California. Lisa drove to California to get her children, stopping at Aunt Darlene's

along the way. When she an-ived in California, she had no money and no job. She had no

choice but to stay in California in a trailer with Carl, the children, and Carl's sister, Eithol

Boman. Carl worked for Pepsi and as a security guard. Lisa was pregnant with her fourth child,

and her family was uncertain who the father was. As her pregnancy began to be visible, Carl and

his sister grew angry with Lisa. Lisa had to move in with Judy and Richard. She received public

assistance. Judy's house was chaotic. Patty left one of her children with Judy and Lisa. Teddy

Kleiner and Michael Boman lived in the house.

           Lisa's fourth pregnancy and labor were complicated. The pregnancy was confirmed with

a sonogram that showed a viable fetus July 20, 1990, at a medical clinic in Chula Vista,

California. 709 On August 13, 1990, Lisa was admitted to the hospital with preterrn labor at 29

weeks gestation and given medication to slow rapid contractions and was transferred to UCSD



705
      Attachment 120, Lisa Montgomery, Social Security Itemized Statement of Earnings.
706
      Attachment 129, Declaration of Gerald Upshaw, 1-28-2013.
°' Attachment 105, Declaration of Carl James Boman, 2-13-2013.
7

cos Id.
709
    Attachment 126, Lisa Montgomery, Scripps Memorial Hospital, Chula Vista, CA, Fetal Age Sonogram, 8-13-
1990.

                                                        100


                                                                                                             B-101
for assistance. She was anemic, uncertain of the date of conception, was RH negative, was

treated for Chlamydia, and smoked a pack of cigarettes a day. She also had tocolipis (colitis). 710

Lisa had several problems on transfer: she could not date her pregnancy because she "had no

periods since her last delivery IO months ago." The fetus had intermittent arrythmyia. 711

        On August 18, 1990, Lisa's fourth and final child, Kayla Deanne, was born prematurely,

very compromised and in jeopardy. She had "a weak cry," Kayla weighed only 3 pounds 2

ounces and had to remain in the hospital seven weeks. 712 The infant was positive for Chlamydia,

had brain bleeds (intraventricular hemorrhage, subependymal hemorrhage left greater than on the

right) within the first few days, hyperbillirubin, apnea and bradycardia, hyper-magnesium,

hyper-calcemia, and hyper-phosphatemia. Lisa's mother, Judy, was also in San Diego, but a

medical note reported Judy might "not be able to help." 713

        Medical records noted that Kayla's parents were married, involved and interested, but do

note that Carl was not the biological father. 714 Records also show that at one point after giving

birth to Kayla, Lisa was non-responsive, lethargic, very slow, drowsy, and did not follow

commands. Her hand grip was weak. Her symptoms appeared to be magnesium medication

related, and they discontinued magnesium as the "most likely cause for alteration in

consciousness," but noted a differential diagnosis "would include pituitary apoplexy, venous

thrombosis, meningitis; CNS bleed." 715 Her condition was monitored closely, and her mental

status returned to baseline. 716 After Kayla was born, Lisa "want[ed] to visit baby" and "want[ed]



710
     Attachment 130, Kayla Boman, University of CA San Diego, Birth Records; Attachment 126, Lisa Montgomery,
Scripps Memorial Hospital.
711
     Attachment 130, Kayla Boman, University of CA, San Diego, Birth Records.
712
     Id.; Attachment 131, Kayla Boman, University of CA, San Diego, Post-Birth Records.
713
     Attachment 130, Kayla Boman, University of CA, San Diego, Birth Records.
714 Attachment 131, Kayla Boman, University of CA, San Diego, Post-Birth Records.
  15
'    Attachment 130, Kayla Boman, University of CA, San Diego, Birth Records.
'16 Jd.


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                                                                                                            B-102
to breast feed." 717 The physician discussed "contraception" with Lisa and instructed her to

follow up with her primary medical doctor at Scripps. 718 Medical notes called for "f/up with

PMD@ Scripps," but Lisa didn't follow up. Lisa wanted to go home, and was discharged from

the hospital and moved back in with Carl in a trailer on Judy and Richard's property. 719 A nurse

noted that Lisa had "good support" from her husband and family, but another entry questioned if

Lisa's mother, Judy, who was also in San Diego, might "not be able to help."

            Kayla remained hospitalized six weeks for further evaluation and treatment. On

September 7, 1990, she was evaluated to rule out Williams Syndrome. Her weight was in the

third percentile for age, and her bead circumference was less than the third percentile for age.

Kayla was somewhat hypotonic. The cranium showed "very significant sagittal and lambdoidal

suture overriding." 720 The physicians concluded Kayla did not appear to have Williams

syndrome, but pointed out it was a difficult diagnosis to make and that further evaluation was

necessary with growth. 721 With Kayla hospitalized, Lisa's depression worsened and her

psychotic symptoms bloomed. She was unable to tell if Kayla had really been born and if Kayla

was really in the hospital. She simply did not know what was real and what was not real.

            Despite her depression and disconnect from reality, Lisa tried her best to provide the care

her children needed. Two month old Kayla returned to the hospital for a pulmonary follow up

treatment on October 15, l 990, and medical reports described Lisa's marital status as separated.

Kayla was doing well on formula and was alert and active, but she was diagnosed with apnea.

Kayla had a pediatric endocrine evaluation on October 17, 1990, which attempted to establish the




717   Attachment 130, Kayla Boman, University of Ca., San Diego, Birth Records.
118   Id.
"' Id.
720 Attachment 131, Kayla Boman, University of CA, San Diego, Post-Birth Records.

721   Id.

                                                        102


                                                                                                      B-103
cause of her hyper-calcemia. During the course of the hyper-calcemia evaluation, staff

determined;

        . . . that Kayla's mother had two serum calciums of 6.6 and 6.1 during the
        pregnancy. This is complicated by the fact that she was receiving magnesium and
        magnesium levels were elevated at 5.9 and 7.0. Neither did she have evidence of
        hyperphosphatemia, suggesting that the mother was hypoparathyroid. 722

Kayla's physician requested a calcium and phosphorus read on Lisa to help determine if Kayla's

transient hyperparathyroidism was secondary to maternal hypocalcemia. The physician noted

that Lisa was "quite hyper retlexic" and had a positive Chvostek" and diagnosed Lisa with

possible hypoparathyroidism. 723 Physicians noted that Kayla's parents were "pleasant and

involved and concemed." 724 Lisa's address was 1674 Palm Avenue, #76, in San Diego, the same

address as Judy's. 725

        On December 29, 1990, C.J. went to the hospital with a fever and coughing. He had been

sick intermittently since before Thanksgiving, often with a drippy nose and cough. The 11 th

month old looks "miserable and somewhat, but not toxic" and "dirty and grimy." 726 The

physician instructed Lisa to keep shoes and socks on him and to "see to it" that C.J. gets his

medicine. 727

                         d. Sterilization

        Inconsistent naiTatives sun-ound the decision for Lisa to be ste1ilized after Kayla's birth.

Lisa continued to function encumbered by a loss of contact with reality. From day to day she




122  Id.
723  Id.
724 Id.
725 Attachment 132, Kayla Boman, Children's Hospital, San Diego, 10-15-1 990; Attachment 11 3, Michael Boman,

Mar Vista School Records.
726 Attachment 133, C.J. Boman, Scripps Memorial Hospital, Admitting Physical Examination, 12-29-1990.
; 21 Id.


                                                     103


                                                                                                                B-104
was unsure what was real and what was not. Judy's presence and constant pressure complicated

Lisa's ability to make choices as Judy had always dictated what was true for Lisa.

         Medical records show that she was admitted to Scripps Mercy Hospital in San Diego

October 22, 1990, and that she "desire[d] permanent sterilization." 728 Whether Lisa's

participation in the counseling and authorization for the procedure was knowing is debatable:

Kayla was known to not be Carl ' s child,729 Carl and Judy explained to Lisa that sterilization was

the least she could do as Carl was agreeing to raise Kayla as his own child. Whether such threat

was real or only in Lisa's mind, Lisa felt that if she did not have the procedure, Carl and Judy

would force her to give Kayla up for adoption.

        Surgeons perfo1med a bilateral tubal fulguration on Lisa. At the time of the surgery Lisa

was unemployed and on Medi-Cal. Her treating physician counseled her that the sterilization

was irreversible. Lisa' s family history was notable for congenital deformities, including an aunt

with a missing hand and a niece or nephew with a missing ear. According to Carl, Lisa " really

wanted [the procedure] ," and told Carl the doctor had "advised her not to have more children." 730

Although Carl described it as a " mutual decision," Lisa was tormented by the surgery and told

others that she was coerced into it by threats that Judy would take her children away if she did

not have the surgery.




728 Attachment 126, Lisa Montgomery, Scripps Memorial Hospital, Operative Report, 10-23-1 990.
729 Attachment 131 , Kayla Boman, University of CA, San Diego, Post-Birth Records.
730 Attachment 2, Declaration of Lisa Rickert incorporating interview of Carl Boman, 4-14-2005.


                                                      104


                                                                                                   B-105
         6. Betrayed by Her Own Mind, Lisa Loses Her Grasp of Reality.

                            a. Descent into Mental Illness (199 I)

        By 1991 , Lisa was unable to focus, pay attention, and attend to her four small children.

Her symptoms of her mood disorder were more pronounced and deepened by re-experiencing the

sexual trauma of her youth at now Carl ' s hands. Carl described the change in her behavior:

        Lisa was unpredictable. She went from not talking to talking non-stop even to
        strangers.... [S]he even approached people she did not know and started talking to
        them. It was a total change. She didn 't notice if you talked to her or asked her any
        questions. Once she started talking, she kept talking. She was sad or unhappy for
        days at a time and then she suddenly had a plan or an idea and nothing could stop
        her. 731

        Desiree required medical care for dehydration secondary to herpes (herpetic

gingivostomatitis) and was hospitalized two days May 7 - May 9. 732 On January 1, 1991, C.J.

was taken to Children's Hospital in San Diego for ingesting trisodium phosphate left on a

bathroom counter by a friend who was repairing the bathroom. He was treated and released. A

nursing note warned that the parents had "a knowledge deficit" about home safety and accident

prevention. Lisa reported that C.J. had pneumonia that required hospitalization in Oklahoma a

year earlier. 733 CJ. was examined at Children's Hospital in San Diego for bowlegs (bilateral

tibial torsion) April 25, l 991, and the orthopedist recommended follow up in six months, but

records do not show any follow up. 734




; 3iAttachment   105, Declaration of Carl James Boman.
732 Attachment   134, Desiree Boman, Children's Hospital and Health Center, San Diego, H&P Exam, 5-12-1991.
733
    Attachment   135, C.J. Boman, Children's Hospital, San Diego, 1-25-1991.
734 Attachment   136 , C.J. Boman, Children's Hospital, San Diego, 4-25-1991.

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         On February 27, 1991, Lisa took Kayla to the clinic at UCSD for ongoing neuro-

developmental follow up. Kayla failed a BAERs 735 test administered earlier in the month. Lisa

was found to have positive Chvostek reflexes (facial twitch upon tapping), which was also found

in her cousin Wendy, and "very brisk deep tendon retlexes." 736 A public health nurse saw the

family on a regular basis. An entry titled Psychosocial summarizes the flux in Lisa's life:

         This is a single mother with four children ages 4 years, 2 years 1 year, and Kayla
         who is 6 months old. Originally she had moved here from Oklahoma after father
         had taken the two older children. The father of three older children is not the father
         of Kayla. Mother plans to take her four children and move back to Oklahoma no
         later than June of 1991. 737

Kayla was six months old but tested at 18 weeks adjusted age on the Gessell Developmental

Test. During the evaluation, the "behavioral parental interaction was appropriate." 738

         On May 1, 1991, Lisa brought two year old Chelsea to the hospital for having increasing

sores (herpes) in her mouth for two days in increasing severity. Chelsea was well developed and

well-nourished with a history of taking Alupent for occasional wheezes. She also had a fever

and otitis media, was treated with lidocaine and antibiotics, and discharged home. Chelsea "was

in the process of moving." She lived with her mother at 1752 Harbison Canyon Road in El

Cajon, California; her mom was unemployed and received Medi-Cal insurance for her

children. 739

         Desiree "wandered onto a ball field ," was hit in the face with a softball, and sustained a

mild concussion with brief loss of consciousness and bruising on May 12, 199 I. Desiree's lips

were cracked and swollen from her herpetic stomatitis a few days earlier. She was admitted to



735
     Brainstem auditory evoked response (BAER) is a test to measure the brain wave activity that occurs in response
to clicks or certain tones.
736
     Attachment 131, Kayla Boman, University of CA, San Diego, Post-Birth Records.
131 Id.
738 Id.
- 39 Attachment 137, Chelsea Boman, Scripps Memorial Hospital, Chula Vista, 5- 1- 1991.


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special care of the trauma service. Desiree's social history noted that she slept with Lisa or on the

couch at home, and her usual play activity was coloring books. 740

         Lisa was not able to meet the everyday challenges of parenting, and her children's

medical crises overwhelmed her. Four year old Desiree was an unrestrained passenger in a car

accident July 24, 1991 , when the car fell down an embankment. She was hospitalized until July

27, 1991, with serious injuries. She sustained a fracture of her mandible that required wiring, a

concussion, a closed fracture of the distal end of the radius, and open wounds to her face, knee,

leg, and ankle that required stitches. She broke her right arm and jaw and sustained a

concussion. Lisa attended to Desiree in the hospital, was at her bedside, and read Desiree a book

as Desiree sat in Lisa' s arms. Carl also visited Desiree. Lisa told hospital staff that Desiree

would be " moving to Oklahoma in two weeks." so physicians ordered follow up to be obtained

in Oklahoma for her fractured mandible and fractured right wrist. 741

        Lisa had a sexual relationship with another man, and Carl was "very hurt."742 Carl and

Lisa moved back to Oklahoma and lived on Cass Street in Bartlesville. Carl worked at Wells

Fargo and then the Refinery. Lisa contacted her fo1mer neighbors, the Upshaws, in 1991 or 1992

and invited the Upshaws to visit them in Bartlesville. The Upshaws visited Lisa and her family

twice, both times to find Lisa in odd circumstances. On one visit, Lisa and Carl lived in a house

with "a bunch of people," including three or four guys. 743

        On the Upshaw' s second visit, Lisa and Carl lived in a two-story home that was

"filthy." 744 Desiree and Chelsea instructed the Upshaws not to go in the "trash room." 745 The



740
    Attachment 138, Desiree Boman, Children' s Hospital, San Diego, 5-12-1991.
741 Attachment 139, Desiree Boman, Children 's Hospital and Health Center, Discharge Summary, 7-27-1991.
742 Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl Boman, 4-14-2005.
743
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Roberta and James Upshaw, 7-13-2005.
744 Id.
745 Id.


                                                      107


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door to the "trash room" was opened, with "trash piled almost to the ceiling." 746 The Upshaws

concluded that Lisa "was lazy and didn' t clean at all." 747 Carl saw it differently. "Caring for

four kids was hard on Lisa. She had no freedom." 748 Lisa tried to work, but only made about

$1300 working at an ice cream store and at the Bartlesville Nursing Home. 749 Carl admitted a

decade later that he "should have been more aware of her needs." 750

         On September 4, 1991, Lisa took Desiree to the Green Country Clinic for follow up. Lisa

and Desiree lived at 141 North Cass in Bartlesville, and Lisa worked at Braum's.751 Chelsea

suffered a severe asthmatic attack and required an inhaler and a trip to the ER August 29,

1991. 752 Lisa's health deteriorated at the end of 1991 and early 1992. She was treated in the ER

November 24, 1991, after a nursing home resident twisted Lisa' s arm. A week later on

December I, 1991 , Lisa went back to the ER with lumbar pain and was diagnosed with mild

levorotosclerosis (scoliosis). On January 31 , 1992, Lisa had a pelvic sonogram which showed

tiny follicular cysts. 753

         Lisa' s mood swings and behavior were unpredictable, and she moved from one crisis to

the next. Ultimately her marriage shattered under the pressure created by Carl's violent sexual

behavior toward her and her multiple impairments. In June 1992, Lisa "just moved out." 754 She

had a two month affair with "Mike." 755 She moved into a little efficiency apartment, and her

brother Teddy, who was 16 years old, moved in and helped her for three months. He also helped




746  Id.
141  Id.
• 4s Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl Boman, 4-14-2005.
  49
• Attachment 120, Lisa Montgomery, Social Security Itemized Statement of Earnings.
750 Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl Boman, 4-1 4-2005.
75 1 Attachment 140, Desiree Boman, Jane Phillips Memorial Medical Center, 9-4-1991.
752 Attachment 141 Chelsea Boman, Jane Phillips Memorial Medical Center, 8-29-1991 .
753 Attachment 142, Lisa Montgomery, Jane Phillips Memorial Medical Center, 1-31-1992.
754
     Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl Boman, 4-14-2005.
155 Id.


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Carl, who had the kids. 756 Carl took Chelsea to the ER July 25, 1992, for difficulty breathing due

to her asthma after playing in the grass with her brother. Carl gave his address as 1568 SE

Colorado, did not list Lisa as a contact or as the mother, and listed a friend as the contact. 757

Carl moved into a big house on South Creek and Lisa moved back in August 1992. Desiree was

the only child old enough for school, and her attendance in kindergarten for the 1992-1993

school year, was abysmal. Desiree was absent 43 days and present 132 days at school. She was a

"quiet" child. 758

        Lisa and Carl planned for Carl to work overtime for 18 months to allow them to make

double payments on their home. The plan collapsed under the weight of Lisa' s inability to

functi on. Lisa "got so wired up" she left Carl, "sometimes with the kids and sometimes without

the kids" and "stayed gone a month, two months, or even four months one time, but then she

came home to me." 759 She, like many people with bipolar mood disorder, spent money intended

for double payment on the mortgage on frivolous items that were not necessities. 760 The house

"was a mess." 761 Desiree missed 43 days of school during the 92-93 school year, partly due to

being run over by a truck she was trying to get something out of. Lisa did not witness the

accident and was not sure what happened. Desiree had tire burns on the side and abrasions on

her right hip.762 C.J. was diagnosed with asthma following a bout oflethargy, coughing, and

vomiting. Lisa took him to the ER after a particularly bad bout of coughing October 8, 1992,

and had to return the next day for a breathing treatment. 763


756  Id.
757  Attachment 143, Chelsea Boman, Jane P hillips Memorial Medical Center, 7-25-1992.
758 Attachment 144, Desiree Boman, Deming Public School Records.
759 Attachment I 05, Declaration of Carl James Boman, 2- 13-2013.
760 Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl Boman, 4-14-2005.
76 1 Id.
762 Attachment 145, Desiree Boman, Jane Phillips Memorial Medical Center, 12-26-1992; Attachment 144, Deming

Public School Records.
763 Attachment I 46, C.J. Boman, Jane Phillips Memorial Medical Center, l 0-9- 1992 and 10-8-1 992.


                                                    109


                                                                                                           B-110
           Carl was confused by Lisa's reaction to him when he confronted her about her affairs,

    changing opinions, erratic behavior, and instability. His description of her reactions to him

    when he was angry and "furious" are characteristic for survivors of extreme trauma. 764 Carl

    reported that Lisa " lacked emotion" and "ignored him . . . She rarely cried." 765

                          b. Dramatic Deterioration (199 3)

           By 1993, Lisa was unable to attend to basic activities of daily living. Others could not

tolerate her "terrible personal hygiene" and commented "that she hadn' t bathed in a long

time." 766 Her arms were " brown with caked in dirt, her hair stringy and greasy." 767 She could

    not attend to her or the children' s hygiene, find and maintain safe housing, prepare and serve

    adequate meals, dress and monitor her children, or plan for immediate needs. She left Carl with

no place to go and no plan for housing for her and the children.

           Neighbors contacted Oklahoma's Department of Human Services (DHS) and reported the

                                                                    768
conditions under which Lisa, Carl, and the children lived.                One neighbor said that "children

were running around naked in front yard. Mother is drunk ... The house is filthy. Children

                                         769
come to him to get food and baths."            The neighbor reported that Lisa "offered children" to him

                                                              770
and wished "her husband would take them and leave."                 He also believed that Lisa had backed

over Desiree in the driveway, that CJ drank "plumbing stuff," and Kayla "ate a bottle of

aspirin." 771 DHS conducted an investigation, interviewed Lisa, Carl, and two of the children,

their neighbors, school personnel, and Carl's mother. DHS determined that the children were


    64
'   Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl Boman, 4-14-2005.
76s Id.
766 Attachment 147, Declaration ofEithol Marie Boman Towery.

767Id.
768 Attachment 148, Lisa Montgomery. Order Authorizing Disclosure of Records Under Protective order, Case No.

JMl 2013 3.
769 Id.
no Id.
111 Id.



                                                      110


                                                                                                                B-111
being neglected and needed DHS intervention. The investigation covered two locations, 426

Creek and 101 Kaw, in May and June, 1993. The description of the state of affairs for Lisa and

the children reveal that Lisa's functioning was severely impaired.

          Lisa "appeared tired" during her interview with DHS staff. 772 She was not employed.

The first house at 427 Creek had dog feces on the floor along with cereal. Desi answered the

social worker's questions and told her the house was "always dirty." 773 Desi 's shoes were too

tight and "left marks on her feet." The kitchen was "a mess," and there were "roaches in her

house." The family could not wash clothes because the washing machine was broken. Lisa was

"sick." Desi reported that Lisa was "going out and drinking bad stuff." Desi also described

Lisa's loss of control when " her mother hits her head on the wall." Carl was defensive and tried

to explain away problems as being due to the stresses of Lisa's kidney infections, his father' s

recent heart attack, and his working 16 hours a day. Two year old Kayla "appeared dirty as if

she had not had a bath recently. Her hair appeared uncombed." 774

          Two weeks later, on June 8, 1993, the social worker found Lisa and the children at an

abandoned house on Kaw and warned Lisa that Lisa had to find other housing or the worker

would consult with the District Attorney's office " in regards to the children's well being." 775

Lisa explained that she had separated from Carl and taken the children with her. The abandoned

house had no running water or plumbing. The house "was found unsafe due to loose wires

hanging from the ceiling, floor missing in the kitchen, tools, including a power drill on the floor,

and no water in the home." 776 The neighbor also reported that he had observed two of the




772
    Id.
- 73Id.
7741d.
-1s Id.
:16 Id.


                                                 111


                                                                                                       B-112
children being sexually inappropriate with each other. It appeared that Desiree's teeth were sti ll

wired from the broken jaw she sustained in the car accident in San Diego. 777

         Lisa did not know or understand why she could not keep up with daily responsibilities,

but she knew she was failing miserably. She explained years later, that she simply could not

figure out how to do the things mothers routinely are expected to do. Lisa could not sort and

arrange clothes to dress the children, figure out a plan for dressing them in the morning, plan

their meals, shop for groceries necessary for meals, and prepare meals. These simple but time

consuming tasks of mothering ove1whelmed and confused her. She began each day by drinking

whiskey and continued all day long. She did not recognize how layers of brain impai1ment,

trauma, and mental illness interacted to prevent her from being the mother she wanted to be.

         In one of her manic mood swings, Lisa met and quickly became infatuated with Brett

Owens, a regular customer at the store where she worked; Lisa moved away from Carl. In 1993,

Brett, like Lisa, was "unhappy" in his relationship with his wife. 778 Lisa and Brett started out

"chatting about surface things." 779 Lisa was "sometimes moody and depressed," but she was

also "smart, nice, nai:ve, and could be easily taken advantage of." 780 Brett "cared about Lisa,"

who caJled him her "White Knight." 781

         Carl "worked all the time" and "didn't have a lot to do with [Lisa] or the children." 782

Lisa saw Carl as not being "a good or active father," who cheated on her and was emotionally

abusive. 783 Brett helped Lisa fix her car when needed, and they sta1ted seeing each other on a




n 1d.
778
    Attachment 2, Declaration of Lisa Rickert Incorporati ng Telephone interview with Brett Owens, 6-17-2005.
-19 Id.
180 Id.
181 Id.
152 Id.
783 Attachment 2, Declaration of Lisa Ri ckert incorporating interview with Carl McClain, 7-13-2005.


                                                       112


                                                                                                                B-113
more intimate level. 784 Brett was involved with Lisa when she, the children, and Carl were in a

major car accident when "they hit a cow." 785 Lisa sustained a concussion and had to wear a

neck brace. Her headaches from the previous automobile accident worsened. 786

         Soon after the 1993 accident, Lisa and her children moved in with Brett. Carl "was very

upset" about Lisa and Brett being together. 787 Carl moved all of Lisa's belongings to storage and

left her with nothing. Lisa was "extremely passive" and "couldn 't hurt a fly," even when it came

to disciplining her children. 788 Brett was surprised to see that Lisa did nothing when C.J., who

was four at the time, "plugged the toilet with toilet paper," and Lisa did not discipline him. 789 On

April 22, 1993, Lisa took 32 month old Kayla to the ER after Kayla took about 21 80 mg generic

Tylenol. Kayla's acetaminophen level was 4.2. The medical chatt reads in part: "Older Sib

apparently opened bottle for pt. Violent." 790 Kayla was treated with Ipecac and charcoal and

released to her mother.791 Lisa's address was listed as 427 South Creek, Bartlesville. 792

                             c. Carl Divorced Lisa

         Carl filed for divorce from Lisa in Washington County, Oklahoma, on June 22, 1993 . In

August the four children were awarded to Lisa temporarily, and in September joint custody was

agreed to. The grounds for the divorce were mutual incompatibility. 793




784  Attachment   2, Declaration of Lisa Rickert Incorporating Telephone interview with Brett Owens, 6-17-2005.
18s  Id.
786 Attachment    150, Lisa Montgomery statement to Dr. Brian Shane, 5-9-1995.
787 Attachment    2, Declaration of Lisa Rickert incorporating Telephone interview with Brett Owens, 6-17-2005.
188 Id.
789 Id.
790 Attachment    151, Kayla Boman, Jane Phill ips Memorial Medical Center, 4-23-1993.
: 91 Id.
192 Id.
793 Attachment    104, Attachment Boman v. Boman, Disrict District Court for Washington Co., Oklahoma, No. JFD-
93-267.

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                                                                                                                  B-114
                          d. Judy Kidnapped Lisa 's Children the First Time.

         Custody battles figured prominently in Lisa' s family life and often served as the

centerpiece around which other family disputes swirled. 794 After the divorce, Lisa started living

with Brett, and Carl took the children on some weekends. During one of Carl 's weekends with

the children, Carl "took off with the children to Califomia." 795 Judy conspired with Carl and,

without Lisa's permission or knowledge, planned to keep Lisa's children in Califomia. 796 By

this point, Carl "was full of anger" and "afraid of losing the kids." 797

         Lisa and Brett drove to Imperial Beach, California, to find the children and return them to

their home, but were unsuccessful and returned to Oklahoma. Back in Oklahoma, Lisa went to

the ER with right-sided facial and neck pain, and had an MRI of her brain and brain stern. The

results were normal for her spine and "without significant abnormality" for her brain. 798 Lisa

filed for emergency order for custody and was awarded temporary custody of the four children

on August 24, 1993, pending the divorce. 799 It was clear that Judy had no intention of returning

the children; she had already emolled Desiree in the first grade at Bayside School in Imperial

Beach and received her immunization for OPV/IPV at the Imperial Beach Clinic. 800




794 Lisa's extended family also battled over custody of children. In 1990, Lisa's aunt Darlene Alexander brought a
child custody suit in San Antonio over her granddaughter, Ashley R. Alexander (DOB 2-9-1986), born to her son
Kenny Alexander and his wife, Kimberly Alexander. Darlene wanted custody of the four year old after Kenny and
Kimberly divorced. (Attachment 153, In the Matter of the Marriage of Kenneth D. Alexander and Kimberly A.
Alexander, Bandera County, Texas, 216th Judicial District, Case No. 4767-89, Decree of Divorce, 6-7-1990.)
795
    Attachment 2, Declaration of Lisa Rickert, incorporating telephone interview with Brett Owens, 6- 17-2005.
796 Attachment 2, Declaration of Lisa Rickert incorporating interview with Tommy Kleiner, 3-9-(2005].
797
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl Boman, 4-14-2005.
798 Attachment 154, Lisa Montgomery, Jane Phillips Memorial Medical Center, Radiology Report, 7-15-1993.
799 Attachment 2, Declaration of Lisa Rickert incorporating telephone interview with Brett Owens, 6-17-2005;

Attachment 104, Boman v. Boman, District Court for Washington Co., Oklahoma, No. JFD-93-267.
800
    Attachment 144, Desiree Boman, Deming School Records, 1-11-1987; Attachment 155, Bayside School Records,
8-12-1993.

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         Judy listed herself as Desiree's guardian and her address as 627 13 th Street, apartment 25,

San Diego. 801 Judy had a full house and listed a total of six children living in her home:

Tommy, Patty, and Lisa' s four children. 802

         Lisa and Brett returned to California to get the children. When Lisa and Brett arrived in

California, Tommy 'jumped on Lisa." 803 They found the children with Judy and her then

husband Richard Boman in a church surrounded by church members who helped Lisa's family

flee out the back door. 804 Judy "took off' with Lisa's children to Judy' s sister's Darlene in San

Antonio, Texas. 805 Lisa cried and shouted, "those are my kids," but to no avail. 806 Judy took

Lisa's children to Texas, and Lisa returned to Oklahoma. 807 Lisa and Carl's divorce was

finalized September 29, 1993, with joint custody granted to Lisa and Carl. Carl was ordered to

pay child support. 808

         Lisa went to the ER with a headache, nausea, and dizziness, and reported she had the

headache since her automobile accident in June, 1993. Lisa had been taking Pamelor

(noritriptyline) for depression but had stopped.

         Lisa enrolled in Tulsa Community College and took one class, Introduction to Sociology,

and received a B. She was a nursing applicant. 809 Desiree attended first grade in Dewey public

school from November 29, 1993, until February 7, 1994. 8 10 Lisa earned $1 ,000 from self-

employment 811



801  Attachment 155, Desiree Boman, Bayside School Records, 8-12-1993.
802  Id.
803
     Attachment 2, D eclaration of Lisa Rickert incorporating interview with Tommy Kleiner, 3-9-[2005].
804
     Attachment 2, Declaration of Lisa Rickert incorporating telephone interview with Brett Owens, 6-17-2005.
805 Attachment 2, Declaration of Lisa Rickert incorporating interview with Tommy Kleiner 3-9-[2005].
806 Attachment 2, Declaration of Lisa Rickert incorporating telephone intervi ew with Brett Owens, 6-17-2005.
807
    Attachment 2, Declaration of L isa Rickert incorporating interview with Tommy Kleiner, 3-9-[2005].
808
     Attachment I 04, Boman v. Boman, District Court for Washington Co., Oklahoma, N o. JFD-93-267.
809
     Attachment 156, L isa Montgomery, Tulsa Community College, Fall, 1993.
810
     Attachment 157, Desiree Boman, Dewey Public School Records.
8 11
     Attachment 120, Lisa Montgomery, Social Security Item ized Statement of Earnings.

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            Brett "planned on marrying" Lisa, but in December 1993, Lisa, in another precipitous

action, took the children and went back to Carl. 812 Lisa explained to Brett she was afraid she

would lose custody of her children unless she returned to Carl because her family was going to

testify against her. Brett was very hurt when she left him, and he never saw Lisa after December

1993. 813 She returned to Carl. 814

            Lisa's return to Carl must be seen against a backdrop of his and Judy's continuing threat

to remove Lisa's children from her custody. Lisa, damaged and disabled as she was, believed

she would lose any court battle for custody. Carl agreed to let her return to him, and one implied

condition was that she accept his increased violence against her. With no options, Lisa returned

to increased violence during sexual assaults by Carl. Increased violence was ameliorated at first

by the new life they found in Arkansas.

                             e. Arkansas and the First False Pregnancy (1994)

            Carl and Lisa tried to move away from family and neighbors who knew their

sho1tcomings. They moved to Springdale, Arkansas, in February, 1994. 815 They lived at 815

Mill Street in Springdale. 8 16 Missionaries from the Church of Latter Day Saints called upon the

family at their home and invited them to attend church services. Lisa and Carl accepted, and for

several months Lisa enjoyed a respite. She had community support, and Carl was less violent.

            Desiree, back from California and Judy, enrolled in public schools in Springdale for the

first grade starting February 23, 1994, and ending June 6, 1994. She received all S's for grades

except in Spelling where she received an N. She was present for 60 out of 65 days. She




8 12
     Attachment 2, Declaration of Lisa Rickert incorporating telephone interview with Brett Owens, 6-17-2005.
8 13 Id.
8 14 Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl Boman, 4-14-2005.

s1s 1d.
816
       Attachment 158, Chelsea Boman, Springdale Public School Records.

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                                                                                                                B-117
participated in a tutorial reading program from April 7, 1994, to May 27, 1994. 817 Chelsea

attended the second semester of kindergarten in Springfield and performed on grade level in all

her subjects, but she performed below her age level on the Peabody Picture Vocabulary Test.

Chelsea was five years and five months old but perf01med at the age equivalency level of a four

year and one month old child, over a year behind. Desiree and Chelsea were identified as eligible

migrant students 818 under Public Law 100-297. 819

         Carl and Lisa remarried in a ceremony by a Bishop in the LDS Church June 11, 1994, in

Bentonville, Benton County, Arkansas. 820 Lisa told people she was pregnant with twins, but

"never told Carl." 821 Sometimes she told neighbors the babies were Carl's and sometimes she

told them they were Brett's.822 Lisa "ignored" Carl when he confronted her, and they argued. 823

Judy and Richard moved a few hours away, and Judy came to Arkansas for a surprise visit, saw

the crib, and confronted Lisa, and Lisa explained that she miscarried. 824 When Judy continued to

demand more answers, Lisa seemed to ignore her. 825 Lisa was out of touch with reality. Lisa and

Carl's life was disrupted by Judy, by the false pregnancy, and by Lisa' s inability to keep up with

parenting demands.




817 Attachment 159, Desiree Boman, Springdale Public School Records.
818 Attachment 158, Chelsea Boman, Springdale Public School Records; Attachment 159, Desiree Boman,
Springdale Public School Records.
819 Public Law I 00-297 Migrant/Chapter I allowed local school boards to identify the especial educational needs of
migratory children in the district with sufficient specificity to maintain or enhance educational performances
including supporting service which may be necessary to enable eligible children to participate effectively in
instructional services.
820 Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl Boman, 4-14-2005; Attachment J 52,
Boman v. Boman, Sixth Judicial Dist. Court, Co. of Luna, NM, No. DM-OO98-OOO-1O2; Marriage License, Benton
County, Arkansas, 6-10-1 994.
821 Attachment 2, Declaration of Lisa Ricke11 incorporating interview with Carl Boman, 4-14-2005.
822 Id; see also, Attachment 160, FBI 302 Interview with Carl Boman, 1-24-2005.
823 Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl Boman, 4-14-2005.
824
    Id.; Attachment 2, Declaration of Lisa Rickert incorporating interview with Judy Shaughnessy, 3-14-2005.
825 Attachment 2, Declaration of Lisa Rickert incorporating interview with Judy Shaughnessy, 3-14-2005.

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         In August, 1994, Carl returned to Bartlesville, Oklahoma, first, and was soon followed by

Lisa and the chi ldren. The whole group lived with Carl's mother Lucy Bayle for the next year.

Lisa worked part time as a caregiver for a homebound woman, Tawny McLeod, who shot herself

in the head but lived. 826 Lisa visited with Jan, Tawny' s husband, and he became aware that Lisa

was "a young woman who was trapped in a marriage with four children and who needed

opportunities to get away." 827 Living with her in-laws afforded her "very little privacy." 828

         It seemed to Jan McLeod that Lisa's in-laws "didn't like Lisa very much," blamed Lisa

for the couple's problems, and encouraged Carl to leave Lisa. 829 Jan learned from Carl that both

Carl and Lisa had sexual relationships with other people. 830 When Jan knew Carl, Carl did not

"work a lot. 831

         Tawny noted that "Lisa talked on the phone" a lot while sitting with Tawny, "tended to

control the conversations," and talked about herself and her problems. 832 She was "warm,

outgoing, and friendly." Jan liked Lisa but recognized that "some of the things Li sa liked to do or

wanted to do seemed like an escape." 833 Lisa' s plans were not realistic. Lisa liked music

although she didn' t play an instrument. Jan liked the way Lisa spoke her mind. Ninety percent of

the time she talked about her children and spoke of them in a positive way. The children always

appeared well dressed and well groomed. 834

        In the summer of 1994, Lisa, Carl and all the kids "came driving up" to the Upshaws,

who had not heard from the Bomans since 1991 or 1992, in a Melody Ice Cream tmck for a


826 Attachment 2, Declaration of Lisa Ri ckert incorporating interview with Jan McLeod, 7-5-2005.
827 Id.
828 Id.
829 Id.
830 Id.
831 Id.
832 Id.
833 Id.
834 Id.


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"fairly brief visit." 835 Lisa and Carl discussed their plans to move to New Mexico. Carl also

asked James Upshaw if "Gerald Upshaw could be C.J.'s father," and James told him, ''No." 836

Despite her tumultuous life, the Upshaws saw Lisa as "a kind, generous person. She took people

in the community to the store if they needed a ride. She took care of Lonnie, the older man in

Ponca City." 837

         In the 1994-1995 school year, Desiree attended second grade at Jane Phillips School in

Bartlesville, Oklahoma. Desi ree told teachers she had "trouble reading - but was very willing"

to learn, and she improved significantly during the school year. 838 A September 8, 1994 IRI 839

summary of her reading ability rated her reading fluency as slow and in the low range. Phonics

were "not making sense" to her. 840 On the same test, administered eight months later, Desiree

read in the high range and "enjoy[ed] reading." 841 In March, 1995, she took the Iowa Tests of

Basic Skills and scored in the average range in vocabulary (46), listening ( 45) and math concepts

(66) and in the high range in math problems (81 ), social studies (71 ), and sources of information

(92). Desiree received all S' s in her subjects except for an S- in reading.

         In March, 1995, Chelsea was in the first grade at Jane Phillips School in Bartlesville,

Oklahoma, where she took the Iowa Tests of Basic Skills. She received low percentile rankings

in language advanced skills (14%) and math advanced skills (5%). She perceived an average

percentile ranking in reading advanced skills (44%). 842




835  Attachment 2, Declaration of Lisa Rickert incorporating interview with Roberta and James Upshaw, 7- 13-2005.
836  Id.
s.11 Id.
838 Attachment 253, Desiree Boman, Jane Phillips School Records, second grade.
839 The Informal Reading Inventory (IRI) is an individually administered survey designed to help teachers determine

a student's reading instructional needs.
840 Attachment 253, Desiree Boman, Janes Phillips School Records, second grade.

841 Id.
842
     Attachment 176, Chelsea Boman, William Magnet School Records, Topeka, KS.

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On May 9, 1995, Lisa went to a physician for neck pain and right sided headaches. She had

headaches once to twice a week. Lisa explained to the physician that her neck pain started two

or three years earlier after a car accident in June 1993. 843

                         f   Denning, NM (1995)

        Judy and Richard lived in New Mexico, and Lisa and Carl decided to move to Deming,

New Mexico. Although Judy encouraged Lisa and Carl to move to New Mexico, Judy also

expressed her irritation that Lisa followed Judy. Judy reported that Lisa followed her to

"tantalize me." 844 In New Mexico, Lisa, Carl and the children lived in a small cramped trailer

with no electricity. They "got to live there free though, because mom knew the people who

owned it." 845

        In the fall of 1995, Kayla entered kindergarten in Deming Elementary School; Chelsea

entered the second grade and received mostly A's; and Desiree entered the third grade and

received A's. 846 Kayla received S's in all her subjects except in Science Health, where she

received an S-. 847 As would be the case for Kayla and all her siblings, Lisa stmggled to keep

their immunizations up to date. When Lisa enrolled the children in Deming, she worked at

Deming Headlight, and Carl - along with Judy- worked at Deming Home Center. 848

        Although Chelsea received A' s and S' s in the second grade during the 1995-1996 school

year, she performed below average in the second grade on standardized testing as measured by

the Iowa Tests of Basic Skills. She received low percentile rankings in language total (25%) and



843 Attachment 162, Lisa Montgomery, Medical Records.
844 Attachment 2, Declaration of Lisa Rickert incorporating interview with Judy Shaughnessy, 3-14-2005.
845 Attachment 79, Declaration of Chelsea Boman Veal.
846 Attachment 163, Chelsea Boman, Deming Public Schools, 1995-1996 and 1996-1997; Attachment 164, Kayla

Boman, Deming Public School Records; Attachment 144, Desiree Boman, Deming Public School Records.
847 Attachment 164, Kayla Boman, Deming Public School Records.
848 Attachment 164, Kayla Boman, Deming Public School Records; Attachment 144, Desiree Boman, Deming

Public School Records.

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math total (25%). She perceived low average percentile rankings in language advanced skills

(32%) and math advanced skills (28%). Her highest percentile ranking was in reading (54%). 849

Desire took the Iowa Tests of Basic Skills in March, 1996, in the third grade at Sunshine

Elementary School in Deming. She tested low in national percentile ranking language usage and

expression and punctuation (22) and in reference materials (23). She tested average in all other

areas, with her highest score in math computation (70), math concepts and estimation (74), and

math problems and data interpretation (73). 850

            In 1996, Lisa earned $4500 from Worldwest and $700 from another company, the highest

amount she had ever earned in a year. 851 Their family initially lived in an "old house." 852

            In the spring of 1996, Lisa, Carl, and the children move into a one bedroom trailer. On

June 19, 1996, during a visit to Bartlesville, Oklahoma, Lisa took five year old Kayla to the ER

for a rash around her neck that itched badly. She was treated with Benadryl and steroids and

released. 853

            When Lisa began working, she "met some people who drank a lot and were also

promiscuous." 854 Tommy lived with Lisa when she lived in Deming, New Mexico. Carl was

never home and worked three jobs. Lisa lived in a little camper trailer on Judy's property that

was "nasty" and barely had room for Lisa's children, much less Tommy, Lisa, and Carl. 855 The

family was extremely impoverished, and they had "no food." 856 Tommy "sold drugs to get the

kids food " and "lived in the street or in [his] car." 857 Carl took off for "months at a time" leaving


849  Attachment 163, Chelsea Boman, Deming Public Schools, 1995-1996 and 1996-1997
850  Attachment 165, Desiree Boman, Sunshine Elementary School records.
85 1 Attachment 120, Lisa Montgomery, Social Security Itemized Statement of Earnings.
852 Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl Boman, 4-14-2005.
853 Attachment 166, Kayla Boman, Jane Phillips Memorial Medical Center, 6-19-1996.
854 Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl Boman, 4-14-2005.
855 Attachment 2, Declaration of Lisa Rickert incorporating interview with Tommy Kleiner, 3-9-(2005).
856   Id.
ss' Id.

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Lisa in a small trailer with the kids and "not enough food or water." 858 Judy and Richard' s

marriage ended.

         Lisa did whatever it took to keep going without financial support from Carl and without

the ability to work on her own with the children. She prostituted herself not, she claimed for

money, but for food for her children.

         The children described these desperate times. Lisa "never seemed to have enough money

to feed" all the children, and they ate "a lot of beans and rice." 859 C.J. remembered "being

hungry sometimes." 860 Lisa' s financial straits combined with mania to make her exuberant and

hyper-sexual. She had a lot of friends in Deming. "She knew everyone." 861 Lisa and Carl's

marriage was not good in Deming. "Lisa was always kissing other guys." 862 Lisa "drank a lot"

when they lived in Deming, so much so that Desiree "had to care for Kayla." 863 Strange men

came and left the trailer while the children played outside. Lisa asked the men to pay for her

services with food, and the men brought food with them for the children. Sometimes, she went

to truck stops, met men, had sex with them in their trucks, and brought food home for the

children. Later on, she bartered for legal services with her body. Lisa drank excessively.

        The children's school records for the 1996-1997 school year show some decline but

surprising ability as well. C.J. started first grade and received S's in his school work, indicating

acceptable progress. He was absent 13 days. C.J. tested as average in national percentile

rankings on the Iowa Tests of Basic Skills in vocabulary (66), math (72), and word analysis (74).

He scored higher in reading (90) and language (94).864 Kayla entered the first grade in Deming


858  Attachment 2, Declaration of Lisa Ricke11 incorporating interview with Carl McClain, 7-13-2005.
859  Attachment 167, Declaration of Kayla Deanne Boman.
860 Attachment 168, Declaration of Carl James (C.J.) Boman II.
86 1 Attachment 2, Declaration of Lisa Ricke11 incorporating interview with Tommy Kleiner, 3-9-(2005).
862 Id.
863 Attachment 2, Declaration of Lisa Rickert incorporating interview with Desi ree Boman, 3-9-2005.
864 Attachment 118, C.J. Boman, Deming School Records.


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and took the Iowa Tests of Basic Skills. She tested low in national percentile rankings in reading

advanced skills (20), listening (15), and word analysis (20). Her highest score was in math

(84).865

            Chelsea's third grade performance for the 1996-1997 school year in Deming public

schools declined from the second grade and she received mostly B 's and C's. She tested low in

national percentile rankings on the Iowa Tests of Basic Skills in vocabulary (21 ), spelling ( 41 ),

capitalization (9) and punctuation ( 16) and low average in reading (44), spelling (41 ), math

concepts (3 7), social studies (32), science (38), science maps (32), and sources of information.

Her highest percentile rankings were in reading comprehension (67) and math computation

(65). 866

            Desiree' s academic performance declined slightly in the fourth grade and she received

B's and C's. Desiree was absent 12 days out of 164 days. 867 Her scores on the Iowa Tests of

Basic Skills were in the low percentile range in language total (24) and in the average range in

reading advanced skills (80) and math advanced skills (77) 868

            Lisa earned $12,000 in 1997 but dropped to $8,500 in 1998, well below the poverty

level. 869 On June 29, 1998, Lisa filed for divorce from Carl in Luna County, New Mexico; she

listed her address as 1706 South Nickel, Deming, New Mexico and was unemployed. Carl's

address was 1115 S.E. Adams, Bartlesville, Oklahoma, and he worked at Spears

Manufacturing. 870 The court granted the divorce August 6, 1998, as a default judgment and

granted physical care of the children to Lisa with joint custody to Lisa and Carl.


865 Attachment 164, Kayla Boman Deming School Records.
866 Attachment 163, Chelsea Boman, Deming Public School Records, 1985-1996 and 1996-1997.
867
    Attachment 144, Desiree Boman, Deming School Records.
868   Id.
869  The threshold poverty level for a fa mily oftive in 1998 was $19,680. (Poverty in the United States, Table 1.
Poverty Thresholds by Size of Family and Number of Related Children, 1998, U.S. Census Bureau, 1999).
8 ~0 Attachment 152, Boman v. Boman, Sixth Judicial Dist. Court, Co. of Luna, NM, No. DM-0098-000-102.


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                                                                                                                     B-124
            Even though Lisa's children were doing well in school, she decided on the spur of the

moment to withdraw the children from public school and home school them beginning in the fall

of 1997. Carl did not anticipate her taking them out of school and had already signed a routine

school form for Desiree dated August 21, 1997. Desire attended the first six weeks of the fifth

grade for the 1997-1998 school year, received an A, B+'s, a C, and S's. She was present all 31

days of the six week session. 871 Chelsea figured the real reason Lisa decided to home school the

children was because Lisa "couldn' t get rid of Desiree' s head lice, so she took us all out of

school." 872 Lisa was not able to organize, track, and teach lessons from week to week. She " got

some used books" but "they were for younger grades." 873 Lisa did not arrange for the children to

participate in other home school group activities either. The children ended up falling "way

behind." 874

                            g. Leaving New Mexico without Carl

            The children went back and forth between Carl and Lisa in 1998. At first, Carl and Lisa

agreed to divide the children between them. Lisa kept Kayla and Desi in New Mexico, and Carl

took C.J. and Chelsea to Oklahoma for a short while. In May 1998, C.J. and Chelsea returned to

New Mexico to be with Lisa and the other two children. Judy, this time in cahoots with her

sister Alice, went to New Mexico and convinced Lisa to move to Topeka to be close to family.

Lisa obeyed. She quit her job, took the children to Carl in Oklahoma, and went to Topeka. In

Topeka, she sought out her mother, as Judy had encouraged her to do, but Lisa's mother was

nowhere to be found. Lisa was alone and penniless and moved in with a man she met on the

street.


87 1
       Attachment 144, Desiree Boman, Deming School Records.
872    Attachment 79, Declaration of Chelsea Boman Veal.
8'3 Id.
s,4 Id.

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                                                                                                      B-125
         Lisa found a job at Wells Fargo and went to Oklahoma to pick up the children from Carl.

She returned to Topeka with the children and asked Hector Ochoa to let her and the children live

with him and his family in their trailer. Hector was Judy's fifth husband, but they were

separated. Hector allowed Lisa and the children to move in, but it was not a safe place. Hector,

an alcoholic, made Chelsea "go into the bedroom with him" and "forced [her] to have sex with

him." 875 Judy reentered Lisa's life with threats of taking the children. Lisa took the children to

Carl's home and moved to Bartlesville to be closer to the children.

                          h. Meeting and Marrying Kevin: More Violent Sex and More False
                             Pregnancies

         Lisa met 38 year old Kevin Montgomery876 in the fall 1998 while he worked for Essex

Company in Topeka, Kansas. Kevin lived in Melvern, Kansas, where his parents, Roger and Joy

Montgomery, reared him and his brother877 and came from a religious family. 878 He was a

"skilled laborer who graduated from the Vocational-Technical School." 879 He was "nice,

               °
respectful." 88 Kevin had three children, Denick, Dustin, and Dylan, 88 1 who lived with their

mother, Lori Montgomery. 882 Kevin's parents liked Lisa when they met her and thought she was

"nice," "cute," "polite." 883

         Kevin and Lisa were both embroiled in contentious divorce proceedings before they met.

Lisa filed for divorce from Carl Boman June 19, 1998, which was entered as a default judgment



87s Id.
876 Attachment 172,Kevin Montgomery, St. Francis Hospital, 6-24-2001
877 Id. Kevin's brother died of AIDS in 1987.
878 Attachment 2, Declaration of Lisa Rickert incorporating interview ofisabel Phelon, 3-9-2005.
879 Attachment 173, Montgomery v Montgomery, Osage Co. KS Case No. 97D-l 92.
880 Attachment 2, Declaration of Lisa Rickert incorporating interview of Tommy Kleiner, 3-9-[2005] .
881 Attachment 173, Montgomery v. Montgomery, Osage Co. KS Case No. 97D-192, showing dates of birth of the

three sons: Derrick (DOB 1985); Dustin (DOB 1990); and Dylan, (DOB 1992).
882 Id.; Kevin and Lori Montgomery married 4-10-1989, in Melvern, Kansas. Lori fi led for divorce 12-3- 1997, and

the court awarded joint custody. Kevin was ordered to pay temporary child support of$542/month. An absolute
divorce was granted 6-12-1998.
883 Attachment 2, Declaration of Lisa Ricke1t incorporating interview of Joy and Roger Montgomery, 3-9-2005.


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in Deming, New Mexico. Lisa was granted physical care of her four children but joint custody

was entered. 884 Kevin filed a motion to change residential custody from his ex-wife Lori to him

after he learned that his ex-wife planned on moving with the children to Osage City, Kansas,

which was 20 miles away from Melvern. Kevin argued that his three children "have lived the

greatest portion of their lives, attended school, and have significant relatives in Melvern,"

including their grandparents, Joy and Roger Montgomery. 885 The court denied Kevin's request to

change residential custody October 14, 1998.

         In the fall of 1998, Lisa worked as a security guard and talked with Kevin when she made

her rounds. Lisa "was always pleasant." 886 Kevin's co-workers "pushed Lisa his way," because

he was newly divorced and Lisa was single also. 887

         Kevin took Lisa to breakfast for their first date. Kevin could not afford "a nice date," and

he was impressed that Lisa did not seem to mind and was appreciative of the breakfast. 888

Dating Lisa involved seeing her on the weekends and usually involved her children and his. 889

Lisa and Kevin's "courtship" always involved the children. They camped and went to local

festivals. 890 They camped, went to ball games, and did things that did not require a lot of

money. Lisa always wanted to do things like go to the library or museums, but her plans were

often interrupted by her severe migraines. The migraines occurred "a couple of times a month 891

and " knocked her to the floor. She could not do anything - anything at all. She could not get out

of bed, talk, eat, or read." 892


884 Attachment 152, Boman v. Boman, Sixth Judicial Dist. Court, Co. of Luna, NM, No. DM-0098-000- 102.
885 Attachment 173, Montgomery v. Montgomery, Osage Co. KS Case No. 97D-l 92.
886 Attachment 2, Declaration of Lisa Rickert incorporating interview of Kevin Montgomery, 7-28-2005.

88' Id.
888 Id.
889 Id.
890 Attachment 2, Declaration of Lisa Rickert incorporating interview with Joy and Roger Montgomery, 3-9-2005.
891 Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005.
892 Attachment 174, Declaration of Kevin Montgomery.


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            As Kevin spent more time with Lisa, he learned more about the serious problems that

plagued her family. Lisa 's mother had been married many times ; Lisa's sister Jerri Jo and her

husband were separating in California, as was Patty in Ohio; and Lisa's brothers Tommy and

Teddy were using drugs. Kevin also learned that Jack Kleiner, one of Lisa's stepfathers, had

sexually assaulted her for years. Lisa told Kevin that she had a baby, Judy took the baby away

from her, and Judy placed Lisa's baby up for adoption. Lisa "spent a lot of time on the computer

searching for this baby." 893 Kevin considered everything Lisa did and everything he learned

about her family as reasons for him "to rescue her" and to give her a better life. 894

            Kevin's parents had "reservations" about Kevin and Lisa marrying. 895 They didn't know

anything about Lisa, her family, or much about her previous marriage and divorce, other than

that Carl did not pay child support. 896 They thought that blending the families "was going to

cause problems." 897 Kevin's ex-wife, Lori, caused problems for Lisa and Kevin.898

            Lisa's family and friends wrongly attributed her dramatic mood swings to changes in her

circumstances, and did not understand it was more likely her mood changes reflected her

underlying mental disorder. Lisa "seemed very happy and enthused" about her new relationship

with Kevin Montgomery in the summer of 1998 when she stopped by a friend 's house. 899 Lisa

"was all dressed up in a mini skirt and heels." 900 Lisa had two of her children with her901 , and




893   Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005.

894 Id., p.2.
895 Attachment 2, Declaration of Lisa Rickert incorporating interview with Joy and Roger Montgomery, 3-9-(2005).
896 Id.
897 Id.
898   Jd.
899 Attachment 2, Declaration of Lisa Rickert incorporating interview with Jan McLeod, 7-5-2005.
900 Attachment 2, Declaration of Lisa Rickert incorporating interview with Jan McLeod, 7-11-2005.
901 One of the children had a broken arm. (Attachment 2 , Declaration of Lisa Rickert incorporating interview with

Jan McLeod 7-5-2005).

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her other two children were in Kansas with Carl. She asked a former neighbor if he could give

her a ride to see her two children in Kansas, but he wasn't able to help her out. 902

         Lisa's enthusiasm for Kevin waned when he insisted on sexual violence as part of their

relationship. She was not surprised that Kevin wanted to hurt her dw-ing sex because she had

come to expect nothing less; she thought it was part of maintaining a relationship with a man.

Kevin, she was quick to point out, was not as violent or hurtful as Carl, but he bruised her, used a

horse whip on her, and tied her in forced stress positions. Kevin liked to go to the woods or barn

to tie her up, and used clamps on her nipples. She did not seek or want the maltreatment, did not

enjoy it, and did not know that forced and coerced sexual intercourse during marriage was

considered a sexual assault. Instead of protesting, her mind simply went somewhere else as it had

in such situations since she was a child.

         The children jumped from school to school in the fall of 1998 as they followed Lisa and

Carl's unpredictable reunions and separations. Desiree transferred to Eisenhower School in

Topeka on September 9, 1998, but stopped going to Eisenhower November 18, 1998. She left

without returning a violin, for which she was charged $225. It appears that Lisa did not formally

withdraw Desiree from school, and that school officials incorrectly attributed Desiree' s absence

after November 28, 1998, to truancy. 903 Chelsea attended the fifth grade at Williams Elementary

in Topeka for six weeks from September 9, 1998, to October 26, 1998. She received C's in all

her subjects, missed nine days of school and attended 25 days of school. Her home address was

1949 Adams in Topeka. She left Williams in Topeka October 26, 1998, to attend Richard Kane

Elementary School in Bartlesville. 904



902 Attachment 2, Declaration of Lisa Rickert incorporating interview with Jan McLeod, 7-5-2005.
903 Attachment 175, Desiree Boman, Topeka School Records.
904 Attachment 176, Chelsea Boman, William Magnet School Records, Topeka, KS.


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         Sho1tly after Lisa returned from New Mexico, Lisa moved the children to Bartlesville so

Carl could put them in school. Lisa moved a couple houses to a small efficiency away from Carl

to be closer to her children, but she knew she was not able to keep up with their needs.

         Carl and Lisa continued to be involved in each other's lives, not just as parents, but also

at work. Carl helped Lisa obtain a job as a line cutter for Spears Manufacturing in December,

 1998, and Carl was her supervisor. 905 Lisa was in another car accident January 18, 1999, when

her car was struck by a moving truck. She was the unrestrained driver. She had a laceration to

the top of her left parietal area, a sore throat, and no loss of consciousness. Desiree was also in

the car, unrestrained, and hit the windshield.

         The children staited the school year in Bartlesville in the second quarter (nine week

sessions) of the 1998-1999 school year. C.J. received enthusiastic comments from his fourth

grade teacher who found him to be a "dependable and self-directed student" who loved "to help

others." 906 He had "some problems keeping his work done" in the third quarter, but by the fourth

quarter his teacher was "very impressed with [his] ability to perceive the meaning of a story and

share his insights." 907 C.J.'s scores on the Iowa Test of Basic Skills were mostly in the average

range and consistent with his scores in kinderga1ten with the exception of particularly high

scores in language problems and data interpretation (96 %) and science maps and diagrams (96

%), and science references mate1ials (99%).

         Kayla was also in the third grade in the 1998-1999 school yeai·. She started Bartlesville

Public Schools October 22, 1998, after transferring in from Williams in Topeka. Her teacher

commented that she " really" enjoyed having Kayla in her class. 908 Kayla completed the third


9os Attachment 120, Lisa Montgomery, Social Security Item ized Earning Statement.
906 Attachment 177, C.J. Boman, Bartlesville Public School Records.
901 Id.
908
    Attachment 178, Kayla Boman, Ba1ilesville Public School Records.

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grade and continued to receive favorable comments by her teacher who encouraged Kayla to

"work on her spelling." 909 In the final nine week session, Kayla missed 13 of the 46 days. 910

Lisa lived at 1115 S.E. Adams,# 7, in Bartlesville on January 16, 1999, when she rushed Kayla

to the ER after Kayla "got her (1) ring finger caught between 2 cinder blocks." 911 She was

diagnosed with a closed fracture on her ring finger and injury to her little finger. Kayla was

transferred to Shawnee Mission Medical Center for treatment. 912

         Lisa held her job at Spears, where Carl supervised her, until April, 1999, and earned

$4,400. 91 3 Lisa was injured at work and filed a Worker's Compensation claim March 30, 1999,

for repetitive motion injury to her right wrist. 914 Around 1999, Tommy was living in an

apartment in Topeka and selling meth. Lisa and Desiree drove to Topeka to get him to help him

get off drugs.

        By 1999, Kevin "noticed that something wasn 't quite right" with Lisa. 9 15 She was "sick,

run down, worried," and told him she was pregnant with twins, Kevin's first experience with

Lisa's fal se pregnancies. Although he did not consider ending the relationship, he was not happy

about the pregnancy as he did not believe in having children outside of marriage. Lisa

announced she was going to New Mexico to have an abortion. Kevin asked Lisa if she was sure

about having an abortion, and she was. Lisa told Kevin she flew to New Mexico for the abortion

and returned "in pain, wore out, and not relieved." 916 Lisa' s siblings reported she used the




909  Id.
910  Id.
911
     Attachment 179, Kayla Boman, Stormont-Vail Regional Health Center Records, 1-16-1999.
912 Id.
913 Attachment 120, Lisa Montgomery, Social Security Itemized Earning Statement.
9 14 Attachment 180, Lisa Montgomery, Kansas Dept. of Labor Workers Compensation Claim, 3-30-1999.
915 Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005.

916 Id.


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money to go to New Mexico and renew a relationship with a former boyfriend. During the trip,

she wrote several checks that were returned for insufficient funds. 917

         On June 20, 1999, Lisa was hit by a child's knee on a trampoline. Lisa did not lose

consciousness but became repetitive, confused and disoriented. At the ER, she was somewhat

disoriented as to time and place, and was not able to relate her phone number or do simple

calculations. She was given Demerol and Phenergan and a prescription for Loritab. A few days

later Lisa returned to the hospital for her headache. She had run out of Loritab. She had a severe

headache with photophobia, nausea and vomiting. She was given Compazine orally. 9 18

         Kevin drove about three hours to see Lisa on his days off. Six months later, Lisa told

Kevin she was pregnant again and was going "to take care of it" by brewing and drinking a

concoction of Penny Royal leaves over a couple of months. She told Kevin the concoction was

successful and she had miscarried. Kevin was upset and "had mixed feelings." 919 He didn't

approve of abortions but they could not afford another child and were not married.920

        In 1999, Lisa became convinced she had given birth to a baby named Sarah. Judy took

her baby from her a long time ago, and her family "hid the baby from her." 92 1 She discovered

the baby was alive and wrote a letter to Kevin about it. Judy "found" the letter, took it and kept

it. Judy did not tell Lisa she had the letter. 922 Lisa later tried to explain away the letter by

describing it as a creative writing exercise.923




w Attachment 181 , FBI 302 Interview with Teddy Kleiner, 1-12-2005.
918 Attachment 182, Lisa Montgomery, Stormont Vail Regional Health Center, 6-25-1999.
919
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005.
920 Id.
921 Attachment 2, Declaration of Lisa Rickert incorporating interview with Judy Shaughnessy, 3-14-2005.
922 Id.
923 Attachment 232, Letter to Kevin from Lisa referring to Baby Sarah.


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         Judy was granted a divorce, uncontested, from her fifth husband Hector Ochoa December

8, 1999, and promptly married Danny Lee Shaughnessy five weeks later on January 14, 2000, in

Miami, Oklahoma. 924

         Kayla withdrew from the fourth grade at Kane Elementary School in Bartlesville

December 22, 1999. 925 Her teacher commented that Kayla was "a sweet girl" who tended ''to be

very shy and quiet." 926

                          i.   Blended Family (2000)

         Lisa and Kevin married March 23, 2000, in the Burlington, Kansas, courthouse in front of

Judge Fromme, who forgot he had a wedding and was late. 927 All their children were present,

along with Kevin's parents and Kevin's aunt and uncle. Only one friend was present for Lisa

besides her children. 928 Judy held a "get-together" at her home in honor of Lisa and Kevin's

wedding after the wedding day, but Lisa's family ruined it with family bickering and arguing. 929

                                                      °
Lisa and Kevin left early to avoid the trouble. 93 Kevin 's parents, Joy and Roger Montgomery,

did not stay long, because there were problems and everyone left. Joy and Roger learned

through uncomfortable experience that "[t]here were always problems when they were all

together. " 93 1

         The family finances were tight, and Kevin entrnsted Lisa to manage the budget, a

responsibility that far exceeded her ability to hold her impulses in check. It turned into a




924
    Attachment 43, Ochoa v. Ochoa, District Court, Shawnee County, KS, No. 99D-2108; Attachment 183, Danny
Lee Shaughnessy and Judy K. Ochoa, Marriage Record No. 112-B, Quapaw, Oklahoma, 1-18-2000.
925 Attachment 178, Kayla Boman, Bar1lesville School Records.

926 Id.
927 Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005;

Attachment 2, Declaration of Lisa Rickert incorporating interview with Joy and Roger Montgomery, 3-9-2005.
928
    Attachment 2, Declaration of Lisa Ricke11 incorporating interview with Kevin Montgomery, 7-28-2005.
929 Attachment 2, Declaration of Lisa Rickert incorporating interview with Joy and Roger Montgomery, 3-9-2005.

930 Id.
931 Id.


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catastrophe as the family plunged further and further into debt, fell behind in taxes, and was

unable to provide the daily needs of their children. Carl Boman did not respond to summons nor

attend court hearings on child support for his four children, and the court ordered him to pay

child support in the amount of $388/month on November 1, 2000.932 Two weeks later, on

November 14, 2000, Carl ' s income was garnished to pay child support and the court increased

the monthly amount to $438.933 In 2000, Lisa earned $6700 from Greyhound and $3000 from

Cedar Valley Investments. 934 Kevin earned $6,500 from Essex, $ 13,000 from Shelley Electric,

and $2,000 from Capital Electric. 935 Their combined income of $31 ,500 for their family of six

minus $7,200 for child support left them $24,300 annually for all their expenses. Lisa and Kevin

worked two and three jobs each, but their income after child support hovered right at the poverty

threshold level of $23,533 for a family of six.936

         At first, Lisa and Kevin and Lisa's children lived in Melvern, Kansas, at 187 East 329th

Street. The disarray in Lisa's home was suggested in the fami ly's medical records: CJ.

continued to have chronic problems with rashes and asthma. He went to the hospital March 26,

2000, three days after Lisa manied Kevin, for a rash and hives after going fishing.937 On June

12, 2000, Lisa took Chelsea to the emergency room at 10:00 p.m. for diarrhea and abdominal

pain for three days. Lisa "refused straight Cath UA" so nursing staff obtained a clean catch urine

analysis. Doctors diagnosed Chelsea with gastroente1itis and discharged her home. 938 Desiree,

who by all accounts took care of the children and household, was taken to the hospital for a




932 Attachment 184, State of Kansas, ex rel v. Bo man, Distri ct Court of Osage County, Kansas, Case #00D1 57.
933 Id.
934 Attachment 120, Lisa Montgomery, Social Security Itemized Income Statement.
935 Attachment 185, Kevin Montgomery, Social Security Itemized Income Statement.
936 2000 HHS Poverty Guidelines.
937 Attachment 186, C.J. Boman, St. Francis Hospital, 3-24-2000.
938 Attachment 187, Chelsea Boman, St. Francis Hospital, 6-1 2-2000.


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fractured phalanx of the second digit (toe). The fracture line was not well defined suggesting it

might have been "of some duration." 939

         Lisa went to the hospital ten days later on May 16, 2000, for wrist and hand pain from

using a hydraulic cutter at Spears Manufacturing. Carpel tunnel testing on the right was

abnormal (nerve flexion problems) and the right side dynameter was also abnormal. The

diagnosis was uncertain.940 Lisa changed jobs and began working at Greyhound. On June 12,

2000, Chelsea went to the hospital for diarrhea, shortness of breath, vertigo, and ear ache. 941 On

August 30, 2000, 13 year old Desiree returned to the doctor for a 3 cm. laceration on her right

hand, the result of her getting a chicken out of the cage. She arrived at the ER at 10:46 p .m. 942

         Kevin' s former wife Lori was concerned about the conditions at Kevin and Lisa's home,

so much so that she did not follow through with joint custody arrangements. In the summer of

2000, Lori initially agreed to let Kevin have Dustin and Dylan for the entire month of July, but

after ten days, Lori took the children back. 943

                          j.   2001: Basic Tasks Elude Lisa.

         Lisa panicked that she was unable to do all that was required of her. Living in town was

too complicated, as was getting the children back and forth to school, sports, and after school

activities. She had learned to live in isolated areas in New Mexico where less was expected of

her, and where she thought life was "simple." She and Kevin decided to rent a large

farrnhouse 944 on October 1, 200 I, for $400 a month. It was "a two story old farmhouse in need

of paint, flooring, and window repair." 945 Lisa appeared to be a hard worker, as did Kevin, to the


939 Attachment 188, Desiree Boman, St. Francis Hospital, 5-5-2000.
940 Attachment 189, Lisa Montgomery, Lawrence Memorial Hospital, 5-16-2000.
941
    Attachment 187, Chelsea Boman, St. Francis Hospital and Medical Center Records, 6-12-2000.
942
    Attachment 192, Desiree Boman, Coffey County Hospital Medical Records, 8-30-2000.
943
    Attachment 173, Montgomery v. Montgomery, District Ct of Osage Co., Kansas, No. 97D-192.
944 32419 S. Adams Road in Melvern, Kansas.
945
    Attachment 2, Declaration of Lisa Rickert incorporating interview with Desiree Boman, 3-9-2005.

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landlord. Lisa worked for Greyhound, Casey' s General Store in Lyndon, Kansas, a filling station

on Topeka Boulevard and a Wendy' s Restaurant in Melvern.

           Lisa tried to plan out how she could become self sustaining on the farm. She diagramed a

plot for the garden, but lost track of which plants were which when they started growing outside

the neat lines of the diagram. She wanted to can and preserve vegetables, but she was unable to

organize a reasonable plan and ended up staying up without sleep for days canning. She bought

fann animals - goats, lambs, cows, and chickens - but was not able to figure out how to maintain

a feeding schedule. She tried to pass on the responsibilities to her children, and they resented the

hard work, early morning hours, and her lack of involvement. Kevin stayed angry with her for

not keeping up with activities that he thought were simple, such as grocery shopping, child care,

housekeeping, cooking, and laundry. The farm fell into disarray.

           Lisa and Kevin continued to have contentious difficult relationships with their ex-spouses

around child suppo1t payments, custody, and parental visiting. Carl married Vanessa in August

2001. 946 On June 27, 2001, Kevin's ex-wife petitioned the court for increased child support in

light of Kevin's annual income of $40,932 for his work at Shelley Electric, compared to his ex-

wife's annual income of $18,000. Kevin disagreed that he made $40,932 annually and asserted

his monthly income was $3328. Kevin petitioned the court for more time visiting his sons and

complained that his ex-wife cut sho1t his summer visits. Kevin also asked to pay reduced child

support for his children, because he supported Lisa's three chi ldren. The court denied Kevin ' s

request to pay less child support and increased his child support monthly payments to $900. 947




946   Attachment 193, USA v. Montgomery, No. 05-06-002, Vol. 5.
94 ~ Attachment  173, Montgomery v. Montgomery, District a of Osage Co., Kansas, No. 97D-192.

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Kevin saw his children 948 every other weekend, and his ex-wife alleged that when their children

visited Kevin and Lisa's home, they "were required to do farm work and chores and little else"

and were "left in the care of Lisa's older daughter." 949 Lisa's conversations with Carl were

frequently about disagreements over child support, visitation, or paying a bill. 950 Lisa had no

friends in the community. 951

        Lisa and Kevin talked about having children. She wanted more children, but Kevin

                                                                                      952
thought they had enough but adopted an "if it happened, it happened" attitude.              Lisa could not

"talk about problems for very long" and "got a blank look on her face and didn't respond" when

Kevin raised concerns. 953 She "stayed in her room for days, not talking, leaving or interacting at

all." 954 She spent hour after hour on the computer. She drank, and Kevin argued with her about

her drinking. She hid her alcohol, and mixed it with Pepsi. She started but did not finish project

after project, and uncompleted projects piled up around the house. Her brother Tommy described

the pattern: "she would get really interested in something and spend a lot of time on it and then

she wouldn't be interested anyrnore." 955

        By all accounts, Lisa loved her children dearly, but nonetheless was unable to parent.

Lisa had no insight into the harm her psychotic thinking, dissociation, loss of contact with

reality, extreme emotions, and rapid, unpredictable mood swings brought her family. Her

behavior changed in an instant. On one occasion, as she tried to brush Chelsea's hair, she

suddenly hit Chelsea's head with the brush, striking her over and over again, as if she were in a


948
    Attachment 173, Derek Scott Montgomery, DOB 3-26-1985; Dustin Garrett Montgomery, DOB 8-14-1989;
Dylan Kale Montgomery, DOB 1-20-92.
949
    Attachment 173, Montgomery v. Montgomery, District Ct of Osage Co., Kansas, No. 97D-l 92.
950
    Attachment 2, Declaration of Lisa Rickert incorporating interview of Kevin Montgomery, 7-28-2005.
951 Id.
952 Id.
953 Attachment 174, Declaration of Kevin Montgomery.

954 Id.
955
    Attachment 41, Declaration of Tommy Lee Kleiner.

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trance. She could not teach herself how to brush her girls' hair, help them dress, or prepare for

school. At other times, she whipped the children with a belt, in direct contrast to consistent

reports she did not discipline or punish the children. She told Kayla that Carl Boman was not

her father, and Kayla " hated" her for it. 956 Carl confirmed that Lisa told Kayla Carl was not her

father, but Carl claims that he never doubted his paternity. 957

         Lisa tried very hard to compensate for her outbursts and unpredictability. She was

committed to using ' appropriate discipline such as grounding or talking to her children," but

uncontrolled and intense emotions overcame her at times. 958 Although she "was not overly

affectionate," she "expressed her love and gave her children some hugs." 959 Lisa tried to teach

her children "responsibility and gave them choices about chores." 960

         Lisa could not keep up with housework, and her children had to help her with basic

chores of cooking and cleaning. The children could not keep up with household chores in the

confusing and unpredictable environment Lisa created. Dishes sat unwashed with mold on

them. 961 The children came up with a nickname to try and bring their mother out of her trances

when she was tuned out. 962 Instead of calling her "Mom," they called her "Martha." Calling her

Martha "became a joke, and way of trying to get her to "tune in to us for a little while." 963

Lisa tried to develop positive relationships with Kevin' s children, but the oldest, Derrick,

" resented Lisa' s rules and discipline," while Dylan and Dustin "grew to love Lisa." 964 Dustin,




956 Attachment 2, Declaration of Lisa Rickert incorporating interview with Teddy Kleiner, 7-28-2005.
957 Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl Boman, 4-14-2005.
958 Attac hment 2, Declaration of Lisa Rickert incorporating interview with Joy and Roger Montgomery, 3-9-2005.
959 Id.
960 Id.
961 Attachment 2, Declaration of Lisa Rickert incorporating interview with Judy Shaughnessy, 3-14-2005.
962 Attachment 167, Declaration of Kayla Deanne Boman.
963 Id.
964 Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005.


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Kevin's youngest child, had attention deficit problems, 965 and Lisa never thought Dustin needed

to be on medication. Lisa was patient but strict with him. She "took time to explain things to

him ."966

         In 2001, Lisa and Kevin earned their highest income during their marriage, but Lisa could

not manage their finances. Kevin earned $29,319 from Shelley Electric and $9,672 from

Flowers Electric.967 Lisa earned $4,650 from Greyhound and $12,197 from Cedar Valley

Investments. The couple had a total annual income - before child support payments to Lori

Montgomery - of $55,838.00. Debtors filed suit against Lisa for unpaid bills.968 Who was a

member of the household at any given time was unpredictable. Kevin expected to have his sons

with Lori, his former wife, with him and Lisa during January, February, March and April, but

Lori allowed him to have parenting time only once during those months. 969 Lisa had severe

migraine headaches that immobilized her.

         On January 10, 2001 , she went to the ER in Topeka for treatment for her throbbing

frontal headache with photophobia and vomiting. Physicians sent her home. 970 After Kevin

became ill with gastroenteritis on June 4, 2001, he "failed outpatient management because of his

continued inability to take in oral fluids or food" and had to return to the hospital. 971 In August,

2001, Kevin petitioned the court to allow him to have parenting time with Dustin and Dylan

every other weekend , Labor Day weekend, the weekend after Thanksgiving, Easter weekend,



965 Attachment 173, Montgomery v. Montgomery District Ct. of Osage Co., Kansas No. 97D-192, Dusti n had many
of the features of ADHD. He failed to give close attention to details, made careless mistakes, had difficulty
sustaini ng attention in task or play activities, did not listen when spoken to, did not consistently follow through on
instructions, was reluctant to engage in tasks that required sustained effort, lost things necessary for tasks, and was
often easily distracted. Mental health services recommended medication management for him.
966 Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005.
967 Attachment 185, Kevin Montgomery, Social Security Itemi zed Statement of Earni ngs.
968 Attachment 173, Montgomery v. Montgomery, District Ct of Osage Co., Kansas, No. 97D-192.
969 Id.
970 Attachment 194, Lisa Montgomery, St. Francis Hospital and Medical Center, 1-10-2001.

n Attachment 190, Kevin Montgomery, St. Francis Hospital and Medical Center Records, 6-6-2001.

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July 3 -5 in odd numbered years, New Year's Day, Memorial Day weekend, Thanksgiving Day

and Christmas Day in all even numbered years, the first half of spring break in even numbered

years, the second half of spring break in odd numbered years, the first half of Christmas break in

all even numbered years, the second half of Christmas break in odd numbered years, and

summers, starting one week after school was out. 972 In short order, the court set child support at

$900/month and specific parenting time, including six weeks in the summer. Lori opposed the

amount of time the children were to spend with Kevin and Lisa and claimed that Lisa "actively

interfered" with Dustin's medical treatment by telling him that taking drugs for ADHD was an

excuse for not being able to control him.973 Lori also claimed that her children with Kevin

complained that during parenting time with Kevin they were required to do farm work, chores

and little else. 974

         In 2001, Carl McClain, Lisa's high school sweetheart, sent Lisa an email and learned

Lisa had married Kevin Montgomery. 975 They renewed their friendship by e-mail and agreed to

meet at Yates Center, Kansas, and spend the day together. 976 Carl McClain's infatuation for Lisa

returned, and he began to drive up to Beto Junction, Kansas, twice a week to visit with Lisa

while she worked nights at a gas station. They talked about everything. 977

         Lisa told Carl McClain that there "was a lot going on with her" in high school and that

her stepfather, Jack Kleiner, had sexually abused her. 978 Lisa was unhappy in her marriage to

Kevin. Kevin "was overbearing and controlling," and the family "had to live by his rules." 979



972
     Attachment 173, Montgomery v. Montgomery, District O of Osage Co., Kansas, No. 97D-192.
973  Id.
914 Id.
9;s Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl McClain, 7-13-2005.
976 Id.
977 Jd
978 Id.
9i 9 Id.


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Lisa's children from her marriage to Carl Boman "had to follow all of [Kevin's] rnles. 980 Lisa

wanted to go back to school, but Kevin "made her take care of the house."981 Lisa and Kevin

had "a lot of financial pressures." 982 Kevin was off work most of the time, and Lisa worked two

or three jobs. 983 Lisa did not have close friends. 984 She did not have many friends. 985 She kept

in touch with few friends from school. 986

           Carl McClain and Kevin went fishing together, and Carl McClain told Kevin he had

feelings for Lisa, but that "nothing would ever happen since she was married." 987 Kevin was

"aware" Carl McClain and Lisa "met secretly" in New Mexico. 988 Kevin complained Lisa spent

too much time on the Internet and did not spend their money wisely. 989

           Lisa' s co-workers at the gas station thought that Lisa was "eccentric." 990 She "talked

about her goats incessantly," and co-workers called her "goat woman." 991 Lisa came to work "in

dirty clothes many times and did not appear clean." 992 She explained her appearance by telling

co-workers that "she had spent the night in the barn with the goats." 993

           In the 2001-2002 school year, Desiree started the ninth grade at Marais des Cygnes

Valley High School in Melvern. She received an A- in Spanish, B's in general science, English,

computer applications, algebra 1, and agriculture orientation. 994 In November 2001, Kayla was in




980 Id.
981 Id.
982 Id.
983 Id.
984
    Attachment 2, Declaration of Lisa Rickert incorporating interview   with Joy and Roger Montgomery, 6-2-2005.
985
    Attachment 2, Declaration of Lisa Ricke11 incorporating interview   with Jan and Julie McLeod, 7-11-2005.
986
    Attachment 2, Declaration of Lisa Rickert incorporating interview   with Kevin Montgomery, 7-28-2005.
98- Attachment 2, Declaration of Lisa Rickert incorporating interview   with Carl McClain, 7-1 3-2005.
988 Attachment 2, Declaration of Lisa Rickert incorporating interview   with Kevin Montgomery, 7-28-2005.
989 Attachment 2, Declaration of Lisa Rickert incorporating interview   with Carl McClain, 7-13-2005.
990 Attachment 30, Ron Ninemire interview of Ron Gieck.

991 Id.
992 Id.
993 Id.
994   Attachment 195, Desiree Boman, Marais des Cygnes High School Transcript.

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                                                                                                                   B-141
the sixth grade and took the Iowa Tests of Basic Skills. She performed in the high average and

high percentile rankings, especially in reading comprehension (88), math concepts (94), math

problems (97), and maps and diagrams (95). 995 Her lowest score was in punctuation (47). 996

         Lisa's cousin, Wendy Treibs with whom Lisa shared a "special bond," 997 had tubal

ligation reversal surgery at a clinic in Jackson, Tennessee, May 17, 2001. 998 Lisa was aware

Wendy became pregnant after the reversal. 999

                          k. 2002: Another False Pregnancy

         In 2002, Lisa again told Kevin she believed she was pregnant. Lisa "did not go to the

doctor right away," and Kevin figured she knew her own body and knew if she were pregnant or

not. When Lisa told Kevin she finally went to the doctor, she gave him the very sad news that

the baby "had complications with blood and that her body was rejecting the baby." 100 Kevin        °
believed he observed Lisa's body going "through changes that looked like she was pregnant.

Her breasts were larger and tender, her belly got bigger, and her periods stopped." 100 1 At night,

as they slept in bed, Lisa often took Kevin' s hand and placed it on her belly. Kevin "never

questioned whether or not she was pregnant." 1002

        As the May 2002 due date for delivery approached, Kevin worried about Lisa and the

baby. He "demanded" he and Lisa go to the doctor together, and Lisa and he had a huge

fight. 1003 Lisa took off by herself and did not allow Kevin to go with her. Lisa was gone six

hours and returned " in so much pain" Kevin had to help her out of the car. Kevin and Lisa had


995 Attachment 196, Kayla Boman, Carroll H igh School Alabama.
996 Jd.
99- Attachment 19. Declaration of Wendy Tribes, 2-20-2013.
998 Id.
999 Jd.
1000 Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005.
1001 Id.
1002 Id.
1003 Id.


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discussed donating the baby to research if it died, and that is what Lisa told him she did. Kevin

repeatedly asked Lisa whether or not they could get the baby' s ashes. Every time he brought it

up it caused an argument, and Lisa threatened to leave him. He stopped asking about the baby' s

ashes to keep the marriage together. 1004

         Lisa had a challenging work load to carry for a fully functioning person, but for a person

with longstanding impairments with ongoing family problems, it was impossible. Her house was

                                       1005
"crowded" and "pretty filthy."                Visitors "had to walk through paths in the house because it

                        1006
was so cluttered."             She continued to work for Greyhound and earned $7,639 from the

company and $6,610 from Neighborhood Markets in 2002. 1007 Kevin ' s income dropped notably

to $11 ,3 15 from Atlantic Group; $7292 from Coachman Industries, and $136 from Reno

Holdings for an annual income of $18,743, less than half what he earned the year before. 1008

Their situation was not eased by child support payments from Carl. Carl 's wages were garnished

to pay child support in the amount of $2,943. 1009 Carl no longer worked at Spear Manufacturing

and started work at Zinc Corporation of America April 1, 2002. 1010

        Kevin and his former wife Lori continued to argue about the care his children received,

and Lisa joined in the ongoing dispute. Kevin wanted to be in control of hi s sons' medical care,

but, according to Lori, Kevin did not consistently give Dustin his medication during his

parenting time. 10 11 Dustin's behavior in school was troubling. He was suspended for three days

for taking a 12 gauge shotgun shell to school and was disciplined for drawing a picture in school


1004 Id.
1005 Attachment   197, Declaration of Vanita June Boman.
1006 Id.
100- Attachment   120, Lisa Montgomery, Social Security Itemized Statement of Earnings.
1008 Attachment   185, Kevin Montgomery, Social Security Itemized Statement of Earnings.
1009 Attachment   184, Kansas v. Boman, Osage Co. Case No. 00D-000157.
1010 Attachment   127, Carl Boman, OK Worker's Compensation Records; Attachment 128, C.B. Pettigrew, D.O., 1-
25-2005.
1011 Attachment   173, Montgomery v. Montgomery, District Ct. of Osage Co., Kansas, No. 97D-192.

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of a stick man shooting another stick man. He was also disciplined for biting another student on

the hand. 1012 Lisa emailed Lori that Lori "never put those boys feelings first, and maybe you

don't realize just how much damage you have done to them." 10 13 In April, 2002, Kevin filed a

motion for change of custody regarding the residential custody of Dustin and Dylan from Lori to

Kevin and Lisa. He also asked the court to decrease child support payments to Lori since he had

recently become employed after being unemployed for a substantial period of time.

         On April 5, 2002, Lisa completed an information fonn for marriage counseling for her

and Kevin with Dr. Sally Wilkinson. 1014 Lisa and Kevin participated in six to eight sessions.

Lisa came up with the idea of marriage counseling over the issues of " lack of communication"

and Kevin's treatment of her children. 1015 Kevin was never "sure why they went," but was

"willing to go if Lisa was frustrated with him in any way. He was just there for her." 1016 The

goals of marriage counseling were that Lisa would show increased ability to compromise with

Kevin over parenting and relationship issues and that she would demonstrate emotional

resilience and less dysphoria. The therapist concluded that part of the difficulty appeared to do

with Kevin's children from his prior marriage. 1017

        A house full of children required constant attention, and Lisa tried to keep up. On March

12, 2002, Lisa took C.J. , Chelsea, and 11 year old Kayla to Dr. Hutchison for K.BH 1018 and

school physical examinations. They lived at 32419 South Adams in Melvern. 1019 C.J. - who had

chronic asthma treated with an inhaler -- received his physical for school, and the physician


10121d.
1013 Attachment 263, Email from Lisa Montgomery to Lori Colwell 2-21-2002.
1014 Attachment 199, Notes of Dr. Sallye Wilkinson, 4-5-2002.
'° 15 Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005.
1016 Jd.
1017 Attachment 199, Notes of Dr. Sallye Wilkinson, 4-5-2002.
1018 KAN Be Healthy (KBH) is a Medicaid program for children, teenagers, and young adults 20 years of age or
younger.
1019 Attachment 200, Kayla Boman, J.Rob Hutchinson, M.D., Physical Exam, 3-12-2002.

                                                      143


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noted he previously had pneumonia three times. 1020 Thirteen year old Chelsea had her physical

for school on the same day, and her physician noted she too had asthma and required an inhaler.

The physician referred Chelsea, Kayla, and C.J. for follow up lead testing. 1021 Chelsea's and

Kayla's lead level were< 3 and< 10 MCG/DL. 1022 Dr. Hutchison noted that Chelsea and C.J.

had asthma and that an old injury to Kayla's finger was not treated, resulting in a mallet finger

deformity. Dr. Hutchison reported that "[a]pparently there was some planned treatment at KU

Medical Center several years ago but this was not done in follow up." 1023 Kayla' s medical chart

noted under birth history that Kayla was born 10 weeks early and weighed three pounds and two

ounces. 1024 On August 8, 2002, Desiree sustained an elbow injury when she fell at home trying

to sit in a chair and missed the edge. She struck her elbow on the chair. She went to the ER, was

examined, and was discharged home with her family and advised to use ice and elevation. 1025

         Lisa and Kevin had "few friends as couples," and Lisa did not have close friends. 1026

Lisa attended church sporadically. She "was not enthusiastic" about attending her children's

sports functions, but her father in law, Roger Montgomery, shamed her into it. She sat on the

bleachers knitting during games. 1027 Lisa always tried to make extra money. She tried to sell her

tatting, crocheted items, and goat' s milk soap at local crafts fairs, but brought in very little profit.

Lisa "loved" attending Apple Fest in Topeka, Kansas, in costume. 1028 She made prairie costumes

for herself and her daughters with long dresses and bonnets, but the children were embarrassed




1020 Attachment 201, C.J. Boman, J.Rob Hutchinson, M .D. Physical Exam, 3-12-2002.
102 1 Attachment 202, Chelsea Boman, J. Rob Hutchinson, M.D. Physical Exam, 3-12-2002; Attachment 203,
Newman Memorial County Hospital Records, 3-12-2002.
1022 Id.; Attachment 200, Kayla Boman, J. Rob Hutchinson, M.D. Physical Exam, 3-12-2002.
1023 Attachment 200, Kayla Boman, J. Rob Hutchinson, M.D. Physical Exam, 3-12-2002.

1024 Id.
1025 Attachment 188, Desiree Boman, St. Francis Health Center Medical Records, 8-8-2002.
1026 Attachment 2, Declaration of Lisa Rickert incorporating interview with Joy and Roger Montgomery, 6-2-2005.
1027 Attachment 2, Declaration of Lisa Rickert incorporating interview with Joy and Roger Montgomery, 6-2-2005.

102s Id.


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                                                                                                                  B-145
by the spectacle. 1029 On October 25, 2002, Lisa took Kayla to Coffey County Hospital's Rural

Health Clinic for a sports physical. Twelve year old Kayla had no complaints, but staff noted

that Lisa did want them "to check a rash on the inner aspect of [Kayla's] left forearm," which

Kayla had for the past couple of months. 1030 The rash was composed of small, whitish, irregular

macular spots down the middle of her anterior forearm. Kayla's skin was extremely dry.

        In the 2002-2003 school year, Desiree entered the tenth grade at Marais, and her grades

declined. She received a Din Spanish II, a C- in world history, and B' s in accounting, animal

science, biology I, English 10, and Geometry. 1031 Chelsea entered ninth grade in Melvern High

School, where she would also attend the tenth and eleventh grades. Chelsea was a serious

student and earned an A in health and safety, B's in general science, English, and choir, and C's

in agriculture education, driver' s education and Algebra I. She lived at 820 North Ponca in

Dewey, Oklahoma. 1032

        Lisa and Kevin scrambled to make enough money to live on. Towards the end of the

year, in October, 2002, the court reduced the amount of child support Kevin had to pay from

$900 a month to $584 a month. Kevin and his former wife Lori were ordered to participate in

family counseling with the Mental Health Center of East Central Kansas. 1033 Kevin worked for

four different companies in 2003 but only earned $29,474 for the year. He earned $1,740 from

Coachmen Industries; $15,538 from Acme Sign; $3,664 from D. L. Smith Electrical

Construction; and $8,532 from Power Plant Maintenance. Lisa's income dropped to pre-

marriage levels.




10 29Attachment 79, Declaration of Chelsea Boman Veal.
1030 Attachment 204, Kayla Boman, Coffey County Hospital Sports Physical, 8-18-1990.
1031
     Attachment 195, Desiree Boman, Marais des Cygnes Valley High School transcript.
1032 Attachment 205, Chelsea Boman, Dewey Public Schools Records.
1033
     Attachment 173, Montgomery v. Montgomery, District Ct of Osage Co., Kansas, No. 97D-l 92.

                                                     145


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                            I.   2003

             Lisa continued to work early morning shifts and odd hours to mask her inability to keep

up with routine chores at home, but it was apparent she could not keep up. Her mother in law

commented that C.J. " looked like a 'rag bag' because his clothes were so tattered." 1034 Lisa

made $843 from Greyhound; $3524 from Neighborhood Markets; and $3,048 from Casey's in

2003. She had problems with her right wrist; on July 12, 2003, she went to the county hospital

for right wrist pain after hitting her wrist on a fence post. 1035

             Lisa tried to function around problematic periods of sustained mental absence from her

children and events around her. Her youngest daughter Kayla described how Lisa's lack of

contact with reality affected Lisa and the children:

             My strongest memory about growing up, as well as one of the saddest parts of my
             life is the fact that my mom was not present. Mom wasn't able to be either mentally
             or emotionally present in my life, or in the lives of my brother and sisters. She
             definitely was with me physically, but that is all. 1036

             Lisa was deeply compassionate and wanted to help her younger brother Teddy. In 2003

Lisa's brother Teddy "had a bounty on him," and he asked Lisa if he and his girlfriend, Bonnie.

with whom he had lived several years, and their child, five month old Justin Jo Lee

Kleiner, 1037could stay at Lisa and Kevin's. 1038 Kevin agreed on condition they did not bring

drugs into the home. Teddy and Bonnie lived with them from Januaiy to March 2003. Teddy

had a "sporadic" employment history and was unable "to maintain adequate housing for any




w34 Attachment 197, Declaration of Vanita June Boman.
1035 Attachment 206, Coffey County Hospital Medical Records, 7-12-2003.
1036 Attachment 167, Declaration of Kayla Deanne Boman.
1037 Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005

103s   Id.

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significant time." 1039 He was blind in his left eye from birth. 1040 Judy and Teddy's aunts told

caseworkers "they were afraid ofTeddy." 1041

            Teddy's time at Lisa's let him see many, many behaviors and symptoms of how mental

illness affected Lisa' s day to day life, everything from her disrupted sleep to her shifting and

                                                                                                   1042
unpredictable moods. Her irrational behavior made Lisa "difficult to live with."                          She " never

slept more than four or five hours." 1043 Lisa did "several different things at once . . ..reading ..

.knitting/tatting" while she did "her spinning wheel" and helped "the kids with homework all at

one time." 1044 Lisa started one project, lost track of it, and then started another. She "changed

                      1045
her mind a lot."             •   Lisa frequently had "severe" migraines, so painful that "she' d lay on the

couch and cry" and "could not move." 1046 Others noted Lisa's severe migraines, including Brett

and Tommy. Tommy saw Lisa "always taking aspirin . . ..for headaches." 1047 Earlier, in 1993,

Lisa had "vague physical complaints like headaches." 1048

            Lisa talked for 45 minutes straight without letting another person get a word in. Teddy

described Lisa's extreme manner of talking:

           Most people would leave the room while she was still talking. She talked about
           different topics, which ranged from craft project, sheep, wools, lawnmowers, quilts,
           Judy, Patty, internet, and back and forth. She talked this way for most waking
           hours, except for when reading. 1049


1039   Attachment 207, Justin Jo Lee Kleiner, The Farm, History, 1-27-2004.
io4o Attachment 31, Declaration of Teddy Kleiner, 2-15-2013.
1041 Attachment 207, Justin Jo Lee Kleiner, The Farm, History, 1-27-2005.
1042
     Attachment 57, Declaration of Holly Jackson incorporating interview with Teddy Kleiner, 3-12-2006.
1043 Id.
1044 Jd.
104s Id.
1046 Attachment 2, Declaration of Lisa Rickert incorporating interview with Teddy Kleiner, 7-28-2005; Attachment

57, Declaration of Holly Jackson incorporating interview of Teddy Kleiner, 3-12-2006.
1047 Attachment 2, Declaration of Lisa Rickert incorporating interview with Tommy Kleiner, 3-9-(2005].
1048 Attachment 2, Declaration of Lisa Rickert Incorporating Telephone interview with Brett Owens, 6-17-2005; see

also Attachment 2, Declaration of Lisa Rickert incorporating interview with family, 3-10-2005 ( Lisa's mother,
Judy; Lisa's maternal half-sister, Jerri; and Lisa 's maternal niece Karen, whose mother is Patty, Lisa's maternal half
sibling, have migraine headaches).
1049
     Attachment 57, Declaration of Holly Jackson incorporating interview with Teddy Kleiner, 3-12-2006.

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Teddy went "outside to get away from Lisa." 1050

         Lisa was like one of the kids in the house, often not doing much housework, playing with

games, and " in her own little world." 105 1 Lisa did not have a realistic appreciation of budgeting

and finances. She "never waited until payday to buy things. Anything she wanted, she bought,"

and she often bought "useless stuff. " 1052 Teddy witnessed Lisa's sudden mood changes. One

day, as Chelsea helped her mother spin sheared Lamb's wool onto a spool, the spool slipped

from Chelsea's hand and fell to the floor. Lisa "immediately flew into a verbal and physical

rage," hitting Chelsea on her face. 1053 Lisa stopped after Teddy intervened. C.J. had chronic

asthma. He had an allergic reaction to an unspecified allergen and was treated for a rash and

chest pain, in March, 2003. 1054

         For Teddy, " living with Lisa and Kevin was like living with the Amish. Lisa worked,

knitted, sewed, canned, and farmed." Lisa's daughter Desiree tried to run the household, but she

was too young and under too much pressure. Desiree "slapped the other kids around." 1055 In

contradiction to her desire to live an old fashioned life style, Lisa spent most of her time while at

home on the computer. 1056 Lisa was an "over spender," one of the flag ships of untreated bipolar

mood disorder, and it created enormous financial pressures on her and Kevin. 1057

        Lisa and Kevin wanted to help Teddy get a job and Bonnie to learn to parent. Kevin' s

father loaned Teddy and Bonnie a vehicle to use. 1058 Kevin bought Justin baby food and clothes

and gave them all shelter. Lisa and Kevin' s assistance, while caring and compassionate, was



I05o  Id.
1051  Id.
1052 Id.
1053
      Attachment 181 , FBI 302 Interview with Teddy Kleiner, 1-12-2005.
w54 Attachment 209, C.J. Boman, Coffey Co. Hospital Records, 3-24-2003.
1055
      Attachment 2, Declaration of Lisa Rickert incorporating interview with Teddy Kleiner, 7-28-2005.
1056 Id.

io5 • Attachment 2, Declaration of Lisa Rickert incorporating interview with Joy and Roger Montgomery, 3-9-2005.
105s Id.


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totally inadequate to overcome Teddy and Bonnie's considerable short comings as parents.

Child protective services immediately removed Justin from Kevin and Lisa's home and placed

Justin in foster care. 1059 Teddy asked Lisa and Kevin to consider rearing Justin, and they

agreed. 1060 The Kansas Department of Social and Rehabilitation Services (SRS) flat out rejected

the idea of Justin being placed with any family member, including Lisa, because the ever

changing alliances within the Montgomery and Kleiner families and family feuds made it

difficult to utilize family resources. 1061 The social worker also concluded " there was too much

animosity in the family" to place Justin within the family. 1062 They placed the infant with an

established foster parent couple. Various family members visited Justin at the foster parents, and

the caseworker again noted "There was a lot of animosity between family members." 1063

          Teddy "went to rehab" in March 2003. 1064 Bonnie stayed with Lisa and Kevin where

"she felt like a hostage." 1065 Lisa visited Teddy in rehab and "told him her baby was brain dead

but that she had to carry it full term." 1066 Lisa " looked strange." 1067 Lisa returned to rehab and

told Teddy the baby died, but Teddy figured out that there was no baby. He did not tell her he

knew there was no baby. 1068 Kevin ' s former wife reported that on February 30 2003, Lisa gave

birth to a stillborn and donated the body to science. 1069




1059 According to Teddy, who is Justin' s father, and Bonnie, who is Justin's mother, they "were only with Lisa and

Kevin one day when Lisa's friend Lori Dunn from the Sheriffs Department came and took Justin and placed him in
foster care." (Attachment 2, Declaration of Lisa Rickert incorporating interview with Teddy Kleiner, 7-28-2005).
1060
      Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005.
106 1 Attachment 211 , KS Dept. of Social and Rehab Services, Children and Family Services, Court Report, 3-31-

2003.
1062 Attachment 207, Justin Kleiner, T he Farm, Timeline, 8-4-2003.
1063 Id.
1064 Teddy entered the 12-12 Rehab Center, 1212 East 12th Street, Tulsa, Oklahoma. (Attachment 2, Declaration of

Lisa Rickert incorporating interview with Teddy Kleiner 7-28-2005).
106Sld.
1066 Id.
1061 Id.
106s Id.
1069 Attachment 2 12, FBI Interview with Lori Colwell, 2-15-2005.


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             The subsequent legal battle in 2003 for custody of Teddy and Bonnie's son spotlighted

long standing feuds, grudges, and antagonism that colored all family interactions. Lisa's

mother, Judy, intervened and asked for custody of Justin to be awarded to her. 1070 At one point

both Lisa and Judy wanted Justin, and Teddy was very "confused" and did not know "what was

real." 107 1 Teddy was troubled by "self-doubt" and "low self- esteem," and had required

treatment with psychotropics including Geodon, an antipsychotic, and he also self medicated

with Wellbutrin in the past. 1072 Teddy had already terminated parental rights to his first child, a

daughter named Hope, so his mother would not get custody of her. 1073

             Hope 1074 was Teddy and Bonnie's first child who was born with gastroskeisis which

required surgery and subsequent hospitalization for one month. Oklahoma courts terminated

parental rights of both Teddy and Bonnie and placed Hope with the Division of Family Services

(DFS) for the purposes of adoption, because Teddy and Bonnie did not provide adequate medical

care. DFS also requested that "neither biological parent be allowed visitation with Hope." 1075

Judy and her sixth husband, Danny Shaughnessy, 1076 requested that Hope be placed in their

home. They travelled between Kansas and Oklahoma frequently to visit with Hope, participated

in a home study, and submitted persuasive letters of recommendation from neighbors, friends,

and local business people who had known Judy only for the past two years.




1070
     Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005.
1071
     Attachment 2, Declaration of Lisa Rickert incorporating interview with Teddy Kleiner, 7-28-2005.
1072 Attachment 210, Teddy J. Kleiner, Kansas Department of Corrections, Mental Health Evaluation 1-21-2004.
1073
     Attachment 2, Declaration of Lisa Rickert incorporating interview with T eddy Kleiner, 7-28-2005, p.6; see also,
Attachment 2, Declaration of Lisa Rickert incorporating interview with Judy Shaughnessy 3-14-2005, p.5. (Judy
was "back and forth trying to get custody of Hope.")
10 4
  " Attachment 27, Hope K leiner (DOB 8-1 9-1999) (Oklahoma Department of Human Services, Home Study, 7-18-
200 1).
101s   Id.
1076Danny Shaughnessy (DOB 5-28-1 950) completed three tours of duty in Vietnam and was honorably discharged
from the U.S. Navy in 1972. He was previously married for 23 years and had fo ur children with his ex-wife. He
"had a time in his life where he struggled with alco hol dependency . .. .Danny has been sober for 3 ½ years." (Id.).

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         The caseworker for the home study for Hope Kleiner took Judy at her word, and Judy

painted a pastoral life style for her and her sixth husband: farming, enjoying hobbies, and

staying home. The study did not reference Judy's alcoholism, humiliation and physical

maltreatment of her children, and the chaos and fear her children experienced as they grew up.

Judy acknowledged she was married multiple times, but told case workers she had only four

instead of five previous marriages. The case worker accepted and reported that Judy and Danny

"come from families where marriage is a lifelong commitment," despite both their reports about

past failed marriages. 1077 Judy misrepresented her practice of physically abusing her children

and said only that she had spanked them. Judy acknowledged that her past man-iages failed for

reasons including "substance abuse, domestic violence, extramarital affairs and the Vietnam

war." 1078 She also falsely claimed that she and Richard Boman lived all over the United States

during their marriage due to his active enlistment in the U.S. Military. 1079 Lisa did not publicly

oppose her mother's adoption of Hope. Child and Family Services originally approved Judy to

adopt Hope, but the adoption by, and placement with, Judy were canceled September 19,

2001. 1080

        Teddy completed his inpatient treatment program March 24, 2003, and did not want to go

back to Lisa' s to live. 108 1 His treatment team recommended long-tenn out-patient care for the

next three to five years. 1082 He and Bonnie got their own place, a trailer in Ottawa, Kansas, and

Teddy tried to distance himself from Lisa because of what he considered her "strange behavior"

about the baby. 1083 Teddy and Bonnie moved to Ottawa, he did not have a driver's license, he


lo-? Jd.
1018 Id.
   9
rn- Attachment 264, Hope Kleiner Home Study 3-7-00
1080 Attachment 214, Kansas Interstate Compact on Placement of Children, 9- 19-2001.
1081 Attachment 2, Declaration of Lisa Rickert incorporating interview with Teddy Kleiner, 7-28-2005.
1082 Attachment 265, Salvation Anny Shield of Service Discharge Summary for Teddy Kleiner, 3-31-03.

ws3 Attachment 2, Declaration of Lisa Rickert incorporating interview with Teddy Kleiner, 7-28-2005.

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got laid off at his job, and he started to make methamphetamine. 1084 Some family members

believe Judy turned Teddy in to authorities for an advantage in seeking custody of Justin. 1085

             Within short order, Teddy was arrested July 22, 2003, and sentenced to prison, but not

without contributing to an enormous family battle that surrounded Teddy's arrest. Teddy ran a

meth lab in his trailer in Ottawa, Kansas, and after his arrest, Lisa and her sister Patty went to the

trailer to try and clean it. Tommy "showed up" at the trailer and tried to rip out the walls

"looking for Teddy's hidden stash." 1086 Lisa confronted Tommy and asked him ifhe was

involved in Teddy's math lab, and Tommy "started threatening to cut" Lisa and Patty's

throats. 1087 Lisa filed a complaint with the Osage County Sheriff against Tommy for threatening

to kill her and Patty. 1088 Lisa feared that if Tommy got angry he would "hurt somebody" and

"retaliate" against her. 1089 Tommy had choked Lisa with a phone cord several years earlier. 1090

Patty and Tommy later denied that Tommy threatened Lisa. 1091 Tommy was arrested July 25

2003, 1092 the day after the confrontation at the trailer, and Lisa stopped visiting her mother's

home. 1093 Later that day, Judy signed a surety bond for Tommy so that he could be bonded out of

jail. 1094

             Lisa abandoned her plans to gain custody of Justin and devoted her effort to prevent Judy

from obtaining custody of the child. Lisa believed Justin would be "better off'' in foster care


1084
       Attachment 2, Declaration of Lisa Rickert incorporating interview with Joy and Roger Montgomery, 3-9-2005.
1oss Id.
1086
     Attachment 213, In the Matter of Justin Kleiner, Tr. 169, Testimony of Lisa Montgomery.
1081 Id.
1088
     Attachment 266, Montgomery v. Kleiner, District Court of Osage County, No. 03-DM-198, 12-01-03.
1089
     Attachment 213, In the Matter of Justin Kleiner, Tr. 173, Testimony of Lisa Montgomery
1090 Attachment 29, In the Matter of Justin Kl einer Testimony of Desiree Boman.
1091
     Attachment 213, In the Matter of Justin Kleiner, Tr. 174, Testimony of Lisa Montgomery.
1092
     Attachment 216, Tommy Kleiner Franklin Co. 2003 misc. court records : On 9-10-2003, the court sentenced him
to 60 days supervised release on misdemeanor assault charges. The sentence was suspended and Tommy was put on
12 months of probation. The court also ordered Tommy to stay away from Lisa.
1093 Attachment 213, In the Matter of Justin Kleiner, Tr. 176, Testimony of Lisa Montgomery.
1094
     Attachment 215 State of Kansas v. Tommy L. Kleiner, District a. for Franklin Co., No. 03-CR-242. 2003,
Appearance Bond.

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than living with Judy. 1095 Lisa attended a number of court hearings on custody of Justin. 1096

Despite or because of Judy's maltreatment of Lisa, Lisa "desperately" wanted a relationship with

her mother, but her decision not to support Judy's attempt to gain Justin' s custody case sealed

Judy's antagonism toward Lisa. 1097 A fall 2003 home study reported that " Lisa and Judy have a

strained relationship and Lisa is not allowed to come to Judy's home." 1098 The case worker

noted that Teddy was physically abused, Jack was an alcoholic, Judy drank and "slept around,"

and Lisa was Teddy' s caregiver." 1099 The case worker also noted that Patty was an inter-racial

child with "no father's name noted." 1100

        Lisa' s behavior and testimony against Judy at Justin's custody hearings were strange. She

dressed in her "Laura lngalls's" outfit, the same one that had embairnssed her daughter. 1101 In

the middle of Lisa' s testimony she cried hysterically. 11 02 When Lisa had her outburst, she

looked dramatically different, " like her soul left her." 1103 Lisa brought a "computer baby" to

court that was part of Desi' s or Chelsea's school assignment. Tommy "could not tell if Lisa

acted like it was a real baby." 1104 Tommy thought the episode was "~eird and crazy." 11 05 Lisa

testified and rambled about how she, Tommy, and Patty had a confrontation at the trailer shortly

after Teddy's arrest. Lisa also testified that she had her tubes un-tied two years previously in

Topeka and that she had a stillborn baby May 30, 2003. 11 06




1095 Attachment 2, Declaration of Lisa Rickert incorporating interview of Kevin Montgomery, 7-28-2005.
1096 Id.
1097 Id.
1098 Attachment 217, Justin Kleiner, Adoptive Home Study, 9-12,16,17 and 22-2003 ..
1099 Attachment 218, Justin Kleiner, Pediatric Associates, Medical Screening Records, 3-17-2004.
1100 Id.
1101 Attachment 2, Declaration of Lisa Ricke11 incorporating interview with Teddy Kleiner, 7-28-2005.
11021d.
1103 Id.
1104 Attachment 2, Declaration of Lisa Rickert incorporating interview with Tommy Kleiner, 3-9-(2005).
1105 Attachment 41 , Declaration of Tommy Lee Kleiner.
1106 Attachment 213, In the Matter of Justin Kleiner, Tr. 179, Testimony of Lisa Montgome1y.

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             Although Lisa deeply believed that Justin should not be subjected to the abuse she and

her siblings experienced, she made no mention of it and instead reverted to describing Judy's

loyalty to one child over another. The judge was bewildered about the purpose of her testimony,

and asked her to clarify it, but Lisa, like many abuse victims, could not do it:

            THE COURT: Okay. Court's trying to figure out exactly what your motivation is
            for being here today. Are you here because you want to set - you want to tell the
            truth about facts?
            MS. MONTGOMERY: Yes. I got involved with this when Teddy and Bonnie
            came to my house asking for help. Teddy wanted to go to rehab. Bonnie needed a
            place to stay with Justin. They had nothing for him. I spent a whole day getting a
            playpen, diapers, everything that baby needed. And when Laurie Dunn called and
            said she needed to check on him, I said come out. And they took him and put him
            in foster care. I was okay with that so Teddy and Bonnie could get their lives back
            on track. I did everything I could for almost two months to help Teddy and Bonnie.
            THE COURT: Are you mad at Teddy and Bonnie, or mad at your mother?
            MS. MONTGOMERY: I'm not mad at Teddy and Bonnie. 1 was disappointed in
            what they did, but I'm not mad at them, no.
            THE COURT: How would you describe your relationship with your mother?
            MS. MONTGOMERY: It's been - we were getting along, trying to get along up
            ti! Justin was born. And things that she said and did make, you know, wonder.
            . . . My mom had every intention of taking custody of him [Justin], that's what she
            wanted, it was her goal, not to try and help Teddy and Bonnie get their lives back
            on track, but to take Justin . . . [S)he thought she could get custody of Justin . . .
            THE COURT: Well, I guess the problem I'm having here, I' m trying to understand
            your motivation for testifying . . .
            MS. MONTGOMERY: . . . I was here at the first hearing. I helped Teddy and
            Bonnie with their visits getting transportation. My in-laws even gave them a car so
            they could do that on their own. But I have stayed out of it until the last hearing
            last month when I was called and asked how I felt about my mother getting custody
            of Justin. l felt that that's not a good idea when she was willing to let my brother
            terrorize us and then cover for him so that she would be able to get custody of
            Justin.
            You don' t know what it' s like to go to your mom and say your little brother's taking
            a knife and threatening to kill you, and she's saying don't say nothing, let it go or I
            won't get that baby?
            THE COURT: All right. Anyone else want to follow up on any of that?
            MS. MONTGOMERY: And then they covered for each other. They have.
            THE COURT: Anyone? All right. I guess you can step down. 1107




11 07   Attachment 213, In the Matter ofJustin Kleiner, Tr. 177-181 , Testimony of Lisa Montgomery.

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                                                                                                      B-155
         Judy considered involuntarily committing Lisa to a psychiatric hospital. During the

custody hearings for Justin, Judy asked her attorney what it would take to get Lisa committed

and learned "Lisa would have to be considered a threat to herself or others." 1108 There is no

documentation that Judy took any further action, but Danny Shaughnessy told Justin's

caseworkers "he and Judy tried to get Lisa mental health help" early in 2004. 1109

         The lines of reality fmther blurred for Lisa, and she took on the character and appearance

of her cousin, Wendy. Wendy was "Lisa's best friend," according to Teddy. 1110 When the

family went to comt on the custody of Justin, Lisa seemed to be "trying to be her cousin Wendy

Tribes. She dressed like her, acted like her, and had her hair the same as Wendy." 1111 Wendy

already had many children and told Lisa the next child she had would be named Abigail - the

same name Lisa ultimately gave to the Stinnett baby. 1112 In January 2003, Wendy gave birth to a

daughter after a tubal ligation reversal. 111 3

         On June 25, 2003, Lisa took 14 year old Chelsea to the ER at Coffee County Hospital

when Chelsea collapsed and passed out while doing dishes. Chelsea had not started her menses

yet. She had a frontal headache without nausea intermittently for three weeks and was

lightheaded. She was diagnosed with near syncope, "Hypoglycemia," and headache and

instructed to take Tylenol or Motrin as needed for headaches and to eat frequent small

carbohydrate rich meals. 1114




1108  Attachment 2, Declaration of Lisa Rickert incorporating interview with Judy Shaughnessy, 7-26-2005.
1109  Attachment 219, Justin Kleiner, Case Activity Log for Monthly Family Contact, 12-20-2004.
1110
      Attachment 54, Ron Ninemire interview with Teddy Kleiner, 1-22-2005.
1111
      Attachment 2, Declaration of Lisa Rickert incorporating interview with Judy Shaughnessy, 3-14-2005.
111 2 Id.
1113 Attachment 19, Declaration of Wendy Treibs.
11 14
      Attachment 220, Chelsea Boman, Coffey Co. Hospital Records, 6-25-2003.

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         On August 18, 2003, Lisa started work at Casey's in Kansas as a cashier. 111 5 On August

26, 2003, Carl Boman fell off a cart, suffered a right radial head fracture that required surgery,

and received Worker's Compensation until December, 2003. On November 7, 2003 , Lisa sought

medical treatment for left ankle pain. She had no history of an injury to the ankle but it was

tender with palpation. Her left foot was x-rayed, and there was no deformity, dislocation, or

fracture. The physician prescribed Darvocet-N 100. 1116

         In the 2003-2004 school year, Desi was in the eleventh grade at Marais des Cynes Valley

High School. She did better than the year before and received an A- in agriculture business,

B+'s in chorus and plant soil science; B's ag mechanics and anatomy, and B-'s in chemistry and

English II. Her absences crept up to 16 from eight the previous year. 111 7 Chelsea began the

tenth grade at Melvern High School for the 2003-2004 school year. 1118

         Lisa did not attend Thanksgiving dinner at Judy and Danny's, but Patty and her

daughters, Justin, Jerri Jo and her daughter, Desiree, and Kayla attended. Tommy had to stay on

the back porch because he was not allowed by SRS and The Frum to be near Justin. On

November 30, 2003, Lisa called the Lyndon police because Tommy showed up at Casey's where

Lisa worked and violated the order to stay away from her. 1119 On December 1, 2003, Lisa filed

for protection from stalking against Tommy, and a day later Tommy' s probation was revoked

because he tried to contact Lisa, in violation of his conditions of probation. 11 20 At a 2003

Christmas school program, Judy and Jerri Jo told Lisa's daughter Desiree to tell Lisa to "watch

her back." 1121


1115
      Attachment 22 I, Casey's General Stores, Inc., Emp loyment file of Lisa Montgomery.
111 6
      Attachment 222, Cotton-O 'Neil Clinic, Topeka, KS, l 1-07-2003.
1117
      Attachment 195, Desiree Boman, Marais de Cygnes Valley High School Transcript.
1118
      Attachment 205, Chelsea Boman, Dewey Public Schools Transcript.
1119 Attachment 223, Kansas v. Kleiner, Franklin Co. District Court, No. 03-CR-242.

11 20 Id.
112 1 Attachment 29, In the Matter of Justin Kleiner TR 149, Testimony of Desiree Boman


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         Lisa went to Dr. Rob Hutchinson at Coffey County Hospital for a stubbed toe on her left

foot. Radiology concluded degenerative changes occurred but there was no fracture or

significant swelling. 1122

                         m. 2004 Shifting Alliances

        By the time 2004 began, Lisa was alienated from everyone in her family of origin. Judy

built a coalition against Lisa built upon Judy's children's dependency on Judy. Judy recognized

that all of her children were "screwed up," unable to live independent lives, and required her

help. 1123 Lisa's siblings also had ever changing dynamics with their mother and with each other.

Teddy described his family: "They all play games. They all tum on each other." 1124

        Relationships, loyalties, and perceptions constantly shifted in Lisa's family, as children

and adults alike tried to appease Judy and the series of abusive men she brought into the home.

Children formed and dissolved relationships with each other in reaction to omnipresent coercion

by Judy who withheld or granted safety, food, shelter, clothes, and love as rewards for allegiance

to her. One cousin concluded the entire family was "two-faced." 1125 "Lisa is not close to anyone

in the family." 1126 "Lisa got along with Teddy up until he went to prison." 1127 "Patty and Jerri

don't like Lisa." 1128 Tommy Kleiner, Lisa's younger maternal half-brother, had the most violent

relationship with Judy, 1129 and in 2004 time, had a violent relationship with Lisa.




1122
      Attachment 224, Coffey County Hospital Records, 12-12-2003.
1123
      Attachment 2, Declaration of Lisa Rickert incorporating interview with Judy Shaughnessy, 7-26-2005.
1124 Attachment 2, Declaration of Lisa Rickert incorporating interview with Teddy Kleiner, 7-28-2005.
11 25 Attachment 2, Declaration of Lisa Rickert incorporating interview with Kenny Alexander, 7-26-2005.
1126
      Attachment 2, Declaration of Lisa Rickert incorporating interview with Tommy Kleiner, 3-9-(2005].
11 27 Id.
112s Id.
1129Attachment 225, Kansas v. Tommy Kleiner, District Court of Shawnee Co., No. 98-CR-01335: On April 5, 1998,

20 year old Tommy threatened to hurt Judy "really bad" unless she returned to her fifth husband, Hector Ochoa.
Tommy accused Judy of"sleeping with other men." He was arrested May 15, 2998 and charged with Criminal
Threat, and the charges were dismissed July 28, 1998. At the time, Tommy's address was 1919 S.E. Adams, # 15,
Topeka. Witnesses in the case were Alice Derry, Judy 's sister, Judy, and Hector Ochoa.

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         Lisa's former brother in law, Allen Baldwin who was married to Patty, described a family

reunion where Lisa was ostracized and ridiculed:

         Allen and Patty returned to Topeka, Kansas for a family reunion in 1996. All of
         the siblings (Tommy, Teddy, Jerri Jo, Patty and Lisa) stayed at their aunt's house.
         All of the siblings were "extremely rude" to Lisa during the family reunion. They
         made fun of her hair and her clothes. That evening Allen took Patty aside and told
         her she should be ashamed of herself for treating her sister that she hadn't seen for
         a long time so harshly ... Allen said their treatment of Lisa at the family reunion
         reminded him of school children. There's usually one kid who is picked on. When
         the next school year arrives, it doesn't matter that it' s a brand new school year, the
         kids still pick on the identified one and don't give them a fresh start. He felt sorry
         for Lisa. 1130

         Lisa and Kevin's finances were complicated by a dizzying schedule of payments Carl had

to make to Lisa for their children and Kevin had to make to Lori for their children. Neither Carl

nor Kevin was able to meet their financial obligations. On February 2, 2004, the comt ordered

Carl Boman to pay $1,386 a month for child support. 1131 Carl's ability to pay child support was

very limited due to nerve surgery on his elbow on May 19, 2004, where be sustained some

                          1132
permanent disability.            Nonetheless, On June 25, 2004, the court issued an order to Carl's

employer to withhold income for child support in the amount of $919 a month. On July 20,

2004, Carl was ordered to pay an additional $1478 for arrears from any lump-sum settlement he

received from Zinc Corporation. 1133 On October 15, 2004, Carl, who received worker's

compensation, sought a suspension of his child support payments to Lisa. 1134 On the same date,

Carl's worker's compensation benefits were terminated by the insurance company based in part




1130 Attachment  94, Dani W aller interview with Allen Baldwin.
1131 Attachment 267, Carl Boman, Motion for Modification of Child Support 2-2-04
1132 Attachment 127, Carl Boman Worker's Compensation, Bartlesville Surgery Center : On 8-26-2003 Carl fell

from a golf cart onto blacktop while working for Zinc Corporation of America and suffered a right radial head
fracture that required surgery and physical therapy. T he injury caused him persistent pain, he was unable to work,
and he applied for Worker's Compensation.
1133 Attachment 111 , Kansas v. Carl Boman, Motion for Involuntary Assignment of Wages, Dist. Court for Osage

co. Kansas, No. 00D-000157
1134 Attachment 184, Kansas v. Carl Boman, Dist. Court for Osage Co., Kansas, No. 00D-157.


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on a report prepared by Dr. Tracy Painter. 1135 On October 18, 2004, Carl filed to stay child

support payments because he had no income due to his disability. 1136 On March 12, 2004,

Kevin's child support was increased from $389 a month to $553 a month plus $165 a month for

arrears. 1137 Kevin was employed at Acme Sign in Kansas City. On May 4, 2004, Kansas's SRS

reduced Kevin's child support to $507 monthly and $165 monthly for arrears. Kevin's monthly

income was $2427. 1138


         In 2004, Lisa held three jobs, so her income increased, but her ability to manage finances

- or anything else for that matter - decreased. She earned $8865 from Greyhound; $2073 from

Casey's General Store; and $4225 from Legacy Restaurant Group. 1139 Judgment was entered

                                                                                       °
against Lisa on behalf of Coffey County Hospital for $400 for services. 114 Financial problems

mounted. Lisa and Kevin owed James McMurray, their dentist, $1500, but he wrote off the

debt.1141

        Lisa was not able to keep up with the day-to-day tasks of parenting as she raced from one

unrealistic plan to the next. Lisa insisted on doing things "the old fashioned way" even though

she had little time for chores. She tried to make the children "do household or gardening

chores," but "stopped supervising them," and it showed in the poor state of her home. 1142 She

expected the children to use an outdated wringer washer, cook, can, and keep the house clean.

Although Lisa "generally did not keep a clean house," the housekeeping was "completely




1135
      Attachment 268, History and Physical of Carl Boman by Dr. Tracy Painter, 9-1-2004.
1136
      Id., at Motion to Temporarily Stay Child Support and Motion to Determine Child Support, 10-18-2004.
1137
      Attachment 173, Montgomery v. Montgomery, District Ct. for Osage Co., Kansas, No. 87D-l 92.
IIJs 1d.
11 39
      Attachment 120, Lisa Montgomery Social Security Itemized Earnings Statement.
1140 Attachment 233, Coffey Health Systems v. Lisa Montgomery, No. 2004-LM-Ol 08, Judgment in the amount of

$400.
1141
      Attachment 234, James H McMurray, DDS, Account History Report.
1142
      Attachment 2, Declaration of Lisa Rickert incorporating intervi ew with Joy and Roger Montgomery, 6-2-2005.

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neglected" after she became obsessed with dog breeding in 2004. 1143 The house and garden went

untended all year. 1144 Weeds took over the garden. 1145 Lisa let her garden "slide" in 2004, as she

sank deeper and deeper into depression. 1146 C.J. noticed that Lisa "was much more detached"

and he " had to repeat things to her more than one time." 1147

        In February, 2004, Kevin encountered his yet another false pregnancy with Lisa, although

he continued to believe the pregnancies were real. He bought a home pregnancy test for Lisa,

but never saw the test results. Kevin did not question that she was pregnant, because he and the

children heard Lisa vomiting. At first, Kevin and Lisa did not want to tell anyone Lisa was

pregnant because of the trouble with the pregnancy in 2002. Kevin worried about Lisa working

three jobs at Greyhound, Casey's General Store and Wendy's. Kevin felt "guilty" because he

couldn't get another job to help with finances because his wages "would be taken for child

support." 1148 Kevin once again believed he saw physical signs of Lisa's pregnancy: her " belly

got bigger, her breasts got bigger, she wore loose clothing." 1149 He believed he "felt the baby

move. 1150

        On February 22, 2004, Lisa and Tommy testified at Tommy's probation revocation

hearing in Franklin County. Patty's alliance switched to Tommy though Patty was present when

Tommy threatened to cut her and Lisa's throats. 1151 The day after testifying at Tommy's

probation revocation hearing, Lisa filed for a protection order to keep Judy and Patty away from

Lisa and Lisa' s children. Lisa claimed that Judy threatened to interfere with Lisa's family. Two


1143  Id.
1144  Id.
1145 Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005.
1146 Attachment 2, Declaration of Lisa Rickert incorporating interview with Isabel Phelon, 3-9-2005.
114 " Attachment 168, Declaration of Carl James (C.J.) Boman II.
11 48 Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005.

1149 Jd.
1150 Id.
11 51 Attachment 213,, In the Matter ofJustin Kleiner Tr. 179, Testimony of Lisa Montgomery


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weeks later, on February 25, 2004, Lisa moved for a dismissal of this order, and dismissal was

granted. 1152

         Lisa, Desiree, and Kayla prepared affidavits to file with the court in the ongoing dispute

about Justin's custody. Desiree asserted that Judy and others smoked around Justin, who had

recurrent respiratory problems, that Judy allowed Tommy to visit when Justin was in her home,

that Judy and Jeni Jo threatened Lisa and Kevin if they opposed Justin being placed with Judy,

and that Judy took Desiree away from Lisa years earlier. Kayla signed an affidavit saying much

the same thing as Desiree and adding that Danny Shaughnessy drank and that Judy will retaliate

or provoke Tommy to retaliate if Kayla and Desiree testified. Lisa also signed an affidavit

summarizing Tommy's assaultive behavior against her July 24, 2003. Lisa also stated that Judy

asked L isa not to report Tommy's behavior because it would interfere with Judy's efforts to

adopt Justin. 1153

         Lisa lost her battle to protect Justin from Judy. On April 4, 2004, the court placed Justin

with Judy and Danny Shaughnessy, 1154 and Teddy and Bonnie signed statements of unfitness to

parent. 1155 Caseworkers requested that Justin have " no contact" with Tommy Keiner "due to his

history of domestic violence. He has had charges against him by his ex-girlfriend and two of his

sisters." 11 56 Lisa also suspected that, after she filed for protection from his stalking her and his

probation was suspended, he ran over the children' s dog and threw it on the front porch . 1157




1152
     Attachment 236, Montgomery v. Shaughnessy, Dist. Ct. for Osage County, KS, Case No. 2004-DM-000023,
Order of Dismissal, 2-25-2004.
1153 Attachment 213, In the Interest of Justin Jo Lee Kleiner, a Minor Child, Transcript of Petition for Permanent

Guardianship, Testimony of Lisa Montgomery, 4-5-2004.
1154 Attachment 269, Waiver of Parental Rights for Justi n Kleiner by Bonnie Taylor and Teddy Kleiner.

1155 Id.
1156 Attachment 207, Justin Kleiner, The Farm, Court Update, March 3 1, 2004.
1157 Attachment 270, In the Matter of Justin Kleiner, Case Activity Log for Monthly Family Contact, 2- 10-2004.


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        The turmoil affected the children. On April 15, 2004, Lisa took Chelsea to the ER for

nausea and vomiting. 1158 The 15 year old was in tears and complained of pain in her abdomen

and throat, and staff noted she was depressed. She was diagnosed with viral gastroenteritis,

discharged home, and prescribed Phenergan. 1159 The same day, Lisa took Chelsea to Waverly

Medical Clinic for a drug screening and told staff that Chelsea "voiced that she might be wanting

to kill herself." 1160 Desiree had found Chelsea "throwing up in the bathroom at school." 116 1 Lisa

had "heard from friends and school friends that she [Chelsea] has threatened to kill herself." 1162

Lisa felt that there were "problems" with Chelsea. 1163 Lisa acknowledged that they had "some

family problems with the stepfather and her [Chelsea's] real father" and that she [Lisa] worked

outside the home and was not home a lot. 1164 Chelsea denied feeling bad in any way or having

any problems at school or at home. Chelsea said she had "no intention of committing suicide as

she want[ed] to go ahead and go to college after she gets out of high school." 1165 Chelsea had a

drug screen test, and the toxicology report came back negative. 1166

        The children started school in the fall for the 2004-2005 school year and did well in light

of the chaos at home. Desiree entered her senior year and brought home A's, B's, and C'. She

served as a teacher's aide and graduated high school in May 2005. Not surprisingly in light of

the interruption of her school year by her mother's arrest, her absences increased to 20 days. 1167

C.J. was in the tenth grade At Marais des Cygnes Valley High School in Melvern, and earned




11 58Attachment 237, Chelsea Boman, Newman Regional Health Center, Patient Discharge Sheet, 4-15-2004.
1159 Attachment 238, Chelsea Boman, Waverly Medical Clinic, 4-15-2004.
1160 Id.
1161 ld.
1162 Id.
1163 Id.
1164 Id.
1165 Id.
1166 Id.
1167 Attachment 195, Desiree Boman, Marais des Cygnes Valley High School Transcript.



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mostly A's and B' s, with two C' s in English 9 and general science. He had to retake 9th grade

English. 1168 Chelsea entered the eleventh grade at Melvern High School, and her grades

improved during the first semester, but of course fell precipitously in the second semester after

her mother's arrest. In the first semester, Chelsea made A 's in publishing and yearbook, B's in

principles of biology, computer applications, and physics. Overall, her class rank was 40 out of

81.1169

          Lisa was mentally confused and unable to provide a consistent narrative about her

pregnancy. By Kevin 's calculations, the due date was October, 2004, and he was surprised when

the due date moved to December. Kevin "wondered whether Lisa tricked him into not using

condoms," but never made an issue of it. 1170 Lisa told some people she was expecting a boy and

others she was expecting a girl. She told other people she was carrying twins and lost one of the

twins.1111

          In contrast to Kevin's solid belief that Lisa was pregnant, Lisa's mother and one of Lisa' s

sisters, Jerri Jo, did not believe Lisa was pregnant and did their best to dispel belief in Lisa's

pregnancies. Judy and Jerri Jo went to Kevin's parents' home, and told them Lisa was not

pregnant. Kevin and his parents dismissed the message as animosity towards Lisa. Kevin

thought Jerri Jo and Judy "were getting back" at Lisa for her stance during Justin's custody

battle. 1172 Judy explained that she was "tired of listening to Lisa' s and Kevin' s grief over the

2002miscarriage." 1173 Kevin also dismissed another warning that Lisa was not pregnant when




1168  Attachment 239, CJ. Boman, Marais des Cygnes Valley High School Transcript.
1169
      Attachment 205, Chelsea Boman, Dewey Public School Transcript.
1170
      Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005.
1111 Id.
, 112 Id.
1173
      Attachment 2, Declaration of Lisa Rickert incorporating interview with Judy Shaughnessy, 4-14-2005.

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Lisa' s sister Patty yelled at Kevin that Lisa had a tubal ligation. Kevin "had no clue what that

was."1174

         Lisa was not just out of touch with reality about her pregnancies. She was also out of

touch with reality when it came to her two dogs, given to her by Carl in lieu of payment for child

support. 1175 Lisa was consumed with the dogs and " paid attention only to the dogs." 11 76 Even

though she "was never much of a cleaner," the conditions in the home "got worse and

worse." 1177

        Lisa was not able to perform simple tasks. Kevin worried about Lisa but did not know

what to do. Lisa had a "short temperament with the children, she did not clean the house, she

spent too much time on the computer, paying too much attention to the dog breeding business,

and she wasn't paying the bills." 11 78 She was "very irritable." 1179 She was not able to make sure

the family' s animals were fed . 1180 In November 2004, when the weather turned colder, Lisa

brought the dogs into the house to keep them warm. The dogs were not house trained, and

urinated and defecated throughout the house. Lisa did not clean up after the dogs, and the rest of

the family followed suit.

        Lisa fretted and "worried" about her children spending time with their father, Carl, who

was unemployed. Carl wrote the comt that he was unemployed but promised to be back at work

soon and to get caught up on child support payments. 1181 Carl picked the children up in a pick-

up truck, he did not have "enough food" in the house, and he gave them new toys. 1182 Carl


1174
     Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery 7-28-2005.
1175
     Attachment 271 , Psychiatric Evaluation of Lisa Montgomery by Dr. William Logan, 5- 15-2007.
1176
     Attachment 2, Declaration of Lisa Rickert incorporating interview with Joy and Roger Montgomery, 3-9-2005.
i m Id.
1178
     Attachment 2, D eclarati on of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005.
11;9 Id.
11so Id.
11s1 Id.
1182
     Attachment 2, Declaration of Lisa Rickert incorporating interview with Joy and Roger Montgomery, 3-9-2005.

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wanted custody of C.J. and Chelsea, and school officials had to convince him to wait until the

school break. 11 83

         Lisa had poor judgment and made ill advised decisions to help others to the detriment of

her own fam ily. When she worked at Greyhound, Lisa brought "strangers home from work who

didn't have a place to stay." 1184 The strangers Lisa brought home "were always women with

children" who had no money or another place to stay. They stayed one night and left. 1185

         Lisa grew increasingly obsessed with an unrealistic plan to breed dogs to solve the

family's severe financial problems. No one is sure where she came up with the idea, but it was a

sudden decision that came without notice or discussion of realistic financial costs and potential

profits. Kevin tolerated Lisa's bizarre plans by dismissing them as the price he paid for living

with a " strong and independent" woman who liked "to do things her own way." 1186 Meantime,

the plan to breed dogs became another project Lisa could not complete and created more

problems than it solved. On the day of Lisa's arrest, law enforcement saw that the " house was

extremely fouled with days/weeks-old canine and rodent droppings." 1187

        Lisa's erratic behavior concerned her father in law, Roger, who came to believe that Lisa

had some "psychological problem that he doesn't understand." 11 88 Roger scolded Lisa her about

her poor performance as a wife and mother, told her to stop working three jobs, and to stop

spending time driving to dog shows. She was sometimes up, smiling, laughing, and enthused

about something and other times down and tired. She did not pay bills on time and did not keep

up with their income taxes. Lisa was " always tired," had headaches, and claimed and " looked



1183 ld.
1184
     Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgome1y, 7-28-2005.
118s Id.
1186 Id.
1187
     Attachment 181 , FBI 302 Interview with Teddy Kleiner, 1-12-2005.
1188
     Attachment 2, Declaration of Lisa Rickert incorporating interview with Joy and Roger Montgomery, 6-2-2005.

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like" she was pregnant. 1189 Roger felt "Lisa needed to be home more taking care of her house

and kids," but Lisa could not change her behavior and responded by avoiding Roger and his

impossible demands. 1190

         Kevin bought a home pregnancy test; Lisa used it, and told Kevin that she was pregnant.

She did not show him the actual results. Lisa told Kevin she would see Dr. Hutchinson for this

pregnancy. She showed a sonogram picture to him and the children. 1191

         Lisa suffered a further blow to her ability to be conscious of and attend to real life events

in July, 2004. 1192 Lisa's longtime friend from high school, Lori Kime Blalock, had a motorcycle

accident July 21 , 2004, and was in a coma. Lisa visited her in a Tulsa hospital and returned to the

hospital when "they took Lori off life suppo11" on July 29, 2004. 1193 Lisa's "grief was bad. Lori

and Carl McClain were Lisa' s only two friends from her childhood. Lisa "never adjusted to

losing her friend." 1194 "There were no more happy days" for Lisa, and her depression deepened

over the next four months. 1195

        Lisa was "short tempered" and "on edge." 1196 She "picked fights" with Kevin and the

children, and "it put a strain on the marriage." 1197 Lisa became paranoid and began to argue

constantly that Kevin had "a different set of rules for his kids." 1198 She acted irrationally and

grew upset with Kevin even when he enforced her own rules with her children. 1199 Kevin didn't

see Lisa "a lot," because she worked three jobs in the months before the offense. When he did



11s9  Id.
I 190 Id.
1191 Attachment 226, FBI 302 Interview with Kevin Montgomery, 12-20-2004.
11 92
      Attachment 227, Death Certificate of Lori B lalock.
1193 Id.; Attachment 2, Declaration of Lisa Rickert incorporating interview with Ke vin Montgome,y, 7-28-2005.
11 94 Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005.

119; Id.
I 196 Id ..
119- Id.
119s ld.
1199 Id.


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see her she was "run down and cranky." 1200 She "was constantly talking .. . Lisa told the same

stories over and over again." 1201 Lisa's nonstop talking, often a symptom of affective mood

disorders, aggravated a coworker's husband who "did not like her after they met because he

thought she talked too much." 1202

           Lisa could not keep pace with the needs of her children, even routine needs that others

met easily. Morning routines of getting the children up, preparing their breakfast, and helping

them get ready for school exasperated and overwhelmed her. She could not structurally figure

out how to go through the steps others take for granted. Lisa's coworker recognized that "Lisa's

children took care of themselves." 1203 Lisa sought and found work that took her away from

frustrating, impossible tasks of morning rituals. She went to work at Casey's, where her shift

started at 4:30 in the morning. Lisa "had to be there in the morning because she worked in the

kitchen and it was her job to make the donuts and pizzas." 1204 Lisa later explained that she

purposely chose low skilled jobs, because she did not believe she could learn more complex

tasks.

           Lisa's children were distressed by their mother's increasing bizarre behavior. They knew

"how different [Lisa] was from the other moms." 1205 Lisa "was always distracted and seemed to

be thinking about something else. Her body was around, but her mind was not with [the

children.]" When she attempted to play with the children, "she played in a weird way." 1206

Kayla, who started the tenth grade at Marais des Cygnes Valley High School and received A' s

and A-'s in all her courses, left home to go and live with someone she barely knew in


1200 Id.
1201
     Attachment 228, Declaration of Je1rny H ays.
1202 Attachment 198, Declaration of Cheryl Fine.
1203 Id.
1204
     Attachment 228, Declaration of Jenny Hays ..
1205 Attachment 167, Declaration of Kayla Deanne Boman.
1206 Id.


                                                    167


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Alabama. 1207 Desiree "talked her mother into letting Kayla go to live with Patricia Hughes in

Alabama." 1208 Tommy was charged with violating Lisa's protective order and was convicted

October 15, 2004. 1209 On August 18, 2004, Kayla went to live with Patsy Hughes in

Alabama. 121   ° CJ. wanted to go live with Carl, but Kevin opposed the plan, as did Lisa until
Carl "got up on his child support." 1211

         Lisa was increasingly paranoid. She told a coworker that "Carl was always telling lies

about her" and was "out to get her." 1212 Carl had fallen behind in child support and threatened

many times that he was going to try to get custody of the children "once he got his settlement

money from the Zinc Factory." 1213 Judy "cut ties" with Lisa, dashing Lisa's desperate hope that

she could please her mother. 1214

         Lisa quit work at Wendy's the first or second week ofNovember, because she was going

to have twins. 1215 Lisa received a form from the Kansas Department of Health which allowed

her to register a baby. 1216 She purchased baby items from Toys-R-Us. 1217 On November 16,

2004, Lisa received a citation of contempt for failure to appear for comt relating to money owed

Stormont Vail Hospital. 121 8 Lisa filed for maternity leave to start November 18, 2004 from



1207
     Attachment 248, Kayla Boman, Marias des Cynes Valley High School Transcript.
1208
     Attachment 2, Declaration of Lisa Rickert incorporating interview with Desiree Boman, 3-9-2005.
1209
     Attachment 246, Kansas v. Tommy Kleiner, District Court for Osage Co., Kansas, Case No. 2004-CR-168.
1210
     Attachment 249, FBI Interview with Kayla Boman, 8-22-2006.
1211 Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005.
1212 Attachment 198, Declaration of Cheryl Fine
1213
     Carl continued to claim that he was unable to work due to the 2003 injury at Zinc, and at least one physician
agreed with him. Laurence H. Altshuler, M.D., concluded that Carl sustained a 45% partial permanent impairment
to his right arm and could not return to the type of work - heavy lifting - he had done previously. (Attachment 127,
Carl Boman Worker's Compensation, Laurence H. Altshuler, M.D., 9-24-2004); Attachment 2, Declaration of Lisa
Rickert incorporating interview with Kevin Montgomery, 7-28-2005.
1214
     Attachment 2, Declaration of Lisa Rickert incorporating interview with Judy Shaughnessy, 3-14-2005.
1215
     Attachment 250, FBI Interview notes with Interview with Mona Marcotte.
1216 Attachment 251 , FBI Physical Evidence Retrieved From Glove Box, 1815(18) Appl ication for Registration of

Bi11h.
1217 Attachment 252, FBI Physical Evidence Retrieved From House, 1811 (26), Receipt from Toys-R-Us, 11-15-

2004.
1218 Attachment 191 , FBI Physical Evidence Retrieved from Glove Box, lBl 5(19) Notice to Appear.


                                                        168


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Casey's General Store, but it was later denied because she was not eligible. 1219 Lisa told Kathy

Dewey that Lisa was "carrying this one ok ... my body's not rejecting it."              1220   Lisa talked to

Lisa Green about feeling morning sickness, how her back ached and about a home birthing

kit. 1221 On December 9, 2004, Tommy was sentenced to six months in jail for violating Lisa's

protection order, the sentence was suspended, and he was placed on 12 month 's supervised

release. 1222 Carl filed for custody of his and Lisa's children arguing that C.J. and Chelsea

expressed a desire to live with him. Kayla did not express an opinion, and Desiree would come

of age soon. 1223

         Cru·I McClain spoke with Lisa on the phone about 4:00 p.m. the Tuesday before the

offense. Lisa was "irritable and distraught" and wanted everyone to quit asking about the

baby. 1224 Lisa felt "Joy Montgomery was pressuring her." 1225 Lisa had a nonstop list of crises in

her life: Judy and Lisa's relationship was bad; Teddy's son Justin was the subject of a custody

battle; Teddy was using drugs; Tommy recently broke into Lisa's house; Tommy threatened

Lisa's family; Judy defended her sons over Lisa; Carl Boman wanted custody of the children;

Kevin' s ex-wife needed child support for her children; Lisa also feared she might lose custody

of her children because her mother was helping Carl Boman in the custody battle; and Lisa




1219
     Attachment 244, FBI 302 Interview with Cheryl Fine, 12.23.04, p. l ; Attachment 229, FBI File I A32, Request
for Leave Form, 11-17-2004.
1220
     Note the word "one" is crossed out in I A61 ); Attachment 247, FBI 302 lnterview with Katheryn Dewey, 1-24-
2005.
1221 Attachment 245, FBI 302 Interview with Lisa Green, 12-23-2004.
1222
     Attachment 246, State of Kansas v. Tommy Kleiner, District Ct of Osage Co., KS, Case No. 2004-CR-168,
Journal Entry, 12-9-2004.
1223 Attachment I 84, Kansas, ex rel, v. Boman, Osage County, Kansas District Court, Case No. 00D-157, Motion for

Change in Custody, I 2-10-2004.
1224
     Attachment 2, Declaration of Lisa Rickert incorporating interview with Carl McClain, 7-13-2005.
ms Id.

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believed that Carl Boman killed a man while in the Navy because Carl Bowman had an affair

with bis wife. 1226

         After the telephone call from Carl McClain, Lisa lost control of herself and began

arguing with the children "over chores." 1227 She could not control herself and "wouldn't let it

rest." She became so upset that Kevin intervened in an effort to calm her. Lisa ran upstairs and

"dumped" an entire box of books down the stairs. 1228 She threw books at Kevin and told him to

leave. She threatened to take the children and leave. No one left that night, but Kevin "ended up

sleeping on the couch." 1229 Lisa came down stairs about 1:30 a.m. and lay down with him. They

eventually just went upstairs to their room. 1230 On December 15, 2004, Carl told Lisa he was

going to use the false pregnancy claims as a basis for obtaining custody of the children. 1231

                          m. Week of the Offense

        Lisa was coming aprut in the week leading up to the offense. Lisa believed that Judy was

behind Carl 's efforts to regain custody of the children. Her children were deserting her. Tommy

was going to prison. Teddy was in prison. Her best friend was dead. Lisa took a day off from

work, but was paralyzed and could do none of the chores she needed to accomplish. Kevin was

at the end of his rope with her inability to complete basic tasks and faulted her for being home

but doing absolutely nothing. She wasn't able to put up the Christmas tree or wrap presents. On

December 13, she really thought she had a baby that died. She believed she was a failure, that

she could not do anything right. She physically felt like she had given birth to a baby.




1226 Id.
1227
     Attachment 2, Declaration of Lisa Rickert, incorporating interview with Kevin Montgomery, 7-28-2005.
ms 1d.
1229 Id.
1230 Id.
1231
     Attachment 160, FBI Notes with Interview of Carl Boman, 1-24-2005.

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                                                                                                            B-171
        The day before the offense she drove to a hospital in Topeka and sat in her car in the

parking lot. She had a terrible headache and sat crying in her car. She could not stop crying. She

had a deep sense that something was very wrong with her and that she was losing her mind. She

was frozen. She could not get out of the car and go into the hospital. She was too paralyzed to

open the car door or to roll down the window and ask for help. She sat in the parking lot for three

hours, unable to move. Lisa was unable to articulate what she would have said had she gone into

the hospital. As she told the story, she c1ied and repeatedly stated that something was wrong with

her.

                       n. Lisa Post Arrest

       Lisa's description of events after her arrest are noteworthy in several aspects. First, Lisa

has consistently reported that being imprisoned is a relief because she is safe from violent and

degrading sexual acts by men, including Kevin, whom she continues to care for and respect.

Second, after Lisa's trial concluded and she was transferred to Carswell, BOP psychiatric staff

placed Lisa on a medication regimen that has allowed her to think more clearly; to plan and to

follow through with projects; and to be in contact with reality on a more sustained basis than

ever before in her adulthood. Third, Lisa has been able, with appropriate therapeutic intervention

and support, to begin a process of disclosing the torture she survived and how it affected her

behavior over time. It is impossible to predict the consequences of her disclosure, or even the

extent to which she will be able to disclose. Every care must be taken to protect Lisa's fragile

mental well-being. She may be able to continue to reveal and discuss events in her life that are

relevant to legal proceedings, but this process is extremely sensitive and must follow protocol for

assessing severely traumatized persons.




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                                                                                                      B-172
                            o. Post Arrest Family History

         After Lisa' s arrest in 2004, Judy continued to disrupt and control Lisa's family by

threatening them with criminal prosecution and imprisonment. One of Lisa's children, eighteen

year old Desiree, drove another sister, fourteen year old Kayla, to a dog show in Oklahoma City

without permission. Judy drove to Desiree's workplace and told her she was going to be

arrested for kidnapping. Desiree asked Kevin about it, and Kevin stopped Robert Gregory, a

Lyndon police officer, and asked him about the accusation. Officer Gregory told Kevin he had

heard that Judy had said that to Desiree, but assured there was no warrant out for Desiree's

arrest. Officer Gregory also told Kevin that Judy insinuated that Kevin was having sex with

Desiree and Chelsea. 1232

         The children were extremely traumatized by their mother's arrest and the charges against

her, but showed remarkable courage. Chelsea switched schools from Melvern to Lyndon High

School for the spring 2005 semester and managed to pass all but one of her classes (algebra II).

She was able to continue to work on the yearbook at the new school and earned a C in it, along

with C's in American literature, and American history. She received D' s in human anatomy and

independent study. A sympathetic teacher made Chelsea her teacher's aide, for which Chelsea

received a P. 1233

        Kayla, who lived with Patricia Hughes, withdrew from Can-oll High School in Ozark,

Alabama, April 21, 2005. She had a 4.0 GPA at the time she withdrew. On March 29, 2005,

eighteen year old Desiree went to the hospital for headaches. She worked at Wendy's and

received Medic-Aid. Her address was 409 NW Lincoln in Melvem. 1234



1232
     Attachment 2, Declaration of Lisa Rickert incorporating interview with Kevin Montgomery, 7-28-2005.
1233
     Attachment 205, Chelsea Boman, Dewy Public Schools Transcript.
1234
     Attachment 240, Desiree Boman, Coffey County Hospital Medical Records, 3-29-2005.

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            Chelsea entered the U.S. Army Reserves September 27, 2006. At the time she lived at

820 North Ponca in Dewey. She was assigned to Aberdeen Proving Ground, Maryland, and

completed basic training March 26, 2007. However on October 17, 2009, she was discharged

from the Reserves under other than honorable conditions. 1235

            Kayla entered the U. S. Army Reserves August 20, 2008. At the time she lived at 820

North Ponca in Dewey, Oklahoma. She was assigned to Fort Bragg, North Carolina, and

returned to civilian life March 6, 2009. She was subject to active duty recall. 1236

            B.      Conclusions

            Lisa Marie Montgomery has suffered extreme trauma and degradation throughout her

life, first at the hands of her mother, then her stepfather, then each of her husbands in tum. She

has never lived in an environment free of danger and fear. Her life has been characterized by

extreme physical, sexual, and emotional abuse, which compromised her ability to form an

identity and to develop autonomously. The effects ofthis unrelenting trauma upon Lisa must

always be understood in the context of her familial linked mental illness, affective mood disorder

(diagnosed by Dr. William Logan, Dr. Linda McCandless, and Dr. George Woods) and the

psychotic features wrought by that mental illness which heightened and exacerbated the effects

of the trauma. The extreme trauma suffered by Lisa Montgomery cannot be simply labeled

"abuse:" this trauma was complex, unrelenting, derived from multiple perpetrators and was so

extreme as to constitute torture.

                    1.       Lisa Was Held Captive and Tortured as a Child.

            Lisa Montgomery's life on its most simplistic level must be viewed against the

background of the extreme physical pain, servitude, and torture wrought on her as a developing


1235   Attachment 241, Chelsea Boman, Certificate of Release or Discharge from Active Duty, 9-29-2009.
1236   Attachment 242, Kayla Boman, Certificate of Release or Discharge from Active Duty, 3-6-2009.

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                                                                                                         B-174
child. As a small and frail child Lisa was held captive and t01tured by methods more commonly

experienced by child soldiers and prisoners of war. She was isolated, brain washed, humiliated

and degraded, not allowed to speak, and beaten at will and without provocation. Her childhood

captors employed strategies of control that resulted in the annihilation of her autonomy,

independent decision making, sense of self. They employed tactics and practices which are or

are similar to practices that have long been recognized as torture and cruel and inhumane

treatment. This torture targeted specific domains of her being, working in tandem with her

familially linked mental illness to undermine her ability to discern reality, to form appropriate

relationships, and to achieve autonomy.

                       a. Lisa was held captive: Lisa's mother, Judy, in collusion with a series

                            of men, isolated Lisa from those who could help her. They forced Lisa

                            to sleep in a closet, in a laundry room, and in a structure attached to

                            the family trailer where she was subject to observation 24 hours a day.

                            Judy and her designees controlled Lisa's sleep, bodily functions, and

                            movements.

                       b. Lisa was isolated from those who could help her: Lisa was not

                            allowed to develop healthy and normal relationships with other

                            children and adults in the family, neighborhood, or community. After

                            brutal rapes increased, her parents moved the family to an isolated,

                            rural area where rapes, beatings, and coercion continued for three

                            years.

                       c.   Lisa's participation in violent sex acts as a child was induced by force

                            and coercion: Adults, including Lisa 's mother and stepfather used



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   psychological as well as physical coercion and bondage to control

   Lisa. She was repeatedly raped anally, vaginally, and orally by her

   stepfather, a male cousin, and her stepfather's acquaintances. Threat of

   serious harm to her or her siblings, schemes and plans that caused her

   to believe that failure to perform a sexual act would result in serious

   harm to her or others.

d. The sexual degradation Lisa suffered at Jack Kleiner 's hands was both

   violent and insidious: Jack Kleiner forced Lisa as a small girl, to strip

   naked in front of him as a prelude to his savage beatings. As she

   advanced into puberty, he began forcibly fondling her genitalia and

   tiny breasts. Ultimately, Jack Kleiner slammed her head against a

   concrete floor until she saw stars and was nauseated from the

   concussions as he raped her vaginally and sodomized her.

e. Lisa was brain washed: Lisa's mother and others used a variety of

   methods to condition her to be compliant, accept control, and accept

   sexual assault. These methods included confinement, beatings,

   physical abuse, rape, threats of violence to her or her siblings, and the

   threat of shaming by revealing her activities to other family members.

       Judy brainwashed Lisa to believe that Judy was omnipotent and

   Lisa was powerless and helpless. Lisa was not allowed to speak or

   make any noise - even the noise of a fork tine on a plate - as a child.

   Often Judy duct taped Lisa's mouth shut, and forced Lisa to stand in

   the comer waiting on her stepfather to come home and beat her. Lisa



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                            was not allowed to voice an opinion. Lisa's safety depended on her

                            ability to monitor Judy's every facial expression to determine how to

                            stay on Judy's good side.

                       f.   Lisa's mother used extreme strategies ofcoercive control to maintain

                            mastery and omnipotence over her: Lisa's mother humiliated and

                            degraded her, controlled her bodily functions, did not allow her to

                            speak or make sounds, subjected her to extreme temperatures, forced

                            her to endure stress positions, forced her to confess falsely to

                            wrongdoings of others, destroyed Lisa's treasured ideals, occasionally

                            indulged her with small gifts or amenities, and choked, beat, and

                            whipped her.

                       g. Lisa suffers from traumatic bonding: Lisa's mother Judy instilled in

                            Lisa gratitude for being allowed to live and an enduring desire to

                            please Judy. Lisa continues to perceive Judy as all powerful and all

                            knowing, able to change reality, and able to bring harm or safety to

                            Lisa without regard to Lisa's needs.

               2.      Familially Linked Serious Mental Jllness and Neurological
                       Impairments Compounded the Effects of Torture on Lisa's
                       Perception of Reality.

       By her early 20's Lisa experienced the full onset of major mental illness. Her perceptions,

thoughts, and actions suffered under the weight of bipolar mood disorder, enduring effects of the

torture from early childhood, and neurological impainnents that likely caused in part by her

mother' s excessive drinking during her pregnancy with Lisa. Two of these profound disabilities

originated in intentional acts of her parents and caregivers - torture and prenatal alcoholism. The



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third disability, however, evolved from genetic vulnerability and predisposition to psychiatric

and neurologic impairments that were handed down through the generations.

        Family stories on both maternal and paternal sides describe relatives with extreme mood

swings; odd, eccentric, and strange behaviors; death in an insane asylum; and auditory and visual

hallucinations. Relatives also have significant histories of autism, pervasive childhood

development disabilities, mental retardation, epilepsy, and brain abnormalities. Although the

etiology of some neurologic deficits is unknown, there is no doubt that many family members

experienced significant disability due to these deficits. These psychiatric symptoms and

neurologic deficits acted synergistically to compromise many of Lisa's ancestors' and more

immediate family members' ability to lead healthy, productive lives.

        Although sexual violation and torture were devastating in their own rights, other patterns

emerged that undermined any sense of safety or security for Lisa within the family unit. Chief

among these patterns was kidnapping children in the family. Lisa's paternal grandfather

kidnapped her father and disappeared for a year, returning the child as " a basket case." Her

father, in tum, kidnapped Lisa and her older sister. Lisa's maternal great grandfather kidnapped

and hid his children so that his wife would not fl ee. His wife fled, kidnapping the youngest

child, and never returning. Lisa's mother, in collusion with Lisa's husband, kidnapped two of

Lisa' s children and fled the state to avoid detection. Lisa's mother exercised and maintained

control of Lisa by threatening to take her children from her, a threat rooted in historical reality.

        Other patterns of destructive family dynamics also affected Lisa's life adversely.

Throughout the extended family line, mothers and fathers selected particular children for

favorable relationships and others for cruel treatment or abandonment. Lisa's paternal

grandmother singled out and mistreated Lisa's father, and he in tum abandoned Lisa, along with



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his other children. Lisa's paternal grandfather abandoned his family after returning his

kidnapped son (Lisa's father) to his parents. Lisa's maternal great grandmother abandon.e d

several children and moved with her youngest child to another state, never contacting her

children again. Lisa's maternal grandfather shunned his daughter who attempted to protect her

mother from his beatings. Lisa's mother exiled Lisa's half-sister, Diane, from family life-

turning Diane over to the state at age 8. Once Diane was handed over to the state, Lisa's mother

turned her attention to Lisa and tortured her while favoring her other children.

        Lisa's family of origin was overcome by unsafe, unhealthy, and life threatening patterns

of behavior demonstrated by her mother Judy, her father John, and the series of men Judy

introduced into the family. Judy was a severe alcoholic who drank throughout her pregnancies.

Judy moved the children from home to home and man to man without regard for her children' s

development. She allowed sex offenders, child rapists, alcoholics, and violent men to move in

and out of their homes.

               3.      After the On-Set of Her Serious Mental Illness, Lisa Was
                       Recapitulated to Childhood Captivity and Helplessness by Judy's
                       Continued Control Over Her Life.

       Throughout her life, Lisa internalized the notion was that she was powerless. This

helplessness was born of Judy' s incessant control over Lisa's every movement and "decision."

Judy was omnipresent in Lisa' s life, weaving in and out and reasserting her threats to take Lisa' s

children and to expose Lisa as incompetent. She kidnapped Lisa' s children multiple times but

also occasionally indulged Lisa with the promise of being a good grandparent and bringing Lisa

into the family fold. Judy whipsawed Lisa between offers of reunification and efforts to alienate

Lisa from her spouse and in-laws. Judy made sure Lisa knew Judy was present, willing, and

capable of disrupting Lisa's day-to-day life.



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               4.      Lisa's Lifetime of Enforced Silence, Domination, and Abuse
                       Conditioned Her to Accept Violent Sexual Assault by Her Husbands.

        Having spent her entire life unable to exert her own will, without control of her body, her

speech, or even her opinions, Lisa was conditioned to accept violent sexual acts. As a child, she

was not allowed to say no to her stepfather when he assaulted her. Had she spoken about Jack's

sexual assaults, she believed her mother would have blamed and punished her, which is exactly

what happened when Judy held a gun to Lisa's head and accused her of having an affair with

Jack. Lisa explained that, in her mind, she "was not allowed" to tell Carl or Kevin no. If she

said no to Carl, he hit her. She believed it was part of marital responsibility to accept brutalizing

and dehumanizing sexual acts with Kevin. Kevin, after all, provided her with a home and was

otherwise good to her. She did not know that criminal laws apply to marital rape, and became

very agitated and irritated when the subject came up. She argued, "It wouldn't make any

difference, because I could not say no anyway."

               5.      Lisa's Co-Morbid Psychiatric Illness, Complex Post-Traumatic Stress
                       Disorder, and Neurological Impairments Compromised Her Ability to
                       Cope with the Sexual Torture Meted Out By Her Husbands.

       Lisa survived torture, brain washing, and mind control that was so severe and chronic it is

similar to the experiences of boy soldiers and children sold into sex trafficking and slavery. As a

child, she was isolated, silenced by duct tape and threats, repeatedly raped, subjected to extreme

temperatures, choked, beaten, humiliated, and degraded. If she did not chose her words very

carefully and perfect, her mouth was duct taped and she was beaten. From the moment she got

up until she went to bed at night, she thought out every move to avoid being hurt and to avoid

bringing harm to her younger sister. Her beloved older sister was expelled from the family, and

another sister was threatened with rape if Lisa was not compliant. Her mother exercised control

over Lisa's mind and behavior even when Lisa was an adult, threatening Lisa with the loss of her


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children. Her first husband colluded with her mother to kidnap Lisa's children in order to obtain

compliant behavior. Her first and second husbands subjected her to violent sexual acts including

bondage which further severed Lisa's tangential hold on reality. She explained that she was

"right back" where she started.

        Lisa suffered predictable and longstanding psychosis due to the severity of the torture she

survived. Torture and coercive control by her mother destroyed Lisa's autonomy, sense of self,

and independence. It made her psychotic in that she lost contact with reality, became

disconnected from events and circumstances around her, and developed distorted and irrational

perceptions of her place in the world. After the birth of her four children in as many years, she

experienced onset of major mental illness, most likely bipolar mood disorder, which caused

erratic, unpredictable and extreme mood swings. The underpinnings of a healthy brain were

already compromised by her mother's excessive alcohol consumption during her pregnancy with

Lisa. These multiple impairments devastated Lisa's perception of reality, decision making

ability, her insight, and her judgment.

               6.      Lisa Suffers From Extreme Psychological Impairments as a Result of
                       Torture, Sexual Violation, and Captivity.

       Lisa continues to be psychotic as a result of co-morbid conditions of serious mental

illness, neurological impai1ment, and complex trauma reactions. Lisa experiences sustained loss

of contact with reality and extremely disordered perceptions oftime, personhood, and events.

She experiences temporal disconnection from events, relationships, and situations in which she is

a major participant. This disconnection is greater and more than dissociation associated with

traumatic events. She is ashamed, fearful, distrustful, paranoid, suicidal, anxious, depressed,

sleep disturbed, hypevigilant, and self loathing.




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       I declare under penalty of perjury and laws of the United States that the foregoing is true

and correct to the best of my information and belief.

       Dated this 5th day of August, 2016.



                                                        ~   Ve,~,_,     I   /')'}1'cl
                                                        Jan Vogelsang, M.S.W .




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                                                                                                     B-182
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         Bachelor of Psychology
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       South Carolina Board of Social Work Examiners (#102)
       American Board of Examiners in Clinical Social Work (#018014)
       Academy of Certified Social Workers (NASW)
       Alabama State Board of Social Work Examiners (#10136)

APPOINTMENTS:
       American Board of Examiners in Clinical Social Work Board, 2002
       South Carolina Crime Victims Advisory Board, Office of the Governor, 1988-1996
       Commissioner, City of Santa Monica, Santa Monica City Council, 1984
       Governmental Affairs Chair, SC-NASW, 1999-2002
       National Organization of Forensic Social Workers Editorial Board, 2011

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       National Association of Social Workers South Carolina Chapter (ret.)
        Past President

          South Carolina Clinical Social Work Association (ret.)
          Past President

          American Board of Examiners in Clinical Social Work
          Past Board Member

WORK EXPERIENCE:
  1980-1981 Los Angeles Depa1tment of Public Social Services, Los Angeles
            California, Child Protective Services, Child Placement, Home and
            Community Studies, Court Reports and Testimony, Biopsychosocial
            Assessments
  1982-1984 Wolfe and Vogelsang, Private Practice, Santa Monica, California,
            Diagnosis and Treatment oflndividuals, Families and Groups



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                                                                                        B-183
     1984-1985 Baptist Medical Center, Social Work Supervisor, Columbia, South
                Carolina, Counseling with Patients and Family, Conducting Bereave-
                ment Groups, Trauma Counselor for the Emergency Room
     1985-1986 Family Service Greenville, Program Administrator, Domestic Violence
                Program, Greenville, South Carolina, Supervised Staff, Conducted Support
                Groups, Therapy for Individuals, Families and Groups, Conducted
                Biopsychosocial Assessments and Court Testimony
     1986-1993 Private Practice, Partner, Behavioral Consultants, Inc., Greenville,
                South Carolina, Diagnosis and Treatment for Individuals, Families and
                Groups, Court Testimony, Education and Training, Biopsychosocial
                Assessments
      1993      Began Solo Practice, Vogelsang Consulting, Inc., Greenville, South
                Carolina, Diagnosis and Treatment for Individuals, Families and Groups,
                Court Testimony, Biopsychosocial Assessments, Education and Training
      1998-2011 Vogelsang Consulting, Inc. Expanded to Include Treatment of Leaming
                and Other Cognitive/Intellectual Deficits Related to Neuro-
                logical Impairments

INTERNSHIPS:
     1978-1979 Greenville Area Mental Health Center
                Diagnosis and Treatment of Mental and Emotional Disorders,
                Biopsychosocial Assessments
     1979       William Hall Institute
                Diagnosis and Treatment of Mental and Emotional Disorders
                Biopsychosocial Assessments
      1979-1980 Veterans Administration Hospital
                Diagnosis and Treatment of Mental and Emotional Disorders
                Biopsychosocial Assessments

AREAS OF EXPERTISE AND EXPERIENCE:
     Diagnosis and Treatment of Behavioral Problems in Individuals, Families, Groups
     Behavioral Responses to and Treatment of Trauma
     Addictions and Substance Abuse
     Physical, Sexual and Emotional Abuse and Neglect
     Biopsychosocial Assessments and Presentations of Findings to Individuals,
     Courts, Institutional Staff, Agency Staff and Other Organizations
     Behavioral and Learning Problems Associated with Neurological Impairments

SPEECHES AND TRAINING:
     Post Traumatic Stress Disorder
     Survivors of Trauma
     Victimization and the Courts
     Biopsychosocial Assessments
     Family Systems
     Child Welfare and Development
     Resilience


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COURT EXPERIENCE:
    Child Protection
    Child Custody
    Child Placement
    Termination of Parental Rights
    Adoptions
    Sexual Assault
    Family Violence
    Divorce
    Capital and non-capital criminal cases
    Conducting biopsychosocial assessments and rendering expert opinions in family and
    criminal court

PUBLICATIONS:
      Master's Thesis
           A Multidisciplinary Approach to Child Abuse and Neglect-1980
     Crime Victims Handbook
           Advisor-Office of Victim Witness Assistance
           Thirteenth Circuit, Greenville, South Carolina
     The Witness Stand: A Guide for Clinical Social Workers in the Courtroom

RECOGNITIONS:
     Office of the Thirteenth Circuit Solicitor, Thirteenth Judicial Circuit, Outstanding
     and Dedicated Service

        National Association of Social Workers, 1987 Spring Symposium, Outstanding
        Service

        National Association of Social Workers, 1985-1988, South Carolina PACE
        Representative, Outstanding Service

       National Association of Social Workers, 1987-1989, Board of Directors,
       Contribution to the Profession of Social Work

AWARDS:
    Social Worker of the Year, 2002, SC-NASW
    Alumnus of the Year, 2002, University of South Carolina College of Social Work
    Outstanding Leadership in the Advancement of the Social Work Profession, 2002,
              scscsw
       South Carolina Senate Motion, 2002, for Outstanding Leadership in the Profession of
             Social Work
       South Carolina House of Representatives, 2002, House Resolution H.4838, for
             Leadership of the South Carolina Chapter of the National Association of Social
              Workers



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